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                        EXHIBIT A
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                                           22STCV07017
                                 Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Carolyn Kuhl

Electronically FILED by Superior Court of California, County of Los Angeles on 02/25/2022 02:53 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Lozano,Deputy Clerk


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                                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
      8
                                                    FOR THE COUNTY OF LOS ANGELES
      9
             STACIA CULLORS, an individual; LAYLA )                                        Case No.:
     10
             CULLORS, NOELANI CULLORS and         )
             VIVIENNE CULLORS, through their      )                                        COMPLAINT FOR DAMAGES
     11
                                                  )
             guardian ad litem STACIA CULLORS;    )
     12      ANTHONY BACANI, an individual;                                                (1) STRICT PRODUCTS LIABILITY –
                                                  )
             DAHLIA BACANI and ELIAS BACANI,      )                                        FAILURE TO WARN
     13
                                                  )
             through their guardian ad litem ANTHONY                                       (2) NEGLIGENCE – FAILURE TO
                                                  )
     14      BACANI; JENNIFER CULLORS, an         )                                        WARN
             individual; AVA CULLORS and JOSHUA   )
     15                                                                                    (3) NEGLIGENT PRODUCT DESIGN
             CULLORS, through their guardian ad litem
                                                  )
                                                  )
             JENNIFER CULLORS, and on behalf of all                                        (4) NEGLIGENT MANUFACTURING
     16
             others similarly situated,           )
                                                  )                                        (5) NEGLIGENT
     17
                                                  )                                        MISREPRESENTATION
                               Plaintiffs,        )
     18                                                                                    (6) VIOLATIONS OF THE BUSINESS &
                                                  )
             vs.                                  )                                        PROFESSIONS CODE SECTIONS 17200
     19
                                                  )                                        ET SEQ. (“UCL”)
                                                  )
     20      BEECH-NUT NUTRITION COMPANY;                                                  (7) VIOLATION OF CALIFORNIA
                                                  )
             NURTURE, INC.; PLUM, INC. d.b.a.     )                                        CONSUMER LEGAL REMEDIES ACT,
     21
             PLUM ORGANICS; GERBER PRODUCTS )                                              CAL. CIV. CODE SECTION 1770, et seq.
     22      COMPANY; WALMART, INC.; SPROUT )                                              (“CLRA”)
                                                  )
             FOODS, INC.; and DOES 1 through 20   )
     23      inclusive,                           )                                        (8) QUASI-CONTRACT/UNJUST
                                                  )                                        ENRICHMENT
     24
                               Defendants.        )
     25      ____________________________________ )

     26

     27

     28



              ______________________________________________________________________________________
                                                                                       1
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1          COME NOW Plaintiffs STACIA CULLORS, an individual, LAYLA CULLORS,
2    NOELANI CULLORS and VIVIENNE CULLORS, through their guardian ad litem STACIA
3    CULLORS, ANTHONY BACANI, an individual, DAHLIA BACANI and ELIAS BACANI,
4    through their guardian ad litem ANTHONY BACANI, JENNIFER CULLORS, an individual,

5    as well as AVA CULLORS and JOSHUA CULLORS, through their guardian ad litem
     JENNIFER CULLORS, and on behalf of all others similarly situated (collectively “Plaintiffs”),
6
     and through their counsel of record, Beverly Hills Trial Attorneys, P.C., file this class action
7
     complaint against BEECH-NUT NUTRITION COMPANY (“BEECH-NUT”), NURTURE,
8
     INC. (“NURTURE”), PLUM, INC. d.b.a. PLUM ORGANICS (“PLUM”), GERBER
9
     PRODUCTS COMPANY (“GERBER”), WALMART, INC. (“WALMART”), SPROUT
10
     FOODS, INC. (“SPROUT”), and DOES 1 through 20, inclusive (collectively “Defendants”),
11   seeking damages and relief on behalf of themselves and for all others similarly situated for:
12   Strict products liability (failure to warn), negligence (failure to warn), negligent product design,
13   negligent manufacturing, negligent misrepresentation, violation of California’s Unfair
14   Competition Law - Business & Professions Code sections 17200, et seq. (“UCL”), California’s

15   Consumer Legal Remedies Act - Civil Code sections 1750, et seq. (“CLRA”), unjust
     enrichment, and related claims as stated herein as below. Unless explicitly stated to the
16
     contrary, all allegations are based upon information and belief.
17
                                             INTRODUCTION
18
           This case involves a series of manufacturers, BEECH-NUT NUTRITION COMPANY
19
     (“Beech-Nut”), NURTURE, INC. (“Nurture”), PLUM, INC. d.b.a. PLUM ORGANICS
20
     (“Plum”), GERBER PRODUCTS COMPANY (“Gerber”), WALMART, INC. (“Walmart”),
21

22
     and SPROUT FOODS, INC. (“Sprout”) (collectively referred to as “Defendants”) that

23   knowingly sold baby food products (“Baby Foods”) which contain high levels of toxic heavy

24   metals including mercury, lead, arsenic and cadmium to Plaintiffs.

25         Plaintiffs are consumers who purchased Defendants’ Baby Foods reasonably believing

26   that such baby foods are safe, nutritious, and free from harmful toxins contaminants and
27   chemicals.
28



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                                                       3
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1           In reality, and despite Defendants’ promises and reassurances to parents that their
2
     products are pure, natural, safe and healthy, these Baby Foods contain heavy metals that are not
3
     pure, are unnatural, are unsafe, and pose a major risk to babies and infants. Had parents and/or
4
     guardians been fully informed about the contents of the Baby Foods they purchased, they would
5
     not have bought these Baby Foods nor fed them to their children.
6
            In February 2021, the U.S. House of Representatives’ Subcommittee on Economic and
7
     Consumer Policy, Committee on Oversight and Reform released a report (“Report”) containing
8
     outrageous details of Defendants’ tainted Baby Foods based on the submission of internal test
9
     results and company documents. Through this report, it came to light that Defendants’ Baby
10
     Foods are laced with shocking amounts of toxic heavy metals. Specifically, the Subcommittee
11
     found that Defendants sell Baby Foods containing as much as 180 parts per billion (“ppb”) 1
12

13
     inorganic arsenic, 6441 ppb lead, 10 ppb mercury, and manufacture their Baby Foods using

14   ingredients containing as much as 913.4 ppb arsenic, 886.9 ppb lead, and 344.55 ppb cadmium,

15   far beyond the regulatory standards.

16          These numbers are outrageous given that in comparison, the U.S. Food and Drug

17   Administration (“FDA”) has set the maximum allowable levels in bottled water at 10 ppb
18   inorganic arsenic, 5 ppb lead and 5 ppb cadmium, and the U.S. Environmental Protection
19   Agency (“EPA”) has capped the allowable level of mercury in drinking water at 2 ppb. The
20   Report held that the test results of Baby Foods and their ingredients “eclipse those levels:
21
     including results up to 91 times the arsenic level, up to 177 times the lead level, up to 69 times
22
     the cadmium level, and up to 5 times the mercury level.”2
23
            The House Staff Report highlighted the high levels of high toxic metals in numerous
24
      baby foods produced by Defendants, namely Defendants Beech-Nut, Nurture and Gerber who
25

26

27
     1 Ppb (or ppbm) is used to measure the concentration of a contaminant in soils, sediments, and water. 1
     ppb equals 1 microgram of substance per kg of solid.
28   2 Staff Report, Subcommittee on Economic and Consumer Policy Committee on Oversight and Reform
     U.S. House of Representatives, Baby Foods are Tainted with Dangerous Levels of Arsenic, Lead,
     Cadmium and Mercury (Feb. 4, 2021) (“Subcommittee Report”) at 4 (attached as Exhibit “A”).
      ______________________________________________________________________________________
                                                         4
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1     cooperated with Congress’s investigation. Defendants Plum, Walmart and Sprout refused
2     cooperation with the Subcommittee which was highly suggestive of their misconduct given
3     their choice not to cooperate with federal regulators. 3
4           Furthermore, in the Report, the Subcommittee concluded that “[m]anufacturers

5    knowingly sell these products to unsuspecting parents, in spite of internal company standards

6    and test results, and without any warning labeling whatsoever.” 4 Additionally, the Report held
7    that exposure to toxic heavy metals causes:
8                   a) permanent decreases in IQ
9                   b) diminished future economic productivity
10
                    c) increased risk of future criminal and antisocial behavior in children.
11
                    d) affected and endanger infant neurological development and long-term brain
12
                    function.
13
                    e) and other unknown and harmful effects to children.5
14
            Defendants knew or should have known that their Baby Foods contain significant levels
15
     of toxic heavy metals, including arsenic, lead, cadmium, and mercury. Defendants knew or
16
     should have known that such toxic metals are not fit for consumption, and knew or should have
17
     known that its Baby Foods are detrimental to the health of babies. In fact, Defendants had no
18
     reasonable ground for believing that their Baby Foods were free from toxic heavy metals, or
19
     that such toxic metals were appropriate for sale in Baby Foods.
20

21
            The high levels of toxic heavy metals found in Defendants’ Baby Foods are as a result of

22   the ingredients used by Defendants to manufacture these Baby Foods, disregard of regulatory

23   standards, and corporate policies which failed to test finished products before they were

24   distributed into the market, and the setting of dangerously inflated internal limits which

25

26

27

28   3 Id. at 2.
     4 Id. at 59.
     5 Id. at 2.
      ______________________________________________________________________________________
                                                        5
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1    Defendants easily ignored, leading to the purchase of parents and/or guardians of these products
2
     and eventually consumption by vulnerable children.
3
           Defendants continue to wrongfully induce consumers to purchase its Baby Foods that are
4
     not as advertised. Plaintiffs are unable to purchase Baby Foods from any of the Defendants with
5
     any degree of certainty that these foods will not contain toxic heavy metals or other
6
     undesirable toxins or contaminants.
7
           Plaintiffs brings this proposed consumer class action individually and on behalf of all other
8
     members of the Class, who, from the applicable limitations period up to and including the
9
     present, purchased for use any of Defendants’ tainted Baby Foods.
10
           As a result of Defendants’ negligent, reckless, and/or knowingly deceptive conduct as
11
     alleged herein, Plaintiffs were injured when they paid the purchase price or a price premium
12

13
     for baby foods that did not deliver what they promised. They paid the purchase price on the

14   assumption that the labeling of the baby foods was accurate and that it was free of toxic heavy

15   metals and safe to ingest. Plaintiffs would not have paid this money or fed their children food

16   containing toxic heavy metals had they known the truth that Defendants’ products contain

17   excessive degrees of toxic heavy metals.
18                                               PARTIES
19   PLAINTIFFS
20          1.      Plaintiffs are, and at all times relevant here, have been citizens of the state of
21   California. Additionally, unnamed Class Plaintiffs, are, and at all times relevant herein, were
22   residents of the State of California.
23
            2.      In making their purchasing decisions, Plaintiffs Stacia Cullors, Anthony Bacani
24
     and Jennifer Cullors consider how healthy baby food products are, including the ingredients and
25
     nutritional value of those products. In fact, these baby foods by the various Defendants’ brands,
26
     which were more expensive than cheaper alternatives, were purchased because Plaintiffs Stacia
27
     Cullors, Anthony Bacani and Jennifer Cullors were led to believe that the Baby Foods from these
28
     brands were healthier and safer for consumption by the remaining Plaintiffs.

      ______________________________________________________________________________________
                                                      6
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1           3.      On numerous occasions, Plaintiffs Stacia Cullors, Anthony Bacani and Jennifer
2
     Cullors have purchased the Baby Foods from various stores including Target, Walmart,
3
     Albertsons and Walgreens. Specifically, Plaintiff Stacia Cullors purchased hundreds of different
4
     varieties of Defendants’ baby food products in California from September 2009 to May 2012, and
5
     again from February 2020 to December 2021; Plaintiff Anthony Bacani purchased hundreds of
6
     different varieties of Defendants’ baby food products in California from March 2011 to November
7
     2014 and again from May 2016 to January 2019; and Plaintiff Jennifer Cullors purchased
8
     hundreds of different varieties of Defendants’ baby food products in California from January 2011
9
     to September 2013, and again from February 2020 to December 2021.
10
            4.      Plaintiffs LAYLA CULLORS, NOELANI CULLORS, VIVIENNE CULLORS,
11
     DAHLIA BACANI, ELIAS BACANI, AVA CULLORS and JOSHUA CULLORS, were
12
     exposed to and consumed the below-mentioned Baby Foods over hundreds of times during a
13
     span of several years. Specifically, Plaintiff Layla Cullors was exposed to and consumed these
14
     Baby Foods over 100 times between September 2009 to May 2012; Plaintiff Noelani Cullors
15
     was exposed to and consumed these Baby Foods over 100 times between February 2020 to
16
     December 2021; Plaintiff Vivienne Cullors was exposed to and consumed these Baby Foods
17
     over 50 times between September 2021 to December 2021; Plaintiff Dahlia Bacani was exposed
18
     to and consumed these Baby Foods over 100 times between March 2011 to November 2014;
19
     Plaintiff Elias Bacani was exposed to and consumed these Baby Foods over 100 times between
20
     May 2016 to January 2019; Plaintiff Ava Cullors was exposed to and consumed these Baby
21
     Foods over 100 times between January 2011 to September 2013; and Plaintiff Joshua Cullors
22
     was exposed to and consumed these Baby Foods over 100 times between February 2020 to
23
     December 2021.
24
            5.      The Baby Foods purchased and consumed by Plaintiffs from Beech-Nut during
25
     the above-mentioned time periods were the following:
26
            •    Beech-Nut Rice Cereal (recalled on June 8, 2021)
27
            •    Rice Single Grain Baby Cereal
28          •    Oatmeal Whole Grain Baby Cereal
            •    Classics Sweet Carrots – Stage 2

      ______________________________________________________________________________________
                                                     7
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1           •    Organics Just Carrots – Stage 1
2           •    Naturals Just Sweet Potatoes – Stage 1
            •    Classics Sweet Potatoes – Stage 2
3           •    Classics Sweet Peas – Stage 2
4
            •    Beechnut Naturals just Butternut Squash – Stage 1
            •    Organic Just Apples
5           •    Naturals Bananas – Stage 1
            •    Naturals Beets, Pear & Pomegranate
6
            •    Classics mixed vegetables – Stage 2
7           •    Classics Chicken & Chicken Broth
            •    Classics Turkey and Turkey Broth
8
            •    Breakfast on the go Yogurt, Banana and Mixed Berry Blend
9

10          6.      The Baby Foods purchased and consumed by Plaintiffs from Nurture,
     which sells Baby Foods under the brand name HappyBABY, during the above-mentioned time
11
     periods were the following:
12

13
            •    Oats & Quinoa Baby Cereal Organic Whole Grains with Iron – Sitting Baby
14          •    Oatmeal Baby Cereal, clearly crafted – Organic Whole Grains for Sitting baby
            •    Sweet Potatoes – Stage 1
15
            •    Organic Pears – Stage 1
16          •    Clearly Crafted Prunes Organic Baby Food
17          •    Simple Combos Apples, Spinach & Kale
            •    Superfood Puffs – Apple & Broccoli Organic Grain Snack
18
            •    Superfood Puffs Organic Grain Snack – Sweet Potato & Carrot
19          •    Organic Teethers Blueberry & Purple Carrot – Sitting
20          •    Apples, Sweet Potatoes & Granola Clearly Crafted Organic Baby food
            •    Organic Rice Cakes Puffed Rice Snack
21

22          7.      The Baby Foods purchased and consumed by Plaintiffs from Plum, during the

23
     above-mentioned time periods were the following:

24
            •    Just Sweet Potato Organic Baby Food – 1, 4 months and up
25          •    Just Peaches – organic baby food – for 4+ months (stage 1)
            •    Just Prunes Organic Baby Food – 1, 4 months & up
26
            •    Little Teethers Organic Multigrain Teething Wafers – Banana with Pumpkin – Baby
27               Crawler

28          8.      The Baby Foods purchased and consumed by Plaintiffs from Gerber, during the
            above-mentioned time periods were the following:
      ______________________________________________________________________________________
                                                     8
                                          PLAINTIFFS’ COMPLAINT
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1            •     Banana – Sitter 2nd Foods
2            •     Peach – Sitter 2nd Foods
             •     Pear – Sitter 2nd Foods
3            •     Organic Mango Apple Carrot Kale – Sitter 2nd food
4
             •     Carrot Pear Blackberry – Sitter 2nd Foods
             •     Organic Apple Blueberry Spinach – Sitter 2nd Food
5            •     Apple Sweet Potato with Cinnamon – Toddler 12+ months
             •     Carrot Sweet Potato Pea – Sitter 2nd Foods
6
             •     Apple Juice from Concentrate – Toddler 12+ months
7            •     Apple Prune Juice from Concentrate – Toddler 12+ months
             •     Variety Pack Juices from Concentrate – White Grape
8
             •     Pear Juice from Concentrate 100% Juice – Toddler 12+ months
9            •     Mashed Potatoes & Gravy with Roasted Chicken and a side of carrots – toddler
             •     Chicken Rice dinner – Sitter 2nd Foods
10
             •     Turkey Rice Dinner – Sitter 2nd Foods
11           •     Beef and Gravy 2nd foods
             •     Ham and Gravy 2nd foods
12           •     Puffs Banana Cereal Snack – Crawler 8+ months
13           •     Teether Wheels – Apple Harvest – Crawlers
             •     Yogurt Blends Strawberry Snack – Crawler 8+ months
14           •     Arrowroot Biscuits – crawler 10+ months
             •     Rice Single Grain Cereal
15
             •     Multigrain Cereal – Sitter 2nd Foods
16           •     Oatmeal Single Grain Cereal
             •     Carrot – Sitter 2nd food
17
             •     Carrot – Supported Sitter 1st Foods
18           •     Sweet Potato Supported Sitter 1 st Foods Tub
             •     Sweet Potato – Sitter 2nd food
19
             •     Sweet Potato – Supported Sitter 1st Foods
20           •     Pea – Sitter 2nd Foods
             •     Green Bean – Sitter 2nd Food
21

22           9.       The Baby Foods purchased and consumed by Plaintiffs from Walmart,
23    under the brand name Parent’s Choice, during the above-mentioned time periods were the
24    following:
25           •     Parent’s Choice Stage 2 (6+ months) Carrot
26           •     Parent’s Choice Stage 1 (4-6 months) Sweet Potato
             •     Parent’s Choice Stage 2 (6+ months) Organic Butternut Squash Vegetable Puree
27           •     Parent’s Choice Stage 3 (9+ months) Little Hearts Strawberry Yogurt Cereal
28
             •     Parent’s Choice Rice Baby Cereal (recalled in October 2021)

             10.      The Baby Foods purchased and consumed by Plaintiffs from Sprout during
      ______________________________________________________________________________________
                                                      9
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1     the above-mentioned time periods were the following:
2            •     Prunes Organic Baby Food
3            •     Carrot Apple Mango Organic Baby Food
             •     Butternut Chickpea Quinoa & Dates Organic Baby Food
4            •     Organic Quinoa Puffs Baby Cereal Snack – Apple & Kale
5
             11.      All of these products were purchased and consumed by Plaintiffs because they
6
      believed these products were healthy Baby Foods based on the labeling on the products and the
7
      advertisements by Defendants which promoted these Baby Foods as organic and nutritious. At
8

9
      no time during their purchase and consumption were Plaintiffs aware that Defendants’ claims
      with regards to the Baby Foods were false and misleading, and that these products actually
10
      contained high levels of heavy metals, chemicals or toxins.
11
             12.      Plaintiffs would not have purchased these Baby Foods, at times paying premium
12
      prices, nor would have consumed these products if they were aware of the presence of the alleged
13
      heavy metals, chemicals, and toxins.
14
      DEFENDANTS
15
             13.     Defendant Beech-Nut Nutrition Company (“Beech-Nut”) is a citizen of
16
      Delaware and New York with its principal place of business located at 1 Nutritious Pl.,
17
      Amsterdam, NY 12010. Beech-Nut sells Baby Foods under the brand name Beech-Nut. Beech-
18
      Nut produces Baby Foods aimed at infants 4+ months up to 12+ months and includes a variety of
19

20
      cereals, “jars”, and “pouches” for these age groups. At all relevant times, Beech-Nut has

21    conducted business and derived substantial revenue from its manufacturing, advertising,

22    distributing, selling, and marketing of Baby Foods within the State of California and Los Angeles

23    County.

24           14.     Defendant Nurture, Inc. (“Nurture”), is a citizen of Delaware and New York
25    with its principal place of business located at 40 Fulton St, 17th Floor, New York, NY 10038-
26    1850. Nurture owns Happy Family Brands (including Happy Family Organics) and sells Baby
27    Foods under the brand name HappyBABY. Nurture classifies its HappyBABY range of products
28    according to three categories: “baby”, “tot”, and “mama”. The “baby” category is comprised of


      ______________________________________________________________________________________
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1     foods, including “starting solids”, intended for age groups 0-7+ months, the “tot” category covers
2
      12+ months, and “mama” includes infant formulas for newborn babies. At all relevant times,
3
      Nurture has conducted business and derived substantial revenue from its manufacturing,
4
      advertising, distributing, selling, and marketing of HappyBABY within the State of California
5
      and Los Angeles County. At all times material hereto, Defendants, and each of them, engaged in
6
      their unfair and deceptive billing practices within the jurisdiction of this Court.
7
             15.    Defendant PLUM, INC. d.b.a. PLUM ORGANICS is a citizen of Delaware
8
      and California with its principal place of business located at 1485 Park A venue, Emeryville,
9
      California 94608. Plum sells Baby Foods under the brand name Plum Organics. Plum's products
10
      are divided into groups according to the targeted infant or toddler age and/or type of food product.
11
      For example, there are five groups designated for the youngest infants: Stage 1 (4+ months old),
12

13
      Stage 2 (6+ months old), Stage 3 (6+ months old), “Super Puffs”, and “Little Teethers”. At all

14    relevant times, Plum has conducted business and derived substantial revenue from its

15    manufacturing, advertising, distributing, selling, and marketing of Baby Foods within the State

16    of California and Los Angeles County.

17           16.   Defendant Gerber Products Company (“Gerber”) is a citizen of Michigan
18    with its principal place of business located at 445 State Street, Fremont, MI 49413-0001. Gerber
19    sells Baby Foods under the brand name Gerber. Gerber organizes its products into broad
20    categories of “formula”, “baby cereal”, “baby food”, “snacks”, “meals & sides” “beverages” and
21
      “organic”. At all relevant times, Gerber has conducted business and derived substantial revenue
22
      from its manufacturing, advertising, distributing, selling, and marketing of Baby Foods within the
23
      State of California and Los Angeles County.
24
             17.   Defendant Walmart, Inc. (“Walmart”) is a citizen of Delaware and Arkansas
25
      with its principal place of business located at 702 S.W. 8th St. Bentonville, AK 72716. Walmart
26
      sells Baby Foods under the brand name Parent's Choice. Walmart's Parent's Choice offers a wide
27
      selection of baby foods ranging from “sweet potatoes & corn” to “toddler cookies” and “yogurt
28
      bites”. At all relevant times, Walmart has conducted business and derived substantial revenue

      ______________________________________________________________________________________
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1     from its manufacturing, advertising, distributing, selling, and marketing of Baby Foods within the
2
      State of California and Los Angeles County.
3
             18.   Defendant Sprout Foods, Inc. (“Sprout”) is a citizen of Delaware and New
4
      Jersey with its principal place of business located at 50 Chestnut Ridge Rd, Montvale, NJ 07645.
5
      Sprout sells Baby Foods under the brand name Sprout Organic Foods. Sprout organizes its Baby
6
      Foods selection according to three categories: Stage 2 (6 months+); Stage 3 (8 months+); and
7
      Toddler. At all relevant times, Sprout has conducted business and derived substantial revenue
8
      from its manufacturing, advertising, distributing, selling, and marketing of Baby Foods within the
9
      State of California and Los Angeles County.
10
             19. Plaintiffs are uncertain of the true names and capacities of the Defendants
11
      sued herein as DOES 1 through 20, inclusive, and therefore, sue said Defendants under said
12

13
      fictitious names. Plaintiffs will amend this complaint further to insert the true names and

14    capacities of said Defendants when the same are discovered. Plaintiffs are informed and believe

15    and thereon allege that each of the fictitiously named Defendants are responsible in some manner

16    for the occurrences herein alleged and are liable to the named Plaintiffs, and all other similarly

17    situated on the claims hereinafter set forth. Said named Defendants and fictitiously named
18    Defendants are hereinafter collectively referred to as “Defendants.”
19           20.   At all times mentioned, all Defendants and each of them, inclusive, were
20    engaged in the business of researching, developing, designing, licensing, manufacturing,
21
      distributing, selling, marketing, and/or introducing into interstate commerce and into the State of
22
      California, including in Los Angeles County, either directly or indirectly through third parties or
23
      related entities, Baby Foods.
24
             21.   At relevant times, Defendants and each of them, inclusive, conducted regular
25
      and sustained business and engaged in substantial commerce and business activity in the State of
26
      California, which included but was not limited to selling, marketing and distributing Baby Foods
27
      in the State of California and Los Angeles County.
28
             22.    At all relevant times, Defendants and each of them, inclusive, expected or

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1     should have expected that their acts would have consequences within the United States of
2
      America including the State of California and including Los Angeles County, said Defendants
3
      derived and derive substantial revenue therefrom.
4
                                          JURISDICTION AND VENUE
5
                  23.   This Court has jurisdiction over this action pursuant to the California Constitution.
6
                  24.   The Court has personal jurisdiction over Defendant Plum because this Defendant is
7
      a citizen of the State of California. Additionally, the Court has personal jurisdiction over Beech-
8
      Nut, Nurture, Gerber, Walmart, Sprout and Plum as each of these Defendants is authorized and
9
      licensed to conduct business in the State of California, maintains and carries on systematic and
10
      continuous contacts in the State of California, and conducts business within the State of
11
      California, and/or otherwise intentionally avails itself of the California market through its
12

13
      promotion, sales, distribution and marketing within the State to render the exercise of jurisdiction

14    by this Court permissible.

15                25.   Venue is proper in this Court because all Defendants do business in Los Angeles

16
      County, and substantial parts of the events giving rise to Plaintiffs’ claims occurred in this judicial
      district.
17
                                           GENERAL ALLEGATIONS
18
                  26.   Inorganic arsenic, lead, cadmium, and mercury are toxic heavy metals (the
19
      “Toxic Heavy Metals”). The United States Food and Drug Administration (“FDA”) and the
20
      World Health Organization (“WHO”) have declared these Toxic Heavy Metals dangerous to
21
      human health. Specifically, FDA states that these Toxic Heavy Metals have “no established
22    health benefit,” “lead to illness, impairment, and in high doses, death,” and because of
23    bioaccumulation, “even low levels of harmful metals from individual food sources, can
24    sometimes add up to a level of concern.”6
25                27.    The dangerous effects of these toxins are worsened in developing and

26
      vulnerable bodies and brains of babies and children, who FDA explains are at the greatest risk of

27

28
      6 FDA, Metals and Your Food, available at: https://www.fda.gov/food/chemicals-metals-pesticides-
      food/metals-and-your-food.
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                                                PLAINTIFFS’ COMPLAINT
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1     harm. See Subcommittee Report, p. 2. Exposure, such as ingestion, of Toxic Heavy Metals by
2     babies and children leads to untreatable and permanent brain damage, resulting in reduced
3     intelligence and behavioral problems. For instance, scientific studies have connected
4     exposure to lead to a substantial decrease in children’s total IQ points and their lifetime earning

5     capacity. See Subcommittee Report, p. 9.
               28.      Additionally, Exposure to Toxic Heavy etals (such as arsenic, lead, cadmium,
6
      and mercury) causes permanent decreases in IQ, diminished future economic productivity, and
7
      increased risk of future criminal and antisocial behavior in children, and can endanger infant
8
      neurological development and long-term brain function. See, Subcommittee Report, p. 2.
9
               29.      Because Toxic Heavy Metals have no benefits and severe detriments, Healthy
10
      Babies Bright Futures (“HBBF”), an alliance of nonprofit organizations, scientists, and donors
11    whose work is cited favorably in the Subcommittee Report, has concluded that baby food
12    should have no measurable amount of arsenic, lead, cadmium, or mercury. In fact, in October
13    2019, HBBF published a report investigation the presence of Toxic Heavy Metals in baby foods. 7
14    The HBBF Report found that 95% of “baby foods tested were contaminated with one or more of

15    four toxic heavy metals – arsenic, lead, cadmium and mercury. All but nine of 168 baby foods
      tested, contained at least one metal, though most contained more than one. 8 Specifically, the
16
      HBBF report identified “puffs and other snacks made with rice flour,” “teething biscuits and rice
17
      rusks,” “infant rice cereal,” “apple, pear, grape, and other fruit juices,” and carrots and sweet
18
      potatoes” manufactured by the Defendants as particularly high in Toxic Heavy Metals. 9 Given
19
      these results, and in response to reports alleging high levels of Toxic Heavy Metals in baby
20
      food sold in the United States, the House Subcommittee launched an investigation into the
21    presence of Toxic Heavy Metals in certain brands of baby food, including Defendants’ baby
22    food, and the results of the investigation were set forth in the Subcommittee Report, which was
23    released on February 4, 2021. Defendants Walmart, Plum, and Sprout refused to cooperate with
24    the Subcommittee’s investigation.

25

26
      7 Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
27
      of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct.
      2019) (“HBBF Report”) (attached as Exhibit “B”).
28    8 Id. at 6.
      9 Id. at 10-11.
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                                             PLAINTIFFS’ COMPLAINT
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1                                   Arsenic in Defendant’s Baby Food
2             30.     According to the Subcommittee Report, arsenic was present in all brands of
3     Baby food responding to the House Subcommittee’s investigation. In particular, Defendant
4     Nurture (HappyBABY) sold baby foods after tests showed they contained as much as 180 parts

5     per billion (ppb) inorganic arsenic. Over 25% of the products Nurture tested before sale
      contained over 100 ppb inorganic arsenic. Nurture’s testing shows that the typical baby food
6
      product it sold contained 60 ppb inorganic arsenic. Furthermore, Defendant Beech-Nut used
7
      ingredients that test results showed have as high as 913.4 ppb arsenic. In fact, Beech-Nut
8
      routinely used high-arsenic additives that tested over 300 ppb arsenic to address product
9
      characteristics such as “crumb softness.” On June 8, 2021, four months following the
10
      Congressional findings, Beech-Nut issued a voluntary recall of its infant single grain rice cereal
11    and exited the rice cereal market completely, confirming that its products exceed regulatory
12    arsenic limits. Additionally, Defendant Gerber used high-arsenic ingredients, using 67 batches
13    of rice flour that had tested over 90 ppb inorganic arsenic.
14            31.     The levels of toxic arsenic in Defendant’s baby food far exceeded the 10 ppb

15    Limit the FDA has set for arsenic in bottled water that is legal to sell to any consumer, even
      full-grown adults.10
16
              32.     Arsenic is the most dangerous of the Toxic Heavy Metals at issue and poses
17
      the most significant risk to human health.11 Currently known risks of arsenic to health include,
18
      but are not limited to, respiratory, gastrointestinal, neurological and immunological effects, as
19
      well as damaging effects on the central nervous system and cognitive development in children. 12
20
                                        Lead in Defendant’s Baby Food
21            33.     Lead was also present in Defendants’ baby food. Specifically, the Subcommittee
22    Report found that Defendant Nurture (HappyBABY) sold finished baby food products that tested
23    as high as 641 ppb lead, and that almost 20% of the baby food products that Nurture tested
24    contained over 10 ppb lead. Furthermore, the report found that Defendant Beech-Nut used

25    ingredients containing as much as 886.9 ppb lead, and that Defendant Beech-Nut used many

26

27
      10 Subcommittee Report at p. 4.
      11 Id. at 10.
28
      12 Agency for Toxic Substances and Disease Registry, ATSDR’s Substance Prior List (2019), available at
      http://www.atsdr.cdc.gov/spl/index.html#2019spl.
      ______________________________________________________________________________________
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1     ingredients with high lead content, including 483 that contained over 5 ppb lead, 89 that contained
2     over 15 ppb lead, and 57 that contained over 20 ppb lead. Additionally, Defendant Gerber used
3     ingredients that tested as high as 48 ppb lead, and used many ingredients containing over 20 ppb
4     lead.

5              34.    For comparison, the FDA has set the maximum level of lead in bottled water at
      5 ppb.13
6
               35.    Lead is the second most dangerous of the Toxic Heavy Metals discussed in
7
      the Subcommittee Report because lead can accumulate in the body, and even small doses of
8
      lead have deleterious effects on children, including health, behavioral, cognitive, and
9
      development issues. The FDA states that “[h]igh levels of lead exposure can seriously harm
10
      children’s health and development, specifically the brain and nervous system.”14
11                                      Cadmium in Defendant’s Baby Food
12             36.   Cadmium was another Toxic Heavy Metal found to be present in all brands of
13    baby food subject to the House Subcommittee’s investigation.15 In particular, Defendant
14    Beech-Nut used 105 ingredients that tested over 20 ppb cadmium, with some testing much

15    higher, up to 344.55 ppb cadmium. Sixty-five percent of Defendant Nurture’s (HappyBABY)
      finished baby food products contained more than 5 ppb cadmium, while seventy-five percent of
16
      Gerber's carrots contained cadmium in excess of 5 ppb, with some containing up to 87 ppb
17
      cadmium.
18
               37.   For comparison, the FDA has set the maximum level of cadmium in bottled
19
      water at 5 ppb.16
20
               38.   Cadmium is the seventh most dangerous heavy metal toxin according to the
21    ATSDR. Exposure to cadmium is linked with decreases in IQ and development of Attention
22    Deficit Hyperactive Disorder (“ADHD”). The EPA and FDA set the limit at 5 ppb of cadmium
23    in drinking water and bottled water. The WHO limits cadmium in drinking water at 3 ppb.
24

25

26    13 Subcommittee Report at p. 4.

27
      14 FDA, Metals and Your Food, available at: https://www.fda.gov/food/chemicals-metals-pesticides-
      food/metals-and-your-food.
28    15 Subcommittee Report at p. 3.
      16 Id. at 4.
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                                            PLAINTIFFS’ COMPLAINT
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1                                     Mercury in Defendant’s Baby Food
2             39.     Lastly, Mercury another Toxic Heavy Metal was found to be present in all brands
3     of baby food subject to the House Subcommittee’s investigation. See, Subcommittee Report,
4     p. 4. The report found that Defendant Nurture (HappyBABY) sold finished baby food products

5     containing as much as 10 ppb mercury, Defendant Beech-Nut does not even test for mercury in
      baby food, and Defendant Gerber rarely tests for mercury in its baby foods.
6
             40.      These numbers are outrageous given that in comparison, the U.S. Food and Drug
7
      Administration (“FDA”) has set the maximum allowable levels in bottled water at 10 ppb
8

9
      inorganic arsenic, 5 ppb lead and 5 ppb cadmium, and the U.S. Environmental Protection

10
      Agency (“EPA”) has capped the allowable level of mercury in drinking water at 2 ppb. It is of

11    importance to note that these limits were created in reference to adult exposure, not infants,

12    who are much more vulnerable and susceptible to various illnesses.

13                  Independent Data with Regards to Defendants Walmart, Plum and Sprout
14           41.      Walmart, Plum, and Sprout refused to cooperate with the Subcommittee’s
15    investigation, highly indicative of their wrongdoing, but nonetheless independent data confirms
16    that the baby food of these companies is similarly tainted, as the HBBF report observed that
17    Walmart’s Parent’s Choice brand products contain 66 ppb inorganic arsenic, 26.9 ppb lead, 26.`
18
      ppb cadmium, and 2.05 ppb mercury. 17
19
             42.      Plum refused to produce its testing standards and specific testing results to the
20
      Subcommittee.18 In fact, it has hidden its policies and the actual level of toxic heavy metals in
21
      its products and instead, provided the Subcommittee with a spreadsheet declaring that every one
22
      of its products “meets criteria,” while declining to state what those criteria are.19 It is troubling
23
      that Plum admitted that for mercury, the company has no criterion whatsoever, stating: “No
24

25

26
      17 See HBBF Report at 21, 22, 25-27.
27
      18 Subcommittee Report at p. 44.
28    19 Campbell, Product Heavy Metal Test Results (Dec. 11, 2019) (online at
      http://oversight.house.gov/sites/democrats.oversight.house.gov/files/12.pdf).

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1     specific threshold established because no high-risk ingredients are used.” Nonetheless, Plum
2
      still marketed every food as “meets criteria” for mercury, which the Subcommittee noted was
3
      “misleading” and “raises questions about what [Plum’s] other thresholds actually are, and
4
      whether they exist.”20 In fact, HBBF’s independent testing has confirmed the presence of Toxic
5
      Heavy Metals in Plum’s baby food.21
6
               43.   While Sprout did not respond to the Subcommittee’s request at all, the
7
      independent testing conducted by HBBF confirmed that Sprout’s Baby Foods are similarly
8
      tainted by substantial amounts of Toxic Heavy Metals.22
9
                                               Defendants’ Baby Food
10
               44.   Defendants manufacture, distribute, advertise, market, and sell brands of baby
11
      food, and direct, control, and participate in the manufacturing and packaging of the baby food
12
      products that they sell. As part of that direction, control, and participation, Defendants determine
13
      and are responsible for the ingredients used in their baby food.
14             45.   Defendants know and are responsible for the ingredients in their baby food
15    products that they sell.
16             46.   Defendants created, developed, reviewed, authorized, and are responsible for
17    the textual and graphic content on the packaging of the baby food products that they sell. The

18
      labels on Defendants’ Baby Foods contain their standardized labels created, developed,
      reviewed, and authorized by Defendants. Defendants knew, created, developed, reviewed
19
      and are responsible for the representations contained on each package of baby food that they
20
      sell.
21
               47.   Defendants intended to induce reasonable consumers to rely on their marketing,
22
      all of which explicitly and implicitly convey that Defendants’ baby foods are healthy for
23
      consumption by babies. Such marketing include words written on the containers of Defendants’
24    baby foods, including, but not limited to, the following words and phrases: “Organic,”
25    “Naturals,” “Nothing Artificial Added,” “Organic Baby Food,” “Made with Real Ingredients,”
26

27
      20 Subcommittee Report at p. 45.
28    21 HBBF Report at pp. 22-31.
      22 Id.
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                                            PLAINTIFFS’ COMPLAINT
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1     “No Artificial Colors, Flavors or Preservatives,” “BPA-Free Packaging,” “Non-GMO” (which
2     stands for “genetically modified organism” which are also associated with health risks), etc.
3     Below are some examples:
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                                           PLAINTIFFS’ COMPLAINT
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1            48.      Plaintiffs justifiably relied on Defendants’ marketing and suffered damages when
2     they unknowingly purchased baby foods that contain toxic heavy metals and other undesirable
3     toxins and contaminants. Additionally, the minor Plaintiffs were harmed or placed at risk of
4     harm by consuming foods containing Toxic Heavy Metals and other undesirable toxins and

5     contaminants.
             49.      Defendants’ false and misleading advertising deceives consumers into believing
6
      that they are purchasing and feeding their babies safe and nutritious baby foods, and through
7
      this deception, Defendants seek to induce consumers to purchase Defendants’ baby food when
8
      they would have otherwise purchased alternative baby foods had they known that Defendants’
9
      baby foods contain toxic heavy metals such as arsenic, lead, cadmium and mercury, all of which
10
      have been proven to cause harm in infants and children.
11                                 Consumer Expectations Regarding Baby Food
12           50.      Parents’ instinctive desire to protect and ensure the healthy development of their
13    children is well-known. As such, the safety of baby food is of paramount importance, and is
14    a material fact, to consumers (such as Plaintiffs and Class members).

15           51.      More specifically, given the negative effects of Toxic Heavy Metals (such as
      arsenic, lead, cadmium, and mercury) on child development, the presence of these substances
16
      in baby food is a material fact to consumers (such as Plaintiffs and members of the Class). Indeed,
17
      consumers—such as Plaintiffs and members of the Class—are unwilling to purchase baby food
18
      that contains elevated levels of Toxic Heavy Metals.
19
             52.      Defendants know that the safety of their brands of baby food (as a general matter)
20
      is a material fact to consumers. This is exemplified by the fact that Defendants’ baby food
21    products are marketed and labeled as lacking certain substances (e.g., BPA, GMOs) that
22    consumers believe would be deleterious to the health of children.
23           53.      Defendants also know that consumers (such as Plaintiffs and members of the
24    Class) are unwilling to purchase their baby food products that contain elevated levels of

25    Toxic Heavy Metals.

26           54.      As such, Defendants also know that the presence of Toxic Heavy Metals in their
      baby food products is a material fact to consumers (such as Plaintiffs and Class members).
27
             55.      Baby food manufacturers (such as Defendants) hold a special position of public
28



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                                            PLAINTIFFS’ COMPLAINT
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1     trust. Consumers believe that they would not sell products that are unsafe to their infants.23
2            56.     Defendants knew that if the elevated levels of Toxic Heavy Metals in their baby
3     food products was disclosed to Plaintiffs and Class members, then Plaintiffs and Class members
4     would be unwilling to purchase Defendants’ Baby Foods.

5            57.     In light of Defendants’ knowledge that Plaintiffs and Class members would
      be unwilling to purchase baby food if they knew that their baby food products contained elevated
6
      levels of Toxic Heavy Metals, Defendants intentionally and knowingly concealed these facts
7
      from Plaintiffs and Class members, and did not disclose the presence of these Toxic Heavy
8
      Metals on the labels of Defendants’ baby food products.
9
             58.     Defendants knew that Plaintiffs and Class members would rely upon the
10
      representations and omissions contained on the packages of Defendants’ baby food products, and
11    intended for them to do so.
12           59.     Defendants knew that in relying upon the representations and omissions
13    contained on the packages of Defendants’ baby food products, Plaintiffs and Class members
14    would view those products as being safe for consumption, given their represented lack of certain

15    substances (e.g., BPA, GMOs), and Defendants’ concealment of the fact that baby food products
      contained elevated levels of Toxic Heavy Metals.
16
             60.     Prior to purchasing Defendants’ baby food products, Plaintiffs and Class members
17
      were exposed to, saw, read, and understood Defendants’ representations and omissions regarding
18
      the safety of their baby food products, and relied upon them.
19
             61.     As a result of Defendants’ representations regarding the safety of its baby food, and
20
      the lack of certain deleterious substances (e.g., BPA, GMOs), and Defendants’ concealment of
21    the fact that their brands of baby food contained elevated levels of Toxic Heavy Metals,
22    Plaintiffs and Class members reasonably believed that Defendants’ baby food products were
23    free from substances that would negatively affect children’s development.
24           62.     In reliance upon Defendants’ representations and omissions, Plaintiffs and Class

25    members purchased Defendants’ baby food products.
             63.     Had Plaintiffs and Class members known the truth—i.e., that Defendants’ brand
26
      of baby food products contained elevated levels of Toxic Heavy Metals, rendering them unsafe
27

28

      23 Subcommittee Report at p. 6.
      ______________________________________________________________________________________
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1     for consumption by children—they would not have been willing to purchase these products at
2     all.
3             64.      Therefore, as a direct and proximate result of Defendants’ misrepresentations
4     and omissions concerning their baby food products, Plaintiffs and Class members purchased these

5     products and were harmed given that the presence of elevated levels of Toxic Heavy Metals in
      baby food renders it unsafe for human consumption, and are especially harmful to infants and
6
      children who are the most vulnerable in society.
7
              65.      Plaintiffs bring this action on behalf of themselves, and Classes of similarly
8
      situated individuals, seeking recovery of damages, including actual damages, enhanced,
9
      statutory, and punitive damages, as well as equitable relief, including restitution, disgorgement,
10
      and injunctive relief, reasonable attorneys’ fees and costs, as allowed under the various causes of
11    action set forth herein.
12            66.      Plaintiffs are likely to consider purchasing baby food products in the future
13    provided that Defendants institute corrective measures and cure their unfair and deceptive acts
14    and practices. Should Defendants provide clear and non-misleading disclosures regarding the

15    levels of Toxic Heavy Metals in their baby food products, improve their sourcing of
      ingredients and manufacturing processes, and accurately and effectively test final products of
16
      their baby food products for excessive levels of Toxic Heavy Metals, Plaintiffs would likely
17
      purchase baby food products from Defendants if they are truthfully labeled and do not contain
18
      excessive levels of Toxic Heavy Metals or other hazardous substances.
19
              67.      Additionally, Defendants are equitably estopped from asserting defenses
20
      relating to statutes of limitations. Not only did Defendants fail to disclose the elevated levels
21    of Toxic Heavy Metals in their baby food products, but Defendants also touted their brands of
22    baby food as wholesome, natural, specially prepared to meet nutritional and developmental needs
23    of babies and children, and lacking certain undesired substances, such as BPA and GMOs, and
24    including certain beneficial substances, such as iron. Defendants also omitted and concealed the

25    facts regarding the presence of Toxic Heavy Metals from the FDA and Congress, and actively
      and fraudulently concealed and continue to conceal the true nature of the ingredients of their baby
26
      food products.
27

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1                                     CLASS ACTION ALLEGATIONS
2
              68.      As further stated herein as to the following claims, Plaintiffs bring their causes of
3     action on behalf of themselves and all others similarly situated, and certification of this class
4     action is appropriate under California Code of Civil Procedure section 382 and California Civil
5     Code section 1781, because the questions of law or fact common to the respective Class members

6     predominate over questions of law or fact affecting only individual members.

7
              The “Class” is defined as all persons or entities who, within the State of California, from

8     September 2009 through December 2021 (the “Class Period”), who purchased and/or consumed

9     the subject Baby Foods from Beech-Nut Nutrition Company, Nurture, Inc. (which sells baby

10    foods under the brand name HappyBABY), Plum Inc. d.b.a. Plum Organics, Gerber Products

11    Company, Walmart, Inc. (which sells Baby Foods under the brand name Parent’s Choice), and
12    Sprout Foods, Inc., which contain high levels of toxic heavy metals including mercury, lead,
13    arsenic and cadmium.
14            69.       Excluded from the Class are Defendants’ officers, employees, agents or affiliates,
15    and any judge who presides over this action, as well as past and present employees, officers and
16    directors of Defendants. Plaintiffs reserve the right to expand, limit, modify, or amend this Class
17    definition, including the addition of one or more subclasses, in connection with their motion for

18
      class certification, or at any other time, based upon, inter alia, changing circumstances and/or new
      facts obtained during discovery.
19
      A.      Commonality
20
           70. There are questions of law and fact that are common to the claims of Plaintiffs. Among
21
              these common questions are the following:
22
                    a. Whether Defendants violated California’s Unfair Competition Law by
23
      knowingly formulating, manufacturing, advertising, and selling baby foods touted as healthy,
24
      nutritious and safe for consumption when, in reality, the baby foods contain toxic heavy metals;
25
                       (b) Whether Defendants violated California’s Unfair Competition Law
26
      by misrepresenting material information to consumers regarding Defendants’ baby food
27
      products and their ability to be nutritious to a baby’s diet;
28
                       (c) Whether Defendants violated California’s Unfair Competition Law

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1     by concealing material information from consumers regarding the fact that the baby foods
2     contain high levels of toxic heavy metals, so that consumers would not know that the baby
3     foods pose a health risk to babies and their development;
4                      (d) Whether Defendants violated California’s Unfair Competition Law
5     by using uniform, deceptive business practices, such as telling consumers via their websites that
6     the baby foods involved are safe to consume and have undergone thorough testing, without
7     transparently disclosing Defendant’s testing standards and ultimate results;
8                      (e) Whether Defendants represented and continue to represent that their
9     baby foods are of a particular standard, quality, or grade when they are not;
10                     (f) Whether Defendants advertised their Baby Foods with the intent not to
11    sell them as advertised;

12                     (g) Whether Defendants owed a duty of care to their customers to ensure
      that their baby foods do not contain any toxic heavy metals or other undesirable toxins or
13
      contaminants;
14
                       (h) Whether Defendants owed a duty to investigate that their baby foods do
15
      not contain any toxic heavy metals or other undesirable toxins or contaminants; and
16
                       (i) Whether Defendants’ conduct as set forth above injured consumers, and if so,
17
      the extent of the injury.
18    B.         Numerosity
19                     (j) The members of the Class are so numerous that separate joinder of each
20    member is impracticable. Plaintiffs are informed and believe that in the County of Los Angeles
21    alone, the members of the Class would easily exceed the minimum numbers to satisfy this

22    requirement.
      C.         Typicality
23
                       (k) Plaintiffs’ claims are typical of the claims of the Class because
24
      Plaintiffs, like the other Class Members, purchased Defendants’ baby foods based on the
25
      reasonable belief that they were healthy, nutritious, and safe for consumption by babies. Plaintiffs,
26
      as with other Class Members, were deceived by Defendants’ misrepresentations and omissions
27
      of fact.
28                      (l) The core issues which predominate over all the other issues in the


      ______________________________________________________________________________________
                                                        24
                                             PLAINTIFFS’ COMPLAINT
                                                 [CLASS-ACTION]
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1     litigation involve Defendants’ unfair competition, violation of the CLRA and other violations, as
2     discussed above.
3                     (m) Upon information and belief, there has never been a prior lawsuit certified as
4     a class on behalf of Plaintiffs based on the allegations in this Complaint.

5     D.      Adequacy of Representation
                      (n) Plaintiffs will fairly and adequately protect the interests of the Class and
6
      are committed to the vigorous prosecution of this action. They have retained competent counsel,
7
      experienced in litigation of this nature, to represent them and members of the Class. There is no
8
      hostility between Plaintiffs and the unnamed Class members. Plaintiffs anticipate no difficulty
9
      in the management of this litigation as a class action.
10
                      (o) To prosecute this case, Plaintiffs have chosen the law firm of Beverly
11    Hills Trial Attorneys, P.C., whose attorneys have represented plaintiffs in class actions and as
12    private attorneys general in bringing public interest actions.
13    E.      Superiority
14                    (p) The questions of law or fact common to the claims of Plaintiffs and of

15    each Class member predominate over any questions of law or fact affecting only individual
      members of the Class. All claims by named Plaintiffs and unnamed Class members are based on
16
      the same alleged “across the board” representations by Defendants and other acts constituting
17
      negligence, unfair competition under the UCL, and violation of Consumer Legal Remedies Act.
18
                      (q) Common issues predominate when as here, liability can be determined
19
      on a class-wide basis, even when there are some individualized damages.
20
                      (r) As a result, when determining whether common questions predominate,
21    courts focus on the liability issue and if the liability issue is common to the class as in the case at
22    bar, common questions are held to predominate over individual questions.
23                    (s) Since all claims by named Plaintiffs and unnamed Class members are
24    based on the same alleged “across the board” failures by Defendants and other unfair competition

25    under the UCL, the predominance requirement needed for class action treatment is satisfied.
                      (t) A class action is superior to thousands of individual actions in part
26
      because of the non-exhaustive factors listed below:
27
                       i. Joinder of all class members would create extreme hardship and
28
                            inconvenience for the affected consumers because of their immense

      ______________________________________________________________________________________
                                                         25
                                             PLAINTIFFS’ COMPLAINT
                                                 [CLASS-ACTION]
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1                         geographical dispersion.
2                     ii. It is highly unlikely that individual Plaintiffs would shoulder the burden of
3                         this vast and complex litigation as many are simply too poor or uneducated
4                         about Defendants’ actions to bring separate actions;

5                     iii. The interests of justice will be well served by resolving the common disputes
                          of potential class members in one forum;
6
                      iv. Individual suits would not be cost effective. The costs to individual Plaintiffs
7
                          in a collective action are lowered through the pooling or resources and by
8
                          limiting the controversy to one proceeding which efficiently resolves
9
                          common issues of law and fact that arose from the same alleged activity; and
10
                      v. The action is manageable as a class action; individual lawsuits are not
11                        economically maintainable as individual actions.
12    Defendants have also acted or refused to act on grounds generally applicable to the Class, thereby
13    making appropriate final declaratory relief with respect to the Class as a whole.
14                                      FIRST CAUSE OF ACTION
15                             (Strict Products Liability – Failure To Warn)
16           71.      Plaintiffs incorporate by reference each allegation set forth in preceding
17    paragraphs as if fully stated herein.

18           72.      At all relevant times, Defendants engaged in the business of researching, testing,
      developing, designing, manufacturing, labeling, marketing, selling, inspecting, distributing, and
19
      promoting Baby Foods, which are defective and unreasonably dangerous to consumers,
20
      including Plaintiffs, because they do not contain adequate warnings or instructions concerning
21
      the dangerous toxic heavy metals they contain. These actions were under the ultimate control
22
      and supervision of Defendants. At all relevant times, Defendants registered, researched,
23
      manufactured, distributed, marketed, and sold Baby Foods and aimed at a consumer market.
24           73.     Defendants researched, tested, developed, designed, manufactured, labeled,
25    marketed, sold, inspected, distributed, and promoted, and otherwise released into the stream of
26    commerce their Baby Foods, and in the course of same, directly advertised or marketed the
27    products to consumers and end users, including Plaintiffs, and therefore had a duty to warn of

28    the risks associated with the consumption of said Baby Foods.


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                                              PLAINTIFFS’ COMPLAINT
                                                  [CLASS-ACTION]
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1            74.       At all relevant times, Defendants had a duty to properly test, develop, design,
2     manufacture, inspect, package, label, market, promote, sell, and distribute, maintain, supply,
3     provide proper warnings, and take such steps as necessary to ensure their Baby Foods did not
4     cause users and consumers to suffer from unreasonable and dangerous risks. Defendants had a

5     continuing duty to warn Plaintiff of dangers associated with Baby Foods. Defendants, as a
      manufacturer, seller, or distributor of food, are held to the knowledge of an expert in the field.
6
             75.       At the time of manufacture, Defendants could have provided the warnings or
7
      instructions regarding the full and complete risks of Baby Foods because they knew or should
8
      have known of the unreasonable risks of harm associated with the use of and/or exposure to
9
      such products.
10
             76.       At all relevant times, Defendants failed and deliberately refused to investigate,
11    study, test, or promote the safety or to minimize the dangers to users and consumers of their
12    product and to those who would foreseeably use or be harmed by Defendants’ Baby Foods.
13           77.       Even though Defendants knew or should have known that Baby Foods posed a
14    grave risk of harm, they failed to exercise reasonable care to warn of the dangerous risks

15    associated with use and exposure to the products. The dangerous propensities of their products
      and the neurotoxic characteristic of toxic heavy metals contained in Defendants’ Baby Foods, as
16
      described above, were known to Defendants, or Defendants could have reasonably known about
17
      them through appropriate research and testing by known methods, at the time they distributed,
18
      supplied or sold the product, and were not known to end users and consumers, such as
19
      Plaintiffs. The product warnings for Baby Foods in effect during the time period Plaintiff
20
      consumed Baby Foods were vague, incomplete or otherwise inadequate, both substantively and
21    graphically, to alert consumers to the severe health risks associated with Baby Foods
22    consumption.
23           78.       Defendants knew or should have known that their products created significant
24    risks of serious bodily harm to consumers, as alleged herein, and Defendants failed to

25    adequately warn or instruct consumers, i.e., the reasonably foreseeable users, of the risks of
      exposure to their products.
26
             79.       Defendants failed to warn and have wrongfully concealed information
27
      concerning the dangerous level of toxic heavy metals in their Baby Foods and the potential for
28



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                                             PLAINTIFFS’ COMPLAINT
                                                 [CLASS-ACTION]
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1     consumed Baby Foods to expose children to toxic heavy metals, and further, have made false
2     and/or misleading statements concerning the safety of the subject Baby Foods.
3              80.   At all relevant times, Defendants’ Baby Foods reached the intended consumers,
4     handlers, and users or other persons coming into contact with these products, including

5     Plaintiffs, without substantial change in their condition as designed, manufactured, sold,
      distributed, labeled, and marketed by Defendants.
6
               81.   Plaintiffs were exposed to Defendants’ Baby Foods without knowledge of their
7
      dangerous characteristics.
8
               82.   At all relevant times, Plaintiffs were exposed to Defendants’ Baby Foods while
9
      using them for their intended or reasonably foreseeable purposes, without knowledge of their
10
      dangerous characteristics.
11             83.   Plaintiffs could not have reasonably discovered the defects and risks associated
12    with Baby Foods prior to or at the time of consuming said Baby Foods. Plaintiffs relied upon
13    the skill, superior knowledge, and judgment of Defendants to know about and disclose serious
14    health risks associated with using Defendants’ products.

15             84.   Defendants knew or should have known that the information disseminated with
      their Baby Foods were inadequate, failed to communicate adequate information on the dangers
16
      associated with the consumption of food containing heavy toxic metals, and failed to
17
      communicate warnings and instructions that were appropriate and adequate to render the
18
      products safe for their ordinary, intended and reasonably foreseeable uses.
19
               85.   The information that Defendants did provide or communicate failed to contain
20
      relevant warnings, hazards, and precautions that would have enabled consumers such as
21    Plaintiff to avoid consuming the products. Instead, Defendants disseminated information that
22    was inaccurate, false, and misleading, and which failed to communicate accurately or
23    adequately the comparative severity, duration, and extent of the risk of injuries with use of
24    and/or exposure to the subject Baby Foods, continued to aggressively promote the safety of

25    their products, even after they knew or should have known of the unreasonable risks from use or
      exposure, and concealed, downplayed, or otherwise suppressed, through aggressive marketing
26
      and promotion, any information or research about the risks and dangers of consuming said Baby
27
      Foods.
28



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                                            PLAINTIFFS’ COMPLAINT
                                                [CLASS-ACTION]
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1            86.     This alleged failure to warn is not limited to the information contained on Baby
2     Foods labeling. The Defendants were able, in accord with federal law, to comply with relevant
3     state law by disclosing the known risks associated with Baby Foods through other non-labeling
4     mediums, i.e., promotion, advertisements, public service announcements, and/or public

5     information sources. But the Defendants did not disclose these known risks through any
      medium. The ability to provide such warnings is not prohibited by any federal law.
6
             87.     Had Defendants provided adequate warnings and instructions and properly
7
      disclosed and disseminated the risks associated with their Baby Foods, Plaintiffs could have
8
      avoided the risk of developing injuries and could have obtained or used alternative products.
9
      However, as a result of Defendants’ concealment of the dangers posed by their Baby Foods,
10
      Plaintiffs could not have averted their injuries.
11           88.     Defendants’ conduct, as described above, was reckless. Defendants risked the
12    lives of babies and children, including Plaintiffs, with knowledge of the safety problems
13    associated with Baby Foods, and suppressed this knowledge from the general public.
14    Defendants made conscious decisions not to redesign, warn or inform the unsuspecting public.

15    Defendants’ reckless conduct warrants an award of punitive damages.
             89.     Defendants’ lack of adequate warnings and instructions accompanying their
16
      Baby Foods were a substantial factor in causing Plaintiffs’ injuries.
17
             90.     As a direct and proximate result of the Defendants’ failure to provide an
18
      adequate warning of the risks of Baby Foods, Plaintiffs have been injured.
19
                                      SECOND CAUSE OF ACTION
20
                                       (Negligence – Failure to Warn)
21           91.     Plaintiffs incorporates by reference each allegation set forth in preceding
22    paragraphs as if fully stated herein.
23           92.     At all relevant times, Defendants engaged in the business of testing, developing,
24    designing, manufacturing, marketing, selling, distributing, and promoting Baby Foods.

25    Defendants knew or by the exercise of reasonable care should have known that their Baby
      Foods are not accompanied with adequate warnings given the presence of toxic heavy metals in
26
      them. These actions were under the ultimate control and supervision of Defendants.
27
             93.     Defendants researched, developed, designed, tested, manufactured, inspected,
28
      labeled, distributed, marketed, promoted, sold, and otherwise released into the stream of

      ______________________________________________________________________________________
                                                          29
                                              PLAINTIFFS’ COMPLAINT
                                                  [CLASS-ACTION]
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1     commerce their Baby Foods, and in the course of same, directly advertised or marketed the
2     products to consumers and end users, including Plaintiffs, and therefore had a duty to warn of
3     the risks associated with the use of Baby Foods.
4             94.    At all relevant times, Defendants had a duty to properly test, develop, design,

5     manufacture, inspect, package, label, market, promote, sell, distribute, maintain, supply, provide
      proper warnings, and take such steps as necessary to ensure their Baby Foods did not cause
6
      users and consumers to suffer from unreasonable and dangerous risks. Defendants had a
7
      continuing duty to warn Plaintiffs of dangers associated with their Baby Foods. Defendants, as a
8
      manufacturer, seller, or distributor of food products, are held to the knowledge of an expert in
9
      the field.
10
              95.    At the time of manufacture, Defendants could have provided warnings regarding
11    the full and complete risks of their Baby Foods containing toxic heavy metals because they
12    knew or should have known that the consumption of their Baby Foods was dangerous, harmful
13    and injurious when used by Plaintiffs in a reasonably foreseeable manner.
14            96.    At all relevant times, Defendants failed and deliberately refused to investigate,

15    study, test, or promote the safety or to minimize the dangers to users and consumers of their
      products and to those who would foreseeably use or be harmed by Defendants’ Baby Foods.
16
              97.    Defendants knew or should have known that Baby Foods posed a grave risk of
17
      harm, but failed to exercise reasonable care to warn of the dangerous risks associated with use
18
      and exposure to the products. The dangerous propensities of their products and the
19
      characteristics of toxic heavy metals contained in substantial amounts in their Baby Foods, as
20
      described above, were known to Defendants, or should have been known to Defendants through
21    appropriate research and testing by known methods, at the time they distributed, supplied or
22    sold the products.
23            98.    Defendants further breached their duty by failing to use reasonable care to
24    adequately warn or instruct consumers (i.e., the reasonably foreseeable users) of the risks of

25    exposure to their products. Defendants failed to warn and have wrongfully concealed
      information concerning the dangerous levels of toxic heavy metals in their Baby Foods and the
26
      potential for consumed Baby Foods to expose babies and toddlers to toxic heavy metals, and
27
      further, have made false and/or misleading statements concerning the safety of Baby Foods.
28



      ______________________________________________________________________________________
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                                            PLAINTIFFS’ COMPLAINT
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1                99.    At all relevant times, Plaintiffs were exposed to excessive levels of toxic heavy
2     metals through consumption of toxic heavy metals while using them for their intended or
3     reasonably foreseeable, purposes, without knowledge of their dangerous characteristics.
4                100.   Defendants knew or should have known that the minimal warnings disseminated

5     with their Baby Foods were inadequate, failed to communicate adequate information on the
      dangers and safe use/exposure, and failed to communicate warnings and instructions that were
6
      appropriate and adequate to render the products safe for their ordinary, intended and reasonably
7
      foreseeable uses.
8
                 101.   The information that Defendants did provide or communicate failed to contain
9
      relevant warnings, hazards, and precautions that would have enabled consumers such as
10
      Plaintiffs to avoid using the product. Instead, Defendants disseminated information that was
11    inaccurate, false, and misleading, and which failed to communicate accurately or adequately the
12    comparative severity, duration, and extent of the risk of injuries with use of and/or exposure to
13    Baby Foods, continued to aggressively promote the efficacy of their products, even after they
14    knew or should have known of the unreasonable risks from use or exposure, and concealed,

15    downplayed, or otherwise suppressed, through aggressive marketing and promotion, any
      information or research about the risks and dangers of consuming Baby Foods.
16
                 102.   A reasonable company under the same or similar circumstance would have
17
      warned and instructed of the dangers of these Baby Foods and the toxic heavy metals contained
18
      therein.
19
                 103.   This alleged failure to warn is not limited to the information contained on the
20
      labeling of Defendants’ Baby Foods. Defendants were able, in accord with federal law, to
21    comply with relevant state law by disclosing the known risks associated with Baby Foods and
22    toxic heavy metals through other non-labeling mediums, i.e., promotion, advertisements, public
23    service announcements, and/or public information sources.
24               104.   Had Defendants provided adequate warnings and instructions and properly

25    disclosed and disseminated the risks associated with their Baby Foods, Plaintiffs could have
      avoided the risk of developing injuries and could have obtained or used alternative products.
26
      However, as a result of Defendants’ concealment of the dangers posed by their Baby Foods,
27
      Plaintiffs could not have averted their injuries.
28



      ______________________________________________________________________________________
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                                              PLAINTIFFS’ COMPLAINT
                                                  [CLASS-ACTION]
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1            105.     Defendants’ conduct, as described above, was reckless. Defendants risked the
2     lives of consumers and users of their products, including Plaintiffs, with knowledge of the
3     safety problems associated with Baby Foods, and suppressed this knowledge from the general
4     public. Defendants made conscious decisions not to redesign, warn or inform the unsuspecting

5     public. Defendants’ reckless conduct warrants an award of punitive damages.
             106.     The Defendants’ lack of adequate warnings and instructions accompanying their
6
      Baby Foods were a substantial factor in causing Plaintiffs injuries.
7
             107.     As a direct and proximate result of the Defendants’ failure to provide an
8
      adequate warning of the risks of Baby Foods, Plaintiffs have been injured.
9
                                       THIRD CAUSE OF ACTION
10
                                         (Negligent Product Design)
11           108.     The Defendants knew or, by the exercise of reasonable care, should have known,
12    ordinary consumers such as Plaintiffs would not have realized the potential risks and dangers of
13    Baby Foods.
14           109.     The Defendants owed a duty to all reasonably foreseeable users to design a safe

15    product.
             110.     The Defendants breached their duty by failing to use reasonable care in the design
16
      of Baby Foods because the product exposed users, including Plaintiffs, to unsafe levels of toxic
17
      heavy metals.
18
             111.     The Defendants breached their duty by failing to use reasonable care in the design
19
      of Baby Foods by negligently designing the Baby Foods with ingredients and/or components high
20
      in toxic heavy metals.
21           112.     The Defendants breached their duty by failing to use reasonable care in the design
22    of Baby Foods by negligently designing and formulation, in one or more of the following ways:
23           a.       When placed in the stream of commerce, Defendants’ Baby Foods were defective
24           in design and formulation, and, consequently, dangerous to an extent beyond that which

25           an ordinary consumer would contemplate;
             b.       When placed in the stream of commerce, Defendants’ Baby Foods were
26
             unreasonably dangerous in that they were hazardous and posed a grave risk of
27
             neurodevelopmental disorders and other serious illnesses when used in a reasonably
28
             anticipated manner;

      ______________________________________________________________________________________
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                                            PLAINTIFFS’ COMPLAINT
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1            c.      When placed in the stream of commerce, Defendants’ Baby Foods contained
2            unreasonably dangerous design defects and were not reasonably safe when used in a
3            reasonably anticipated or intended manner;
4            d.      Defendants did not sufficiently test, investigate, or study their Baby Foods and,

5            specifically, the content of toxic heavy metals in the ingredients used to manufacture the
             foods and/or the finished products;
6
             e.      Defendants did not sufficiently test, investigate, or study their Baby Foods,
7
             specifically, the ability for their Baby Foods to expose babies to high amounts of toxic
8
             heavy metals;
9
             f.      Exposure to Baby Foods presents a risk of harmful effects that outweigh any
10
             potential utility stemming from the use of the products;
11           g.      Defendants knew or should have known at the time of marketing their Baby Foods
12           that exposure to toxic heavy metals contained in their Baby Foods could result in
13           neurodevelopmental disorders such as ADHD---and other severe illnesses and injuries;
14           h.      Defendants did not conduct adequate post-marketing surveillance of their Baby

15           Foods; and
             i.      Defendants could have employed safer alternative designs and formulations, such
16
             as avoiding the use of ingredients high in toxic heavy metals.
17
             113.    The Defendants breached their duty by failing to use reasonable care by failing to
18
      use cost effective, reasonably feasible alternative designs. There was a practical, technically
19
      feasible, and safer alternative design that would have prevented the harm without substantially
20
      impairing the reasonably anticipated or intended function of Defendants’ Baby Foods.
21           114.    Additionally, a reasonable company under the same or similar circumstances
22    would have designed a safer product.
23           115.    Plaintiffs were harmed directly and proximately by Defendants’ failure to use
24    reasonable care in the design of their Baby Foods. Such harm includes significant exposure to

25    toxic heavy metals, which can cause or contribute to the development of neurodevelopmental
      disorders such ADHD, as well as other illnesses.
26
             116.    Defendants’ defective design of Baby Foods was willful, wanton, malicious, and
27
      conducted with reckless disregard for the health and safety of consumers of the Baby Foods,
28
      including Plaintiffs.

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                                             PLAINTIFFS’ COMPLAINT
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1             117.     The defects in Defendants’ Baby Foods were a substantial factor in causing
2     Plaintiffs’ injuries.
3             118.     As a direct and proximate result of the Defendants’ defective design of the Baby
4     Foods, Plaintiffs have been injured and suffered damages.

5                                       FOURTH CAUSE OF ACTION
                                           (Negligent Manufacturing)
6
              119.     Plaintiff incorporates by reference each allegation set forth in preceding
7
      paragraphs as if fully stated herein.
8
              120.     At all relevant times, the Defendants manufactured, tested, marketed, sold, and
9
      distributed the Baby Foods that Plaintiffs consumed.
10
              121.     The Defendants had a duty to exercise reasonable care, in the manufacturing,
11    testing, marketing, sale, and distribution of Baby Foods.
12            122.     The Defendants knew or, by the exercise of reasonable care, should have known,
13    these Baby Foods were carelessly manufactured, dangerous, harmful and injurious when used
14    by Plaintiffs in a reasonably foreseeable manner.

15            123.     The Defendants knew or, by the exercise of reasonable care, should have known,
      ordinary consumers such as Plaintiffs would not have realized the potential risks and dangers of
16
      Baby Foods improperly manufactured, tested, marketed, distributed, and sold.
17
              124.     Without limitation, examples of the manner in which Defendants breached their
18
      duty to exercise reasonable care in manufacturing Baby Foods, included:
19
                     a. Failure to adequately inspect/test the Baby Foods during the
20
                      manufacturing process;
21                   b. Failure to implement procedures that would reduce or eliminate levels of
22                     toxic heavy metals in Baby Foods; and
23                   c. Failure to avoid using ingredients free from, or which contain far less,
24                     toxic heavy metals to manufacture Baby Foods.

25            125.     Reasonable manufacturers under the same or similar circumstances would
      have implemented appropriate manufacturing procedures to better ensure the quality and safety
26
      of their products.
27
              126.     Plaintiffs were harmed directly and proximately by the Defendants’ failure
28



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                                               PLAINTIFFS’ COMPLAINT
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1     to use reasonable care in the manufacture of their Baby Foods. Such harm includes significant
2     exposure to toxic heavy metals, which can cause or contribute the development of
3     neurodevelopmental disorders, such as ADHD, as well as other illnesses.
4             127.    Defendants’ improper manufacturing of Baby Foods was willful, wanton,

5     malicious, and conducted with reckless disregard for the health and safety of users of the Baby
      Foods, including Plaintiffs.
6
              128.    The defects in Defendants’ Baby Foods were substantial factors in causing
7
      Plaintiffs injuries.
8
              129.    As a direct and proximate result of the Defendants’ improper
9
      manufacturing of Baby Foods, Plaintiffs have been injured.
10
                                        FIFTH CAUSE OF ACTION
11                                      (Negligent Misrepresentation)
12            130.    Plaintiffs reallege and incorporate here by reference each of the foregoing
13    paragraphs, and further allege as follows.
14            131.    At all relevant times, Defendants designed, manufactured, packaged,
15
      labeled, marketed, advertised, promoted, supplied, distributed, sold and/or otherwise placed Baby
16
      Foods into the stream of commerce, and therefore owed a duty of reasonable care to avoid causing
17
      harm to those that consumed Baby Foods, such as Plaintiff.
18
              132     Defendants were negligent, reckless, and careless and owed a duty to
19
      Plaintiff to make accurate and truthful representations regarding Baby Foods, Defendants
20
      breached their duty, thereby causing Plaintiff to suffer harm.
21
              133     Defendants represented to Plaintiffs via advertising, their websites,
22
      packaging, promotions, as well as by other means, that their baby foods were both safe and
23
      nutritious, when in fact, the baby food contained unsafe levels of toxic heavy metals far in excess
24
      of regulatory standards. In fact, because of the presence of unsafe levels of toxic heavy metals in
25

26
      Defendants’ baby foods, the products presented an unacceptable risk of causing

27    neurodevelopmental disorders, such as ADHD, as well as other illnesses.

28            134.    Additionally, Defendants represented to Plaintiffs that their baby foods were safe

      for their intended use, when in fact, Defendants knew or should have known that their products
      ______________________________________________________________________________________
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                                             PLAINTIFFS’ COMPLAINT
                                                 [CLASS-ACTION]
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1     were not safe for their intended purpose and should not have been consumed by babies.
2
      Defendants intended for Plaintiffs to rely on these representations and each of these
3
      misrepresentations were material at the time they were made. In particular, each of the
4
      misrepresentations concerned material facts that were essential to the analysis undertaken by
5
      Plaintiffs as to whether they should purchase or consume these Baby Foods.
6
             135.    Defendants knew or should have known that their representations were false and
7
      were negligently made without regard for their truth.
8
             136.    Plaintiffs reasonably placed their trust and reliance in Defendants’ representations
9
       that its baby foods were as advertised, that is that they were healthy, nutritious and safe for
10
       consumption, and were harmed as described herein. Plaintiffs’ reliance on Defendants’
11
       representation was a substantial factor in causing Plaintiffs’ harms.
12

13
             137.    Furthermore, Defendants’ acts and omissions as described herein were committed

14     in reckless disregard of Plaintiffs’ rights, interests, and well-being to enrich Defendants.

15     Defendants have yet to correct these misrepresentations about their baby foods.

16           138.    Plaintiffs and the members of the class were injured as a direct and proximate

17     result of Defendants’ negligent misrepresentations regarding their products, as described herein.
18                                     SIXTH CAUSE OF ACTION
19                  (Violation of Business and Professions Code sections 17200, et seq.)
20
             139.    Plaintiffs reallege and incorporate here by reference each of the foregoing
21
      paragraphs, and further allege as follows.
22
             140.    Plaintiffs, pursuant to Business and Professions Code section 17204, bring
23
      this cause of action on behalf of themselves and as a private attorneys general.
24
             141.    Business and Professions Code section 17200, et seq., also known as the
25
      Unfair Competition Law, defines “unfair business competition” to include any “unlawful, unfair
26
      or fraudulent” act or practice, as well as any “unfair, deceptive, untrue or misleading” advertising.
27
      The Unfair Competition Law imposes strict liability. Plaintiffs need not prove that Defendants
28



      ______________________________________________________________________________________
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1     intentionally or negligently engaged in unlawful, unfair or fraudulent business practices – but
2
      only that such practices occurred.
3
      “Unlawful” Prong
4
             142.       A business act or practice is “unlawful” under the UCL if it violates any
5
      other law or regulation.
6
             143.       As detailed in Plaintiffs’ Cause of Action below, the Consumer Legal
7
      Remedies Act, California Civil Code sections 1750 - 1784, prohibits a business from engaging in
8
      sales practices that are deceptive or misrepresentations when offering goods and services to the
9
      general public.
10
             144.       Defendants’ unlawful business practices are ongoing, and unless enjoined
11
      under Business & Professions Code section 17203, and/or under section 17535, are likely to
12

13
      continue to deceive other members of the general public at the expense of Defendants’

14    competitors.

15           145.       Defendants violated Cal. Bus. & Prof. Code sections 17200, et seq. by engaging

16    in unlawful, unfair, or fraudulent business acts or practices and unfair, deceptive, untrue, or

17    misleading advertising, including:
18                      a. Knowingly formulating, manufacturing, advertising, and selling baby foods
19                      touted as healthy, nutritious and safe for consumption when, in reality, the baby
20                      foods contain toxic heavy metals;
21                      b. Misrepresenting material information to consumers regarding Defendant’s
22                      baby food products and their ability to be nutritious to a baby’s diet;
23                      c. Concealing material information from consumers regarding the fact that the
24                      baby foods contain high levels of toxic heavy metals, so that consumers would
25                      not know that the baby foods pose a health risk to babies and their development;
26                      and
27                      d. Using uniform, deceptive business practices, such as telling consumers via
28                      their websites that the baby foods involved are safe to consume and have


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1                    undergone thorough testing, without transparently disclosing Defendant’s testing
2                    standards and ultimate results.
3     “Unfair” Prong
4
             146.    A business act or practice is “unfair” under the UCL if it offends an
5
      established public policy or is immoral, unethical, oppressive, unscrupulous or
6
      substantially injurious to consumers, and that unfairness is determined by weighing the reasons,
7
      justifications and motives of the practice against the gravity of the harm to the alleged victims.
8
             147.    Defendants’ business practices are unfair under the UCL because
9
      Defendants have acted in a manner that is immoral, unethical, oppressive, unscrupulous and/or
10
      substantially injurious to Plaintiffs and the Class Members. These business practices include
11
      failing to inform its customers about the true nature of their baby foods, and engaging in a pattern
12
      or practice of concealing those facts and urging their customers to purchase more of their baby
13
      foods based on the false belief that the foods remain safe to consume for babies, thereby depriving
14

15
      consumers of sufficient information to make an informed decision when purchasing baby food.

16    Further, the impact of the practice against Plaintiffs and the Class Members far outweighs any

17    possible justification or motive on the part of Defendants. The impact on Plaintiffs and the Class

18    Members has been described. Defendants can have no possible justification for engaging in

19    immoral, unethical and substantially injurious act of overcharging Plaintiffs and the Class
20    Members through a misleading and deceptive conduct – selling baby foods that, in many
21    instances, puts children at risk for severe developmental and health problems. Furthermore,
22    Plaintiffs and the Class Members could not have reasonably avoided this injury because they
23
      relied on Defendants’ advertising as to the quality and characteristics of the products being sold,
24
      as all consumers who rely on the verity of product advertising must do. Defendants’ false
25
      advertising is also violative of public policy, as expressed in the CLRA.
26
             148.    Specifically, Plaintiffs’ parents and guardians paid hefty prices overtime for
27
      Defendant’s baby food products, believing that they were the most healthy options for growing
28
      children. Defendants have refused to admit that their products are indeed dangerous, and they

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1     continue to market and sell their products in California. Defendants have engaged in this conduct
2
      at the expense of their customers’ rights as they could have easily informed their customers about
3
      the actual contents of their products, but did not do so.
4
             149.    The harm to Plaintiffs and Class members outweighs the utility of
5
      Defendants’ practices. There were reasonably available alternatives to further Defendants’
6
      legitimate business interests other than the misleading and deceptive conduct described herein.
7
      “Fraudulent” Prong
8
             150.    A business act or practice is “fraudulent” under the UCL if it is likely to
9
      deceive members of the consuming public.
10
             151.    Defendants’ acts and practices alleged above constitute fraudulent business
11
      acts or practices as they have deceived Plaintiffs into purchasing and consuming certain baby
12

13
      foods which contain high levels of high toxic metals, and are highly likely to deceive and have

14    deceived members of the consuming public.

15           152.    Defendants’ business practices, as alleged herein, also constitute fraudulent

16    conduct because Defendants did not deliver the products they advertised. Defendants’

17    representations and omissions in California were material because they were likely to deceive
18    reasonable consumers.
19           153.    Plaintiffs and Class Members did not know that the baby foods contained
20    toxic heavy metals. Accordingly, Defendants should not have omitted and/or misrepresented the
21
      facts surrounding the baby food’s true contents.
22
             154.    Defendants omitted and misrepresented material information pertaining to
23
      its baby foods’ true contents to defraud Plaintiffs by, among other things, convincing Plaintiffs
24
      and Class Members to purchase more of its products, and to otherwise ensure that Plaintiffs and
25
      Class Members would not discover Defendant’s underlying fraud regarding its omissions and
26
      misrepresentations regarding the baby food products. As a result, Defendant violated Cal. Penal
27
      Code § 502.
28
             155.      Defendants’ fraud led to consumers paying for products that they would

      ______________________________________________________________________________________
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1               not have paid for if they knew the truth about the fact that these products contained toxic
2
      heavy metals.
3
                156.     As a direct and proximate result of Defendants’ unfair, unlawful, and
4
      fraudulent acts and practices, Plaintiffs and Class Members were injured and lost money. They
5
      did not receive the benefit of the bargain in purchasing the baby foods, and they spent their own
6
      time and money dealing with purchasing safer baby food alternatives. Additionally, Plaintiffs
7
      were harmed or placed at risk of imminent harm by consuming foods containing toxic heavy
8
      metals and other undesirable toxins and contaminants.
9
                157.     Defendants acted intentionally, knowingly, and maliciously in violation of
10
                California’s Unfair Competition Law.
11
                158.   Plaintiffs and Class Members seek all monetary and non-monetary relief
12

13
      allowed by law, including restitution of all profits stemming from Defendants’ unfair, unlawful,

14    and fraudulent business practices, declaratory relief, reasonable attorneys’ fees and costs under

15    California Code of Civil Procedure § 1021.5, injunctive relief, and other appropriate equitable

16    relief.

17              159.   In prosecuting this action for the enforcement of important rights affecting
18    the public interest, Plaintiffs also seek, in addition to damages, restitution and other equitable
19    relief, to recover attorney fees under (i) section 1021.5 of the Code of Civil Procedure, and/or (ii)
20    the “common fund” doctrine available to prevailing Plaintiffs who confer a benefit on the general
21
      public.
22
                                       SEVENTH CAUSE OF ACTION
23
                           (Violation of California Civil Code section 1750, et seq.)
24
                160.   Plaintiffs reallege and incorporate here by reference each of the foregoing
25
      paragraphs, and further allege as follows.
26
                161.   Defendants are “persons” as defined by Civil Code section 1761(c).
27
                162.   Plaintiffs and each member of the Class are “consumers” within the meaning
28
      of Civil Code section 1761(d).
       ______________________________________________________________________________________
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                                              PLAINTIFFS’ COMPLAINT
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1            163.    The Consumers Legal Remedies Act applies to Defendants’ conduct
2
      because it extends to transactions that are intended to or result in the sale or lease of goods or
3
      services to consumers. In accordance with the liberal application and construction of the CLRA,
4
      application of the CLRA to all class members is appropriate, given that Defendants’ conduct as
5
      described herein originated from California, and consumers purchased or used the involved baby
6
      foods in California.
7
             164.    Defendants violated and continue to violate the CLRA by engaging in the
8
      following practices prescribed by Civil Code section 1770(a) in transactions with the members of
9
      the Class which were intended to result in, and did result in, the sale of products to Plaintiffs and
10
      the Class Members in violation of Civil Code section 1770, including: a) representing that goods
11
      or services have characteristics and uses that they do not have; b) representing that goods or
12

13
      services are of a particular standard, quality, or grade when they are not; c) advertising goods or

14    services with intent not to sell them as advertised; and d) representing that the subject of a

15    transaction has been supplied in accordance with a previous representation when it has not.

16           165.    Defendants’ representations and omissions were material because they were

17    likely to deceive reasonable consumers.
18           166.     Had Defendants disclosed to Plaintiffs and Class Members that its baby
19    foods contained toxic heavy metals, often times in amounts surpassing those recommended or
20    deemed safe by multiple regulatory bodies, Plaintiffs and the Class Members would have made
21
      different purchasing decisions.
22
             167.    Had Defendants disclosed the truth, they would have been unable to
23
      continue in the same course of business. As such, Defendants represented that its baby foods
24
      were healthy, nutritious and safe for consumption by babies, who have been shown to be
25
      extremely susceptible to the harsh effects of exposure to toxic heavy metals. Plaintiffs and the
26
      Class Members acted reasonably in relying on Defendants’ misrepresentations and omissions, the
27
      truth of which they could not have discovered.
28
             168.    As a direct and proximate result of Defendants’ violations of California

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1     Civil Code § 1770, Plaintiffs and Class Members have suffered and will continue to suffer injury,
2
      ascertainable losses of money or property, and monetary and non-monetary damages. Such
3
      monetary and non-monetary damages have arisen from not receiving the benefit of the bargain in
4
      purchasing Defendants’ baby foods, and increased time and expense in having to purchase safer
5
      alternatives and to determine whether Plaintiffs have been negatively affected by consuming
6
      Defendants’ baby foods.
7
             169.    Pursuant to Civil Code section 1782(d), the Class seeks a court order
8
      enjoining the above-described wrongful acts and practices of Defendants.
9
             170.    Pursuant to Civil Code section 1782, Plaintiffs notified Defendants in
10
      writing by certified mail of the particular violations of Civil Code section 1770 and the other
11
      violations as alleged herein and demanded that Defendants rectify the problems associated with
12

13
      the actions detailed above and give notice to all affected consumers of its intent to so act.

14                                    EIGHTH CAUSE OF ACTION

15                                   (Quasi-Contract/Unjust Enrichment)

16           171.    Plaintiffs reallege and incorporate here by reference each of the foregoing

17    paragraphs, and further allege as follows.
18           172.    Plaintiffs and Class Members were enticed to purchase Defendants’ Baby Foods,
19    which were not as Defendants represented them to be.
20            173.   Had Plaintiffs and the Class known of the fact that the Baby Foods contained toxic
21    heavy metals such as arsenic, lead, cadmium, and/or mercury, they would not have purchased
22    Defendants’ Baby Food, but would rather purchase baby foods manufactured by one of
23    Defendants’ competitors.
24           174.    Accordingly, Plaintiffs and Class Members were damaged, and Defendants were
25
      unjustly enriched, given that they defrauded Plaintiffs into purchasing said baby food products by
26
      not disclosing the fact that these products contained heavily toxic material.
27

28



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1            175.    Furthermore, Defendants’ conduct was willful, intentionally deceptive, and
2
      intended to cause economic injury to Plaintiffs and the Class. Defendants are therefore liable to
3
      pay punitive damages.
4
             176.    Plaintiffs and Class Members are entitled to damages in the amount Defendant
5
      was unjustly enriched, to be determined at trial.
6
                                          PRAYER FOR RELIEF
7
             177.    Plaintiffs STACIA CULLORS, an individual, LAYLA CULLORS, NOELANI
8
      CULLORS and VIVIENNE CULLORS, through their guardian ad litem STACIA CULLORS,
9
      ANTHONY BACANI, an individual, DAHLIA BACANI and ELIAS BACANI, through their
10
      guardian ad litem ANTHONY BACANI, JENNIFER CULLORS, an individual, as well as AVA
11
      CULLORS and JOSHUA CULLORS, through their guardian ad litem JENNIFER CULLORS,
12

13
      and on behalf of all others similarly situated pray for relief and judgment against Defendants as

14    follows:

15                   (a)      An order certifying the Class and designating STACIA CULLORS, an

16           individual, LAYLA CULLORS, NOELANI CULLORS and VIVIENNE CULLORS,

17           through their guardian ad litem STACIA CULLORS, ANTHONY BACANI, an
18           individual, DAHLIA BACANI and ELIAS BACANI, through their guardian ad litem
19           ANTHONY BACANI, JENNIFER CULLORS, an individual, as well as AVA
20           CULLORS and JOSHUA CULLORS, through their guardian ad litem JENNIFER
21
             CULLORS as Class Representatives and their counsel as Class Counsel;
22
                     (b)      Awarding Plaintiffs and the proposed Class members actual or
23
             compensatory damages according to proof;
24
                     (c)      Awarding restitution and disgorgement of all profits and unjust enrichment
25
             that Defendants obtained from Plaintiffs and the Class members as a result of their
26
             unlawful, unfair and fraudulent business practices described herein;
27
                     (d)      Awarding declaratory and injunctive relief as permitting by law or
28



      ______________________________________________________________________________________
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1           equity to individual Plaintiffs, including enjoining Defendants from continuing the
2
            unlawful practices set forth herein, and directing Defendants to identify, with Court
3
            supervision, victims of their misconduct and pay them all money they are required to pay;
4
                   (e)     Exemplary and punitive damages sufficient to punish and deter the
5
            Defendants and others from future wrongful practices;
6
                   (f)     Pre-judgment and post-judgment interest;
7
                   (g)     Awarding attorneys’ fees and costs; and
8
                   (h)     Providing such further relief as may be just and proper.
9

10
                                     DEMAND FOR JURY TRIAL
11
            Plaintiffs demand trial by jury of all issues raised in this Complaint.
12

13

14
      DATED: February 25, 2022                     BEVERLY HILLS TRIAL ATTORNEYS, P.C.
15

16
                                                   /s/ Azar Mouzari
17                                                 Azar Mouzari, Esq.
                                                   Nilofar Nouri, Esq.
18                                                 Attorneys for Plaintiff
19

20

21

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      ______________________________________________________________________________________
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           EXHIBIT “A”




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        Baby Foods Are Tainted with Dangerous Levels of
            Arsenic, Lead, Cadmium, and Mercury




                                 Staff Report

            Subcommittee on Economic and Consumer Policy
                 Committee on Oversight and Reform
                   U.S. House of Representatives

                              February 4, 2021

                             oversight.house.gov




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                                    EXECUTIVE SUMMARY

          Inorganic arsenic, lead, cadmium, and mercury are toxic heavy metals. The Food and
  Drug Administration and the World Health Organization have declared them dangerous to
  human health, particularly to babies and children, who are most vulnerable to their neurotoxic
  effects. Even low levels of exposure can cause serious and often irreversible damage to brain
  development.

          On November 6, 2019, following reports alleging high levels of toxic heavy metals in
  baby foods, the Subcommittee on Economic and Consumer Policy requested internal documents
  and test results from seven of the largest manufacturers of baby food in the United States,
  including both makers of organic and conventional products:

         •       Nurture, Inc. (Nurture), which sells Happy Family Organics, including baby food
                 products under the brand name HappyBABY
         •       Beech-Nut Nutrition Company (Beech-Nut)
         •       Hain Celestial Group, Inc. (Hain), which sells baby food products under the brand
                 name Earth’s Best Organic
         •       Gerber
         •       Campbell Soup Company (Campbell), which sells baby food products under the
                 brand name Plum Organics
         •       Walmart Inc. (Walmart), which sells baby food products through its private brand
                 Parent’s Choice
         •       Sprout Foods, Inc. (Sprout Organic Foods)

         Four of the companies—Nurture, Beech-Nut, Hain, and Gerber—responded to the
  Subcommittee’s requests. They produced their internal testing policies, test results for
  ingredients and/or finished products, and documentation about what the companies did with
  ingredients and/or finished products that exceeded their internal testing limits.

         Walmart, Campbell, and Sprout Organic Foods refused to cooperate with the
  Subcommittee’s investigation. The Subcommittee is greatly concerned that their lack of
  cooperation might be obscuring the presence of even higher levels of toxic heavy metals in their
  baby food products than their competitors’ products.

                                            FINDINGS

  1.     According to internal company documents and test results obtained by the Subcommittee,
         commercial baby foods are tainted with significant levels of toxic heavy metals,
         including arsenic, lead, cadmium, and mercury. Exposure to toxic heavy metals causes
         permanent decreases in IQ, diminished future economic productivity, and increased risk
         of future criminal and antisocial behavior in children. Toxic heavy metals endanger
         infant neurological development and long-term brain function. Specifically, the
         Subcommittee reports that:




                                                  2

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       ARSENIC was present in baby foods made by all responding companies.

             •      Nurture (HappyBABY) sold baby foods after tests showed they contained
                    as much as 180 parts per billion (ppb) inorganic arsenic. Over 25% of the
                    products Nurture tested before sale contained over 100 ppb inorganic
                    arsenic. Nurture’s testing shows that the typical baby food product it sold
                    contained 60 ppb inorganic arsenic.

             •      Hain (Earth’s Best Organic) sold finished baby food products containing
                    as much as 129 ppb inorganic arsenic. Hain typically only tested its
                    ingredients, not finished products. Documents show that Hain used
                    ingredients testing as high as 309 ppb arsenic.

             •      Beech-Nut used ingredients after they tested as high as 913.4 ppb arsenic.
                    Beech-Nut routinely used high-arsenic additives that tested over 300 ppb
                    arsenic to address product characteristics such as “crumb softness.”

             •      Gerber used high-arsenic ingredients, using 67 batches of rice flour that
                    had tested over 90 ppb inorganic arsenic.

       LEAD was present in baby foods made by all responding companies.

             •      Nurture (HappyBABY) sold finished baby food products that tested as
                    high as 641 ppb lead. Almost 20% of the finished baby food products that
                    Nurture tested contained over 10 ppb lead.

             •      Beech-Nut used ingredients containing as much as 886.9 ppb lead. It used
                    many ingredients with high lead content, including 483 that contained
                    over 5 ppb lead, 89 that contained over 15 ppb lead, and 57 that contained
                    over 20 ppb lead.

             •      Hain (Earth’s Best Organic) used ingredients containing as much as 352
                    ppb lead. Hain used many ingredients with high lead content, including
                    88 that tested over 20 ppb lead and six that tested over 200 ppb lead.

             •      Gerber used ingredients that tested as high as 48 ppb lead; and used many
                    ingredients containing over 20 ppb lead.

       CADMIUM was present in baby foods made by all responding companies.

             •      Beech-Nut used 105 ingredients that tested over 20 ppb cadmium. Some
                    tested much higher, up to 344.55 ppb cadmium.

             •      Hain (Earth’s Best Organic) used 102 ingredients in its baby food that
                    tested over 20 ppb cadmium. Some tested much higher, up to 260 ppb
                    cadmium.



                                              3

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              •       Sixty-five percent of Nurture (HappyBABY) finished baby food products
                      contained more than 5 ppb cadmium.

              •       Seventy-five percent of Gerber’s carrots contained cadmium in excess of 5
                      ppb, with some containing up to 87 ppb cadmium.

       MERCURY was detected in baby food of the only responding company that tested for it.

              •       Nurture (HappyBABY) sold finished baby food products containing as
                      much as 10 ppb mercury.

              •       Beech-Nut and Hain (Earth’s Best Organic) do not even test for mercury
                      in baby food.

              •       Gerber rarely tests for mercury in its baby foods.

       These results are multiples higher than allowed under existing regulations for other
       products. For example, the Food and Drug Administration has set the maximum
       allowable levels in bottled water at 10 ppb inorganic arsenic, 5 ppb lead, and 5 ppb
       cadmium, and the Environmental Protection Agency has capped the allowable level of
       mercury in drinking water at 2 ppb. The test results of baby foods and their ingredients
       eclipse those levels: including results up to 91 times the arsenic level, up to 177 times the
       lead level, up to 69 times the cadmium level, and up to 5 times the mercury level.

  2.   Internal company standards permit dangerously high levels of toxic heavy metals, and
       documents revealed that the manufacturers have often sold foods that exceeded those
       levels.

              •       Nurture (HappyBABY) sold all products tested, regardless of how much
                      toxic heavy metal the baby food contained. By company policy, Nurture’s
                      toxic heavy metal testing is not intended for consumer safety. The Food
                      and Drug Administration (FDA) has only finalized one standard—100 ppb
                      inorganic arsenic in infant rice cereal—and Nurture set its internal
                      standard for that product 15% higher than the FDA limit, at 115 ppb.

              •       Beech-Nut set internal arsenic and cadmium standards at 3,000 ppb in
                      additives, such as vitamin mix, and 5,000 ppb lead for certain ingredients
                      like BAN 800. These standards are the highest of any responding
                      manufacturer.

              •       Hain (Earth’s Best Organic) set an internal standard of 200 ppb for
                      arsenic, lead, and cadmium in some of its ingredients. But Hain exceeded
                      its internal policies, using ingredients containing 353 ppb lead and 309
                      ppb arsenic. Hain justified deviations above its ingredient testing




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                     standards based on “theoretical calculations,” even after Hain admitted to
                     FDA that its testing underestimated final product toxic heavy metal levels.

  3.   The Subcommittee has grave concerns about baby food products manufactured by
       Walmart (Parent’s Choice), Sprout Organic Foods, and Campbell (Plum Organics).
       These companies refused to cooperate with the Subcommittee’s investigation. The
       Subcommittee is greatly concerned that their lack of cooperation might obscure the
       presence of even higher levels of toxic heavy metals in their baby food products,
       compared to their competitors’ products.

              •      Walmart sells Parent’s Choice and Parent’s Choice Organic products for
                     babies as young as four months.

              •      Sprout Organic Foods sells organic products for babies as young as six
                     months. It is owned by North Castle Partners, a Greenwich, Connecticut–
                     based private equity firm.

              •      Campbell sells Plum Organics products for babies as young as four
                     months.

              •      Independent testing of Walmart, Sprout Organic Foods, and Campbell
                     products has confirmed that their baby foods contain concerning levels of
                     toxic heavy metals.

  4.   The Trump administration ignored a secret industry presentation to federal regulators
       revealing increased risks of toxic heavy metals in baby foods. On August 1, 2019, FDA
       received a secret slide presentation from Hain (Earth’s Best Organic), which revealed
       that:

              •      Corporate policies to test only ingredients, not final products,
                     underrepresent the levels of toxic heavy metals in baby foods. In 100% of
                     the Hain baby foods tested, inorganic arsenic levels were higher in the
                     finished baby food than the company estimated they would be based on
                     individual ingredient testing. Inorganic arsenic was between 28% and
                     93% higher in the finished products;

              •      Many of Hain’s baby foods were tainted with high levels of inorganic
                     arsenic—half of its brown rice baby foods contained over 100 ppb
                     inorganic arsenic; its average brown rice baby food contained 97.62 ppb
                     inorganic arsenic; and

              •      Naturally occurring toxic heavy metals may not be the only problem
                     causing the unsafe levels of toxic heavy metals in baby foods; rather, baby
                     food producers like Hain may be adding ingredients that have high levels
                     of toxic heavy metals into their products, such as vitamin/mineral pre-mix.




                                              5

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       This presentation made clear that ingredient testing is inadequate, and that only final
       product testing can measure the true danger posed by baby foods.

       The Trump FDA took no new action in response. To this day, baby foods containing
       toxic heavy metals bear no label or warning to parents. Manufacturers are free to test
       only ingredients, or, for the vast majority of baby foods, to conduct no testing at all.
       FDA has only finalized one metal standard for one narrow category of baby food, setting
       a 100 ppb inorganic arsenic standard for infant rice cereal. But this FDA standard is far
       too high to protect against the neurological effects on children.

  5.   The Subcommittee makes the following recommendations:

              •       Mandatory testing—Baby food manufacturers should be required by
                      FDA to test their finished products for toxic heavy metals, not just their
                      ingredients;

              •       Labeling—Manufacturers should by required by FDA to report levels of
                      toxic heavy metals on food labels;

              •       Voluntary phase-out of toxic ingredients—Manufacturers should
                      voluntarily find substitutes for ingredients that are high in toxic heavy
                      metals, or phase out products that have high amounts of ingredients that
                      frequently test high in toxic heavy metals, such as rice;

              •       FDA standards—FDA should set maximum levels of toxic heavy metals
                      permitted in baby foods. One level for each metal should apply across all
                      baby foods. And the level should be set to protect babies against the
                      neurological effects of toxic heavy metals; and

              •       Parental vigilance—Parents should avoid baby foods that contain
                      ingredients testing high in toxic heavy metals, such as rice products.
                      Instituting recommendations one through four will give parents the
                      information they need to make informed decisions to protect their babies.

  6.   Baby food manufacturers hold a special position of public trust. Consumers believe that
       they would not sell products that are unsafe. Consumers also believe that the federal
       government would not knowingly permit the sale of unsafe baby food. As this staff
       report reveals, baby food manufacturers and the Trump administration’s federal
       regulators have broken the faith.




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  I.      THE DANGER OF TOXIC HEAVY METALS TO CHILDREN’S HEALTH

          Children’s exposure to toxic heavy metals causes permanent decreases in IQ, diminished
  future economic productivity, and increased risk of future criminal and antisocial behavior. 1

          Babies’ developing brains are “exceptionally sensitive to injury caused by toxic
  chemicals, and several developmental processes have been shown to be highly vulnerable to
  chemical toxicity.” 2 The fact that babies are small, have other developing organ systems, and
  absorb more of the heavy metals than adults, exacerbates their risk from exposure to heavy
  metals. 3

          Exposure to heavy metals at this developmental stage can lead to “untreatable and
  frequently permanent” brain damage, which may result in “reduced intelligence, as expressed in
  terms of lost IQ points, or disruption in behavior.” 4 For example, a recent study estimates that
  exposure to environmental chemicals, including lead, are associated with 40,131,518 total IQ
  points loss in 25.5 million children (or roughly 1.57 lost IQ points per child)—more than the
  total IQ losses associated with preterm birth (34,031,025), brain tumors (37,288), and traumatic
  brain injury (5,827,300) combined. 5 For every one IQ point lost, it is estimated that a child’s
  lifetime earning capacity will be decreased by $18,000. 6

          Well-known vectors of child exposure to toxic heavy metals include lead paint in old
  housing and water pollution from landfills. Over the decades, a range of federal and state laws
  and regulations have been passed to protect child health through emissions standards, among
  other things.

          The Food and Drug Administration (FDA) has declared that inorganic arsenic, lead,
  cadmium, and mercury are dangerous, particularly to infants and children. They have “no
  established health benefit” and “lead to illness, impairment, and in high doses, death.”
  According to FDA, “even low levels of harmful metals from individual food sources, can



           1
             Miguel Rodríguez-Barranco et al., Association of Arsenic, Cadmium and Manganese Exposure with
  Neurodevelopment and Behavioural Disorders in Children: A Systematic Review and Meta-Analysis (Apr. 9, 2013)
  (online at www.sciencedirect.com/science/article/abs/pii/S0048969713003409?via%3Dihub).
          2
            Philippe Grandjean and Philip J. Landrigan, Neurobehavioural Effects of Developmental Toxicity (Mar.
  13, 2014) (online at www.ncbi.nlm.nih.gov/pmc/articles/PMC4418502/).
          3
          Consumer Reports, Heavy Metals in Baby Food: What You Need to Know (Aug. 16, 2018) (online at
  www.consumerreports.org/food-safety/heavy-metals-in-baby-food/).
          4
            Philippe Grandjean and Philip J. Landrigan, Neurobehavioural Effects of Developmental Toxicity (Mar.
  13, 2014) (online at www.ncbi.nlm.nih.gov/pmc/articles/PMC4418502/).
          5
            David C. Bellinger, A Strategy for Comparing the Contributions of Environmental Chemicals and Other
  Risk Factors to Neurodevelopment of Children (Dec. 19, 2011) (online at
  www.ncbi.nlm.nih.gov/pmc/articles/PMC3339460/).
           6
             Martine Bellanger et al., Economic Benefits of Methylmercury Exposure Control in Europe: Monetary
  Value of Neurotoxicity Prevention (Jan. 17, 2013) (online at https://pubmed.ncbi.nlm.nih.gov/23289875/).




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  sometimes add up to a level of concern.” FDA cautions that infants and children are at the
  greatest risk of harm from toxic heavy metal exposure. 7

         The Subcommittee on Economic and Consumer Policy’s investigation has found another
  source of exposure: baby foods. According to documents obtained from baby food
  manufacturers, toxic heavy metals, such as arsenic, cadmium, lead, and mercury are present at
  substantial levels in both organic and conventional baby foods. Currently, there is no federal
  standard on, or warning to parents and caregivers about, these toxins.

          A.         Inorganic Arsenic

          Arsenic is ranked number one among substances present in the environment that pose the
  most significant potential threat to human health, according to the Department of Health and
  Human Services’ Agency for Toxic Substances and Disease Registry (ATSDR). 8 The known
  health risks of arsenic exposure include “respiratory, gastrointestinal, haematological, hepatic,
  renal, skin, neurological and immunological effects, as well as damaging effects on the
  central nervous system and cognitive development in children.” 9

         Studies have concluded that arsenic exposure has a “significant negative effect on
  neurodevelopment in children.” 10 This negative effect is most pronounced in Full Scale IQ, and
  more specifically, in verbal and performance domains as well as memory. For every 50%
  increase in arsenic levels, there is an approximately “0.4 decrease in the IQ of children.” 11

         A study of Maine schoolchildren exposed to arsenic in drinking water found that children
  exposed to water with an arsenic concentration level greater than 5 parts per billion (ppb)
  “showed significant reductions in Full Scale IQ, Working Memory, Perceptual Reasoning and
  Verbal Comprehension scores.” The authors pegged 5 ppb as an important threshold. 12

          Likewise, a study of children in Spain found that increasing arsenic exposure led to a
  decrease in the children’s global motor, gross motor, and fine motor function scores. Boys in
  particular were more susceptible to arsenic’s neurotoxicity. 13

          7
             Food and Drug Administration, Metals and Your Food (online at www.fda.gov/food/chemicals-metals-
  pesticides-food/metals-and-your-food) (accessed Jan. 26, 2021).
          8
          Agency for Toxic Substances and Disease Registry, ATSDR’s Substance Priority List (2019) (online at
  www.atsdr.cdc.gov/spl/index.html#2019spl).
           9
             Miguel Rodríguez-Barranco et al., Association of Arsenic, Cadmium and Manganese Exposure with
  Neurodevelopment and Behavioural Disorders in Children: A Systematic Review and Meta-Analysis (June 1, 2013)
  (online at https://pubmed.ncbi.nlm.nih.gov/23570911/) (emphasis added).
          10
               Id.
          11
               Id.
          12
             Gail A. Wasserman et al., A Cross-Sectional Study of Well Water Arsenic and Child IQ in Maine
  Schoolchildren (Apr. 1, 2014) (online at https://ehjournal.biomedcentral.com/articles/10.1186/1476-069X-13-23).
          13
             Antonio J. Signes-Pastor et al., Inorganic Arsenic Exposure and Neuropsychological Development of
  Children of 4-5 Years of Age Living in Spain (Apr. 29, 2019) (online at
  www.ncbi.nlm.nih.gov/pmc/articles/PMC6541502/).




                                                         10

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          B.       Lead

         Lead is number two on ATSDR’s list of substances present in the environment that pose
  the most significant potential threat to human health. 14 Even small doses of lead exposure are
  hazardous, particularly to children. 15 Lead is associated with a range of bad health outcomes,
  including behavioral problems, decreased cognitive performance, delayed puberty, and reduced
  postnatal growth. According to FDA, lead is especially dangerous to “infants” and “young
  children.” FDA acknowledges that:

          High levels of lead exposure can seriously harm children’s health and
          development, specifically the brain and nervous system. Neurological effects
          from high levels of lead exposure during early childhood include learning
          disabilities, behavior difficulties, and lowered IQ. Because lead can accumulate
          in the body, even low-level chronic exposure can be hazardous over time. 16

          Lead exposure severely affects academic achievement in children. Even at low levels,
  early childhood lead exposure has a negative impact on school performance. Two separate
  studies of schoolchildren in Detroit and Chicago public schools found a strong inverse
  relationship between lead exposure and test scores. In the Detroit study, there was a “significant
  association” between early childhood lead exposure and decreased standardized test
  performance, with lead exposure strongly linked to an adverse effect on academic achievement. 17
  The Chicago study found that higher blood lead concentrations were associated with lower
  reading and math scores in 3rd grade children. Increased blood lead concentrations correlated
  with a 32% increase in the risk of failing reading and math. 18

           The cognitive effects of early childhood lead exposure appear to be permanent. In one
  study, adults who previously had lead-associated developmental delays continued to show
  persisting cognitive deficits, demonstrating the long-lasting damage of lead exposure. 19




         14
            Agency for Toxic Substances and Disease Registry, ATSDR’s Substance Priority List (2019) (online at
  www.atsdr.cdc.gov/spl/index.html#2019spl).
          15
             Philippe Grandjean, Even Low-Dose Lead Exposure Is Hazardous (Sept. 11, 2010) (online at
  https://pubmed.ncbi.nlm.nih.gov/20833288/).
          16
           Food and Drug Administration, Lead in Food, Foodwares, and Dietary Supplements (online at
  www.fda.gov/food/metals-and-your-food/lead-food-foodwares-and-dietary-supplements) (accessed Jan. 26, 2021).
          17
             Nanhua Zhang et al., Early Childhood Lead Exposure and Academic Achievement: Evidence From
  Detroit Public Schools (Mar. 2013) (online at
  http://mediad.publicbroadcasting.net/p/michigan/files/201302/AJPH.2012.pdf).
            18
               Anne Evens et al., The Impact of Low-Level Lead Toxicity on School Performance Among Children in
  the Chicago Public Schools: A Population-Based Retrospective Cohort Study (Apr. 7, 2015) (online at
  https://ehjournal.biomedcentral.com/articles/10.1186/s12940-015-0008-9).
          19
             Maitreyi Mazumdar et al., Low-Level Environmental Lead Exposure in Childhood and Adult Intellectual
  Function: A Follow-Up Study (Mar. 30, 2011) (online at www.ncbi.nlm.nih.gov/pmc/articles/PMC3072933/).




                                                        11

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         Studies have also established a significant association between lead exposure and
  Attention-Deficit/Hyperactivity Disorder (ADHD). 20

           C.       Cadmium

          Cadmium is number seven on ATSDR’s list of substances present in the environment that
  pose the most significant potential threat to human health. 21 Cadmium is associated with
  decreases in IQ, as well as the development of ADHD.
          A 2018 study found that cadmium exposure negatively affected children’s Full Scale IQ,
  particularly among boys. Boys exhibiting higher amounts of cadmium exposure had seven fewer
  IQ points than those exhibiting less cadmium exposure. 22 A 2015 study similarly found a
  significant inverse relationship between early cadmium exposure and IQ. 23

          A 2018 study linked cadmium exposure to ADHD, finding that the disorder was more
  common among children with the highest levels of cadmium exposure as compared to a control
  group. 24

           D.       Mercury

          Mercury is number three on ATSDR’s list of substances present in the environment that
  pose the most significant potential threat to human health. 25 Studies of mercury’s effect on
  childhood development have primarily been conducted by considering the mother’s exposure to
  mercury while pregnant. In these instances, “pre-natal mercury exposure has been consistently
  associated with adverse subsequent neuro-development.” 26 And pre-natal mercury exposure is
  also related to poorer estimated IQ. 27 Beyond prenatal exposure, higher blood mercury levels at



           20
            Gabriele Donzelli et al., The Association Between Lead and Attention-Deficit/Hyperactivity Disorder:
  A Systematic Review (Jan. 29, 2019) (online at www.mdpi.com/1660-4601/16/3/382/htm).
           21
            Agency for Toxic Substances and Disease Registry, ATSDR’s Substance Priority List (2019) (online at
  www.atsdr.cdc.gov/spl/index.html#2019spl).
          22
             Klara Gustin et al., Cadmium Exposure and Cognitive Abilities and Behavior at 10 Years Off Age: A
  Prospective Cohort Study (Apr. 2018) (online at www.sciencedirect.com/science/article/pii/S0160412017321025).
           23
            Alison P. Sanders et al., Perinatal and Childhood Exposure To Cadmium, Manganese, And Metal
  Mixtures And Effects On Cognition And Behavior: A Review Of Recent Literature (July 5, 2015) (online at
  www.ncbi.nlm.nih.gov/pmc/articles/PMC4531257/).
           24
             Min-Jing Lee et al., Heavy Metals’ Effect on Susceptibility to Attention-Deficit/Hyperactivity Disorder:
  Implication of Lead, Cadmium, and Antimony (June 10, 2018) (online at
  www.ncbi.nlm.nih.gov/pmc/articles/PMC6025252/).
           25
            Agency for Toxic Substances and Disease Registry, ATSDR’s Substance Priority List (2019) (online at
  www.atsdr.cdc.gov/spl/index.html#2019spl).
           26
            Margaret R. Karagas et al., Evidence on the Human Health Effects of Low-Level Methylmercury
  Exposure (June 1, 2012) (online at https://ehp.niehs.nih.gov/doi/10.1289/ehp.1104494).
          27
             Joseph Jacobson et al., Relation of Prenatal Methylmercury Exposure from Environmental Sources to
  Childhood IQ (Aug. 1, 2015) (online at https://ehp.niehs.nih.gov/doi/10.1289/ehp.1408554).




                                                           12

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  “2 and 3 years of age were positively associated with autistic behaviors among preschool-age
  children.” 28

  II.     TOP BABY FOODS ARE TAINTED WITH DANGEROUS LEVELS OF INORGANIC
          ARSENIC, LEAD, CADMIUM, AND MERCURY.

         Internal company test results obtained by the Subcommittee confirm that all responding
  baby food manufacturers sold baby foods tainted by high levels of toxic heavy metals.


          A.       Inorganic Arsenic

          There is no established safe level of inorganic arsenic consumption for babies.
  Organizations such as Healthy Babies Bright Futures have called for a goal of no measurable
  amount of inorganic arsenic in baby food. 29 Consumer Reports suggests setting inorganic
  arsenic levels as low as 3 parts per billion (ppb). 30 FDA has already set maximum inorganic
  arsenic levels at 10 ppb for bottled water. 31 The Environmental Protection Agency (EPA) has
  similarly set a 10 ppb inorganic arsenic cap on drinking water, as have the European Union (EU)
  and the World Health Organization (WHO). 32

          1.       Nurture (HappyBABY) sold finished baby foods after testing showed they
                   contained as much as 180 ppb inorganic arsenic; over 25% of the tested baby
                   food sold by Nurture exceeded 100 ppb inorganic arsenic; on average,
                   Nurture baby food on store shelves has nearly 60 ppb inorganic arsenic.

         Nurture is the only baby food manufacturer that appears to regularly tests its finished
  baby food products for inorganic arsenic content (the others only test ingredients).


           28
              Jia Ryu et al., Associations of Prenatal and Early Childhood Mercury Exposure with Autistic Behaviors
  at 5 Years of Age: The Mothers and Children's Environmental Health (MOCEH) Study (Dec. 15, 2017) (online at
  www.sciencedirect.com/science/article/pii/S0048969717316479).
          29
              Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
  of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
  (online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
  10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).
          30
              Consumer Reports, Arsenic in Some Bottled Water Brands at Unsafe Levels, Consumer Reports Says
  (June 28, 2019) (online at www.consumerreports.org/water-quality/arsenic-in-some-bottled-water-brands-at-unsafe-
  levels/); Consumer Reports, Arsenic and Lead Are in Your Fruit Juice: What You Need to Know (Jan. 30, 2019)
  (online at www.consumerreports.org/food-safety/arsenic-and-lead-are-in-your-fruit-juice-what-you-need-to-know/).
          31
           Food and Drug Administration, Arsenic in Food and Dietary Supplements (online at
  www.fda.gov/food/metals-and-your-food/arsenic-food-and-dietary-supplements) (accessed Jan. 26, 2021).
          32
              Environmental Protection Agency, Drinking Water Requirements for States and Public Water Systems
  (online at www.epa.gov/dwreginfo/chemical-contaminant-rules) (accessed Jan. 26, 2021); The European Food
  Information Council, Arsenic (Q&A) (online at www.eufic.org/en/food-safety/article/arsenic-qa) (accessed Jan. 26,
  2021); World Health Organization, Arsenic (Feb. 15, 2018) (online at www.who.int/news-room/fact-
  sheets/detail/arsenic).




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          According to internal company documents, Nurture sells products even after testing
  confirms that they are dangerously high in inorganic arsenic. Nurture sold one such product,
  Apple and Broccoli Puffs, despite tests results showing it contained 180 ppb inorganic arsenic. 33
  An arsenic level of 180 ppb is high by all standards, but it is 80% higher than Nurture’s own
  internal goal threshold of 100 ppb.

  Nurture’s Heavy Metal Test Results for Baby Food Products (Excerpted Entries) 34




          Nurture routinely sold products that exceeded its internal standards. Twenty-nine other
  products that Nurture tested and sold registered over 100 ppb inorganic arsenic. In total, over
  25% of the products that Nurture tested for inorganic arsenic, and sold, had inorganic arsenic
  levels above 100 ppb. 35

  Nurture’s Heavy Metal Test Results for Baby Food Products (Excerpted Entries) 36

   Product Name                        Goal                Result        Date of Test Report Disposition
                                       Threshold
   Apple & Broccoli Puffs              100                 180           11/01/17                   Sell
   Banana & Pumpkin Puffs              100                 160           10/31/17                   Sell
   Strawberry & Beet Puffs             100                 160           10/31/17                   Sell
   Kale & Spinach Puffs                100                 150           10/31/17                   Sell
   Kale & Spinach Puffs                100                 150           10/31/17                   Sell
   Purple Carrot & Blueberry           100                 150           11/17/17                   Sell
   Puffs
   Sweet Potato & Carrot Puffs         100                 150           10/31/17                   Sell
   Sweet Potato & Carrot Puffs         100                 150           10/31/17                   Sell
   Apple Rice Cakes                    100                 130           02/08/17                   Sell
   Apple Rice Cakes                    100                 130           02/08/17                   Sell
   Sweet Potato & Carrot Puffs         100                 122           09/13/18                   Sell
   Apple Rice Cakes                    100                 120           02/08/17                   Sell

           33
              Nurture, Heavy Metal Test Results for Baby Food Products (Dec. 18, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).
          34
               Id.
          35
               Id.
          36
               Id.




                                                         14

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   Blueberry Beet Rice Cakes     100              120         02/08/17               Sell
   Purple Carrot & Blueberry     100              120         10/31/17               Sell
   Puffs
   Apple & Broccoli Puffs        100              115         10/15/18               Sell
   Strawberry & Beet Puffs       100              114         03/21/19               Sell
   Purple Carrot & Blueberry     100              112         06/05/18               Sell
   Puffs
   Apple Rice Cakes              100              110         07/28/17               Sell
   Blueberry Beet Rice Cakes     100              110         02/08/17               Sell
   Blueberry Beet Rice Cakes     100              110         02/08/17               Sell
   Strawberry & Beet Puffs       100              108         12/10/18               Sell
   Strawberry & Beet Puffs       100              108         09/21/18               Sell
   Apple & Broccoli Puffs        100              107         05/30/19               Sell
   Strawberry & Beet Puffs       100              107         05/22/19               Sell
   Strawberry & Beet Puffs       100              105         09/21/18               Sell
   Strawberry & Beet Puffs       100              104         08/22/18               Sell
   Banana & Pumpkin Puffs        100              103         04/24/19               Sell
   Sweet Potato & Carrot Puffs   100              103         04/24/19               Sell
   Banana & Pumpkin Puffs        100              101         09/21/18               Sell

         The average amount of inorganic arsenic in the baby foods that Nurture tested and sold
  was 59.54 ppb. That towers over existing and recommended standards, including FDA’s and
  EPA’s water limits of 10 ppb.

         At least 89 of Nurture’s final products—over 78% of those products tested—tested at
  9 ppb inorganic arsenic or above.

         For results under 9.54 ppb, Nurture did not differentiate—it marked them all as “<9.54.”
  Because of this “less than” reporting format, there is no way to know if any of Nurture’s
  products were free of inorganic arsenic.

  Summary of Nurture’s Inorganic Arsenic Results

   180 ppb – Nurture’s product with the highest amount of inorganic arsenic: Apple &
   Broccoli Puffs.
   >100 ppb – Over 25% of the baby food products that were tested for inorganic arsenic
   had over 100 ppb inorganic arsenic.
   59.54 ppb – Average amount of inorganic arsenic in all baby food products tested for
   inorganic arsenic.
   >50 ppb – Over 50% of Nurture’s baby food products that were tested for inorganic
   arsenic contained over 50 ppb inorganic arsenic.

         2.     Hain (Earth’s Best Organic) produced finished baby foods that contained as
                much as 129 ppb inorganic arsenic; Hain used ingredients in its baby foods
                with as much at 309 ppb total arsenic.



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          Hain does not regularly test finished baby food products for inorganic arsenic content. It
  typically only tests ingredients. However, when Hain did test a small sample of finished product,
  it found 129 ppb inorganic arsenic. 37

  Hain Celestial, FDA Testing Result Investigation, August 1, 2019 (Excerpted Entries) 38




          The Subcommittee’s review of the ingredient test results reveals that Hain routinely used
  ingredients with high levels of arsenic. Hain used brown rice flour that had tested at 309 ppb
  arsenic. 39 Hain likewise used a vitamin pre-mix containing 223 ppb arsenic, and raisin and
  wheat flour containing 200 ppb arsenic. 40 The testing data shows that Hain used at least 24
  ingredients after testing found that they contained more than 100 ppb arsenic, its already-
  dangerously-high internal standard for most ingredients. 41

  Hain, Raw Material Pre-Shipment Test Data History (Excerpted Entries) 42

   Lab Results        Product Description                   Status                      Arsenic        Arsenic
   Date                                                                                 Spec Limit     Result
                                                                                        (ppb)          (ppb)
   Jun/19/2019        Org Brown Rice Flour                  Deviation Approved          100            309
   Nov/26/2019        Vitamin Pre-Mix                       Deviation Approved          100            223
   Jul/10/2018        Org Whole Raisins                     Accepted                    100            200
   Sep/29/2017        Org Soft White Wheat Flour            Accepted                    200            200
   Dec/14/2017        Org Spelt Flour                       Accepted                    100            190
   Jan/8/2018         Organic Barley Malt Extract           Accepted                    100            180
   Dec/5/2017         Org Yellow Split Pea Powder           Accepted                    100            160
   Jul/13/2017        Medium Grain Whole Rice               Accepted                    200            150
   Oct/3/2017         Org Brown Rice Flour                  Accepted                    100            140
   Sep/4/2019         Org Brown Rice Flour                  Deviation Approved          100            134
   Dec/5/2017         Org Butternut Squash Puree            Accepted                    100            130
   Oct/31/2017        Org Brown Rice Flour                  Accepted                    100            130
          37
              Hain, PowerPoint Presentation to FDA: FDA Testing Result Investigation (Aug. 1, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2.pdf).
          38
               Id.
            39
               Hain, Raw Material Pre-Shipment Test Data History (Dec. 11, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/3_0.pdf).
          40
               Id.
          41
               Id.
          42
               Id.




                                                          16

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   Oct/31/2017        Org Brown Rice Flour                 Accepted                   100         130
   Oct/31/2017        Org Brown Rice Flour                 Accepted                   100         129
   Oct/31/2017        Org Brown Rice Flour                 Accepted                   100         129
   Oct/31/2017        Org Brown Rice Flour                 Accepted                   100         129
   Oct/31/2017        Org Brown Rice Flour                 Accepted                   100         127
   Oct/31/2017        Org Brown Rice Flour                 Accepted                   100         126
   Dec/13/2017        Org Blueberry Puree                  Accepted                   100         120
   Dec/27/2017        Org Barley Flour                     Accepted                   100         120
   Oct/31/2017        Org Brown Rice Flour                 Accepted                   100         119
   Nov/29/2017        Org Blueberry Puree                  Accepted                   100         110
   Nov/3/2017         Org Cinnamon Powder                  Accepted                   100         110
   Jul/11/2019        Org Brown Rice Flour                 Accepted                   100         101

          3.         Beech-Nut used ingredients in its baby foods with as much at 913.4 ppb
                     arsenic; Beech-Nut routinely used ingredients that exceeded 300 ppb total
                     arsenic; Beech-Nut unnecessarily uses high-arsenic additives to address
                     issues like “crumb softness.”

          Beech-Nut only tested arsenic content in its ingredients, not its final product. The
  Subcommittee has determined that Beech-Nut used ingredients containing as much as 913.4 ppb
  arsenic. 43 Test results show that Beech-Nut used at least fourteen other ingredients containing
  over 300 ppb arsenic. 44 And it used at least 45 ingredients containing over 100 ppb arsenic.

  Beech-Nut, Raw Material Heavy Metal Testing (Excerpted Entries) 45

   Date                    Commodity                  Arsenic           Spec.               Acceptance
                                                      Result                                (Y/N)
                                                      (ppb)
   9/19/2018               Amylase                    913.40            N/A                 Y
   4/26/2018               Amylase                    741.10            N/A                 Y
   10/7/2017               BAN 800                    710.90            <3000               Y
   11/29/2017              Alpha Amylase              679.00            N/A                 Y
   10/12/2017              Amylase                    645.10            N/A                 Y
   8/20/2019               Sebamyl 100                583.60            N/A                 Y
   3/6/2018                Org. Rice Flour            570.00            ≤100(inorg)         Y
   6/7/2019                Enzyme                     499.30            N/A                 Y
   12/20/2017              BAN 800                    465.20            <3000               Y
   1/14/2019               Enzyme                     442.30            N/A                 Y
   10/23/2017              BAN 800                    401.40            <3000               Y

          43
              Beech-Nut, Raw Material Heavy Metal Testing (Dec. 6, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/4.xlsx).
          44
               Id.
          45
               Id.




                                                         17

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   2/19/2018             BAN 800                  382.00          <3000                Y
   6/12/2018             Ban 800                  353.80          <3000                Y
   5/21/2018             Org. Cumin               322.70          ≤1000                Y
   4/13/2018             Org. Rice                237.40          ≤100(inorg)          Y
   4/12/2018             Rice Flour               170.00          ≤100(inorg)          Y
   4/6/2018              Rice Flour               170.00          ≤100(inorg)          Y
   7/14/2017             Org. Cumin               168.50          ≤1000                y
   7/31/2018             rice flour               162.00          ≤100(inorg)          Y
   2/28/2018             Rice Flour               161.00          ≤100(inorg)          y
   3/30/2017             Cumin                    160.50          ≤1000                Y
   3/27/2018             Rice Flour               160.00          ≤100(inorg)          Y
   5/30/2018             Rice Flour               160.00          ≤100(inorg)          Y
   6/12/2018             Rice Flour               160.00          ≤100(inorg)          Y
   7/20/2018             Rice Flour               160.00          ≤100(inorg)          Y
   10/11/2016            Oregano                  158.10          <1000                Y
   1/15/2018             Rice Flour               150.00          ≤100(inorg)          Y
   1/15/2018             Rice Flour               150.00          ≤100(inorg)          Y
   2/15/2018             Rice Flour               150.00          ≤100(inorg)          Y
   5/31/2018             Rice Flour               150.00          ≤100(inorg)          Y
   2/22/2018             Rice Flour               140.00          ≤100(inorg)          Y
   1/6/2018              Rice Flour               140.00          ≤100(inorg)          Y
   4/6/2018              Rice Flour               140.00          ≤100(inorg)          Y
   9/4/2019              Org. rice                132.30          ≤200                 Y
   11/3/2017             Org.Cumin                130.20          ≤1000                Y
   2/15/2018             Rice Flour               130.00          ≤100(inorg)          Y
   2/5/2018              Rice Flour               130.00          ≤100(inorg)          Y
   2/8/2018              Rice Flour               130.00          ≤100(inorg)          Y
   1/5/2018              Rice Flour               122.30          ≤100(inorg)          Y
   1/5/2018              Rice Flour               120.80          ≤100(inorg)          Y
   2/8/2018              Rice Flour               120.00          ≤100(inorg)          Y
   1/18/2017             Org.Rice                 110.00          ≤200                 Y
   5/8/2018              Rice Flour               110.00          ≤100(inorg)          Y
   5/17/2017             Rice                     110.00          ≤200                 Y
   2/6/2017              Vitamin Mix              106.90          <3000                Y

          The six Beech-Nut ingredients with the highest arsenic levels—Amylase, BAN 800,
  Alpha Amylase, and Sebamyl 100—are all enzymes that Beech-Nut adds to its products. BAN
  800 is an enzyme that reportedly “[i]ncreases crumb softness” in baked goods. 46 Amylase is an


          46
            Novozymes, Meet Consumer Demands with Enzymes that Support Organic Labeling (May 2018) (online
  at www.novozymes.com/-/media/Project/Novozymes/Website/website/document-library/Advance-your-
  business/Baking/Baking-Product-Range-for-Organic-Production.pdf).




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  enzyme that is “used in bread-making as an additive to improve the conversion of complex
  sugars into simple sugars that yeast are then able to feed on and produce alcohol and CO2.” 47

          4.         Gerber used 67 batches of rice flour that had more than 90 ppb inorganic
                     arsenic.

          Gerber did not provide inorganic arsenic results for all of its ingredients. However, test
  results for conventional rice flour revealed that Gerber routinely used flour with over 90 ppb
  inorganic arsenic. 48 Gerber used five batches of rice flour that had 98 ppb inorganic arsenic, and
  67 batches that contained more than 90 ppb.

  Gerber Products Company Test Results (Excerpted Entries) 49

   Year          Ingredient                                             Total Arsenic        Inorganic
                                                                        (ppb)                Arsenic (ppb)
   2018          Flour Rice Long Grain Tote NGM InfG Kshr               105                  98
   2018          Flour Rice Long Grain Tote NGM InfG Kshr               105                  98
   2018          Flour Rice Long Grain Tote NGM InfG Kshr               105                  98
   2018          Flour Rice Long Grain Tote NGM InfG Kshr               105                  98
   2018          Flour Rice Long Grain Tote NGM InfG Kshr               105                  98
   2018          Flour Rice Long Grain Tote NGM InfG Kshr               107                  97
   2018          Flour Rice Long Grain Tote NGM InfG Kshr               107                  97
   2018          Flour Rice Long Grain Tote NGM InfG Kshr               107                  97
   2018          Flour Rice Long Grain Tote NGM InfG Kshr               107                  97
   2018          Flour Rice Long Grain Tote NGM InfG Kshr               107                  97
   2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
   2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
   2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
   2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
   2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
   2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
   2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
   2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
   2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
   2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96


          47
               ChefSteps, Amylase (online at www.chefsteps.com/ingredients/amylase) (accessed Jan. 26, 2021).
          48
              Gerber, Gerber Products Company Test Results (Dec. 9, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/5_0.pdf).
          49
               Id.




                                                          19

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  2019    Flour Rice Long Grain Tote NGM InfG Kshr   105      96
  2018    Flour Rice Long Grain Tote NGM InfG Kshr   123      95
  2018    Flour Rice Long Grain Tote NGM InfG Kshr   123      95
  2018    Flour Rice Long Grain Tote NGM InfG Kshr   95       95
  2018    Flour Rice Long Grain Tote NGM InfG Kshr   123      95
  2018    Flour Rice Long Grain Tote NGM InfG Kshr   123      95
  2018    Flour Rice Long Grain Tote NGM InfG Kshr   124      95
  2018    Flour Rice Long Grain Tote NGM InfG Kshr   124      95
  2018    Flour Rice Long Grain Tote NGM InfG Kshr   124      95
  2018    Flour Rice Long Grain Tote NGM InfG Kshr   124      95
  2017    Flour Rice Long Grain Tote NGM InfG Kshr   118      94
  2017    Flour Rice Long Grain Tote NGM InfG Kshr   118      94
  2017    Flour Rice Long Grain Tote NGM InfG Kshr   94       94
  2017    Flour Rice Long Grain Tote NGM InfG Kshr   118      94
  2017    Flour Rice Long Grain Tote NGM InfG Kshr   118      94
  2018    Flour Rice Long Grain Tote NGM InfG Kshr   111      94
  2018    Flour Rice Long Grain Tote NGM InfG Kshr   111      94
  2018    Flour Rice Long Grain Tote NGM InfG Kshr   111      94
  2018    Flour Rice Long Grain Tote NGM InfG Kshr   111      94
  2018    Flour Rice Long Grain Tote NGM InfG Kshr   111      94
  2018    Flour Rice Long Grain Tote NGM InfG Kshr   111      94
  2018    Flour Rice Long Grain Tote NGM InfG Kshr   111      94
  2018    Flour Rice Long Grain Tote NGM InfG Kshr   111      94
  2018    Flour Rice Long Grain Tote NGM InfG Kshr   111      94
  2018    Flour Rice Long Grain Tote NGM InfG Kshr   111      94
  2018    Flour Rice Long Grain Tote NGM InfG Kshr   111      94
  2018    Flour Rice Long Grain Tote NGM InfG Kshr   121      93
  2017    Flour Rice Long Grain Tote NGM InfG Kshr   123      92
  2017    Flour Rice Long Grain Tote NGM InfG Kshr   123      92
  2017    Flour Rice Long Grain Tote NGM InfG Kshr   123      92
  2017    Flour Rice Long Grain Tote NGM InfG Kshr   123      92
  2017    Flour Rice Long Grain Tote NGM InfG Kshr   108      92
  2017    Flour Rice Long Grain Tote NGM InfG Kshr   92       92
  2017    Flour Rice Long Grain Tote NGM InfG Kshr   108      92
  2017    Flour Rice Long Grain Tote NGM InfG Kshr   108      92
  2017    Flour Rice Long Grain Tote NGM InfG Kshr   108      92
  2018    Flour Rice Long Grain Tote NGM InfG Kshr   120      92



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   2018        Flour Rice Long Grain Tote NGM InfG Kshr                 120                   92
   2018        Flour Rice Long Grain Tote NGM InfG Kshr                 120                   92
   2018        Flour Rice Long Grain Tote NGM InfG Kshr                 120                   92
   2018        Flour Rice Long Grain Tote NGM InfG Kshr                 120                   92
   2018        Flour Rice Long Grain Tote NGM InfG Kshr                 120                   92
   2019        Flour Rice Long Grain Tote NGM InfG Kshr                 138                   91
   2019        Flour Rice Long Grain Tote NGM InfG Kshr                 138                   91
   2019        Flour Rice Long Grain Tote NGM InfG Kshr                 138                   91
   2019        Flour Rice Long Grain Tote NGM InfG Kshr                 138                   91
   2019        Flour Rice Long Grain Tote NGM InfG Kshr                 138                   91

          B.       Lead

         There is a growing consensus among health experts that lead levels in baby foods should
  not exceed 1 ppb. The American Academy for Pediatrics, the Environmental Defense Fund, and
  Consumer Reports have all, in some form, called for a 1 ppb level in food and drinks that babies
  and children consume. 50 Healthy Babies Bright Futures has called for a goal of no measurable
  amount of lead in baby food. 51

          There is no federal standard for lead in baby food. However, FDA has set a 5 ppb lead
  standard for bottled water, WHO has set 10 ppb lead as a provisional guideline for drinking
  water, and EPA has set an action level of 15 ppb for lead in drinking water. FDA has also set
  standards for lead in juice (50 ppb) and candy (100 ppb). The European Union has set the
  maximum lead level in infant formula to 20 ppb. 52




          50
              American Academy of Pediatrics, Prevention of Childhood Lead Toxicity (May 5, 2016) (online at
  https://pediatrics.aappublications.org/content/pediatrics/early/2016/06/16/peds.2016-1493.full.pdf); Environmental
  Defense Fund, Lead in Food: A Hidden Health Threat (June 15, 2017) (online at
  www.edf.org/sites/default/files/edf_lead_food_report_final.pdf); Consumer Reports, Consumer Reports Letter to
  FDA on Reducing Heavy Elements Like Arsenic, Lead, and Cadmium in Fruit Juices (Jan. 30, 2019) (online at
  https://advocacy.consumerreports.org/research/consumer-reports-letter-to-fda-on-reducing-heavy-elements-like-
  arsenic-lead-and-cadmium-in-fruit-juices/).
          51
              Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
  of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
  (online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
  10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).
          52
             World Health Organization, Lead in Drinking-Water (2011) (online at
  www.who.int/water_sanitation_health/dwq/chemicals/lead.pdf); Environmental Protection Agency, Drinking Water
  Requirements for States and Public Water Systems (online at www.epa.gov/dwreginfo/lead-and-copper-rule)
  (accessed Jan. 26, 2021); European Union, Setting Maximum Levels for Certain Contaminants in Foodstuffs (Dec.
  19, 2006) (online at https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=CELEX:02006R1881-20150521).




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  Proposed and Existing Lead Standards

   Group or Agency               Standard

   Environmental                 1 ppb, especially for baby food
   Defense Fund
   Consumer Reports              1 ppb in fruit juices
   American Academy of           1 ppb for water fountains in schools
   Pediatrics (AAP)
   FDA                           5 ppb for bottled water
   World Health                  10 ppb provisional guideline
   Organization
   EPA                           15 ppb for drinking water (action level)
   European Union (EU)           20 ppb for “infant formulae and follow-on formulae”

   FDA                           50 ppb for juice
                                 100 ppb for candy

          The Subcommittee’s investigation has found that baby food manufacturers are selling
  baby food with higher levels of lead than what is allowed by existing standards for water, juice,
  and candy. Internal testing data from Gerber, Nurture, Beech-Nut, and Hain demonstrate that all
  four companies sold products or used ingredients with significant amounts of lead. Only Nurture
  routinely tested its finished product for lead. Hain, Beech-Nut, and Gerber did not test their
  finished products, only their ingredients. All companies, whether they test their final products or
  merely their ingredients, sold baby foods even when they or their ingredients contained unsafe
  levels of lead.

          1.         Nurture (HappyBABY) sold finished baby food products after testing
                     confirmed they contained as much as 641 ppb lead, over six times its already-
                     dangerously-high internal standard.

          Nurture sold products that tested as high as 641 ppb lead—over six times higher than its
  internal limit of 100 ppb lead. 53 Nurture also sold five other products after they tested over 50
  ppb lead. 54




          53
              Nurture, Heavy Metal Test Results for Baby Food Products (Dec. 18, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).
          54
               Id.




                                                         22

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  Nurture’s Heavy Metal Test Results for Baby Food Products (Excerpted Entries) 55




           Of the 206 finished products that Nurture tested for lead, 16 products registered over
  20 ppb lead—exceeding the lenient EU standard. And 39 products, or 18.9%, tested over 10 ppb
  lead. 56 It is not clear that even one of Nurture’s baby food products registered at or below 1 ppb
  lead, which should be the upper limit for lead content according to the health experts at
  Consumer Reports, the Environmental Defense Fund, and the American Academy of Pediatrics.

          2.         Beech-Nut used ingredients containing as much as 886.9 ppb lead; Beech-Nut
                     routinely used ingredients with high lead content, including 483 ingredients
                     that contained over 5 ppb lead, 89 ingredients that contained over 15 ppb
                     lead, and 57 ingredients that contained over 20 ppb lead.

         Beech-Nut used ingredients in its baby foods that contained high lead levels. For
  instance, Beech-Nut used cinnamon that contained 886.9 ppb lead. 57

  Beech-Nut’s Raw Materials Heavy Metal Testing (Excerpted Entry) 58




         Beech-Nut tested and used 57 ingredients that contained over 20 ppb lead, the EU’s lax
  standard for lead in infant formula. Beech-Nut accepted 89 ingredients that tested at or over 15
  ppb lead, EPA’s action level for drinking water, and 483 ingredients that tested at or over 5 ppb
  lead, FDA’s standard for lead in bottled water. 59




          55
               Id.
          56
               Id.
          57
              Beech-Nut, Raw Material Heavy Metal Testing (Dec. 6, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/4.xlsx).
          58
               Id.
          59
               Id.




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  Beech-Nut’s Raw Materials Heavy Metal Testing (Excerpted Entries) 60

   Date              Commodity            Lead result (ppb)   Spec.      Acceptance (Y/N)

   10/19/2016        Cinnamon             886.9               ≤1000      Y

   5/21/2018         Org. Cumin           644.9               ≤1000      Y

   8/11/2017         Org. Coriander       603.5               <1000      Y

   10/11/2016        Oregano              570.4               <1000      Y

   7/14/2017         Org. Cumin           231.2               ≤1000      y

   5/31/2017         Cinnamon             203.9               ≤1000      Y

   3/30/2017         Cumin                177.7               ≤1000      Y

   11/3/2017         Org. Cumin           167.7               ≤1000      Y

   12/5/2017         Org. Cinnamon        126.2               ≤1000      Y

   11/29/2017        Alpha Amylase        114.5               <300       Y

   9/19/2018         Amylase              108.8               <300       Y

   7/11/2017         Org. Lemon           102                 ≤160       Y

   7/8/2019          Org. Cinnamon        100                 ≤1000      Y

   7/12/2019         Org. Cinnamon        100                 ≤1000      Y

   10/12/2017        Amylase              95.8                <300       Y

   4/26/2018         Amylase              91                  <300       Y

   4/12/2017         Turmeric             76.3                ≤1000      Y

   8/27/2018         Sunflower Lecithin   71.6                ≤100       Y

   8/3/2017          Org. Lemon           63.7                ≤160       Y




          60
               Id.




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  4/11/2018     Org. Cinnamon           59                ≤1000   Y

  11/2/2018     S. Potato               55.3              ≤15     Y

  4/21/2017     Sunflower Lecithin      54.9              ≤100    Y

  8/15/2018     Quinoa Flour            51.6              <75     Y

  11/2/2018     S. Potato               50.1              ≤15     Y

  10/25/2016    Lemon                   47.5              ≤160    Y

  1/14/2019     Enzyme                  47.3              <300    Y

  5/31/2018     Prune Puree             41.5              ≤40     Y - ER

  11/6/2018     S. Potato               40.3              ≤15     Y

  9/29/2017     Org. Turmeric           39.3              ≤1000   Y

  9/13/2019     Org. Cinnamon           37.8              ≤1000   Y

  8/11/2017     Org. Cinnamon           36.7              ≤1000   y

  11/6/2018     S. Potato               35.2              ≤15     Y

  11/2/2018     S. Potato               34.9              ≤15     Y

  10/10/2018    Dehydrated Potato       32.4              <75     Y - ER

  8/2/2018      Mango                   32.3              ≤20     Y

  11/2/2018     S. Potato               31.8              ≤15     Y

  6/11/2018     Sunflower Lecithin      31.7              ≤100    Y

  8/6/2018      Prune                   31.1              ≤40

  8/20/2019     Sebamyl 100             30.6              <300    Y

  3/19/2018     Org. Prune              30                ≤40     Y

  9/20/2016     Apricot                 28                ≤20     Y - ER

  2/13/2019     Org. Prune              27.9              ≤40     Y - ER




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   6/7/2019             Enzyme                      26.3                      <300            Y

   6/19/2018            Org. Quinoa Flour           25.3                      <75             Y - ER

   2/6/2017             Vitamin Mix                 24.6                      <10             Y

   9/28/2017            Org. Quinoa Seeds           24.2                      <75             Y

   9/28/2017            Org. Quinoa Seeds           24.2                      <75             Y

   2/1/2019             Blueberry                   22.7                      <25             Y

   11/6/2018            S. Potato                   22                        ≤15             Y

   3/18/2019            Org. Pears                  21.7                      <10

   6/14/2019            Sunflower Lecithin          21                        ≤100            Y

   3/20/2018            Carrots                     20                        <25             Y - ER

   3/20/2018            Carrots                     20                        <25             Y - ER

   3/19/2018            Carrots                     20                        <25             Y - ER

   3/19/2018            Carrots                     20                        <25             Y - ER

   3/16/2017            Sunflower Lecithin          20                        ≤100            Y

   3/1/2019             Org. Cinnamon               20                        ≤1000           Y


          3.       Hain (Earth’s Best Organic) used ingredients containing as much as 352 ppb
                   lead; Hain consistently used baby food ingredients with high lead content,
                   including 88 ingredients that tested over 20 ppb lead and six ingredients that
                   tested over 200 ppb lead.

         Hain used an ingredient called vitamin pre-mix in its baby food that contained as much as
  352 ppb lead. 61




            61
               Hain, Raw Material Pre-Shipment Test Data History (Dec. 11, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/3_0.pdf).




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  Hain’s Raw Material Pre-Shipment Test Data History (Excerpted Entry) 62




          Hain used six ingredients that tested above 200 ppb lead. Hain used 88 ingredients with
  lead levels at or over 20 ppb—the EU’s standard for lead in infant formula. Hain accepted 115
  ingredients that registered at or over 15 ppb—EPA’s action level for drinking water. And at
  least 27% of Hain ingredients tested at or over 5 ppb lead, FDA’s standard for lead in bottled
  water. None of the test results showed an ingredient below 1 ppb lead, which should be the
  upper limit for lead content according to the health experts at Consumer Reports, the
  Environmental Defense Fund, and the American Academy of Pediatrics.

  Hain’s Raw Material Pre-Shipment Test Data History (Excepted Entries for Ingredients
  Above 200 ppb Lead) 63




          4.         Gerber used ingredients that tested as high as 48 ppb lead; and routinely
                     accepted ingredients containing over 20 ppb lead.

         Gerber produced limited lead testing results. The results for its sweet potatoes and juices
  demonstrated its willingness to use ingredients that contained dangerous lead levels. Gerber
  used an ingredient, conventional sweet potatoes, with 48 ppb lead. Gerber also used twelve other
  batches of sweet potato that tested over 20 ppb for lead, the EU’s lenient upper standard. 64




          62
               Id.
          63
               Id.
            64
               Gerber, Gerber Products Company Test Results (Dec. 9, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/5_0.pdf).




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  Gerber Products Company Test Results (Excerpted Entries) 65

   Year                    Ingredient                                     Lead Level (ppb)
   2017                    Conventional                                   48
   2017                    Organic                                        35
   2017                    Organic                                        34
   2017                    Organic                                        34
   2018                    Conventional                                   34
   2019                    Conventional                                   34
   2019                    Conventional                                   34
   2018                    Organic                                        25
   2019                    Organic                                        25
   2018                    Organic                                        22
   2018                    Organic                                        22
   2018                    Organic                                        21
   2019                    Conventional                                   21

          The average amount of lead in Gerber’s tested juice concentrates was 11.2 ppb—more
  than FDA’s limit for lead in bottled water. Over 83% of the juice concentrates tested showed
  greater than 1 ppb lead, which is Consumer Reports’ recommended limit for fruit juices.

  Gerber Products Company Test Results (Excerpted Entries) 66




          65
               Id.
          66
               Id.




                                                28

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          C.       Cadmium

          Outside the context of baby food, some regulation has taken action against cadmium. For
  example, EPA has a limit of 5 ppb in drinking water, and FDA has set a limit of 5 ppb in bottled
  water. 67 These standards approach WHO’s 3 ppb limit for cadmium in drinking water. 68

           Groups like Healthy Babies Bright Futures have set a goal of no measurable amount of
  cadmium in baby food. 69 Consumer Reports has called for a limit of 1 ppb cadmium in fruit
  juices. 70 And the EU has set a limit ranging from 5–20 ppb cadmium for infant formula.

         The Subcommittee found that baby food manufacturers sold many products with much
  higher cadmium content.

  Proposed and Existing Cadmium Standards

   Group or Agency             Standard
   Consumer Reports            1 ppb in all fruit juices
   World Health                3 ppb for drinking water
   Organization
   EPA                         5 ppb for drinking water
   FDA                         5 ppb for drinking water
   European Union (EU)         5-20 ppb for infant formulae

          1.       Beech-Nut used ingredients in its baby food containing up to 344.55 ppb
                   cadmium; 105 Beech-Nut ingredients tested over 20 ppb cadmium.

        Beech-Nut used twenty ingredients registering over 100 ppb cadmium, including
  cinnamon containing 344.5 ppb cadmium. 71 That is more than 17 times higher than the EU’s lax



          67
             Environmental Protection Agency, Ground Water and Drinking Water (online at www.epa.gov/ground-
  water-and-drinking-water/national-primary-drinking-water-regulations) (accessed Jan. 26, 2021); 21 C.F.R. § 165
  (2019) (online at www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/cfrsearch.cfm?fr=165.110).
        68
           World Health Organization, Cadmium in Drinking-Water (2011) (online at
  www.who.int/water_sanitation_health/water-quality/guidelines/chemicals/cadmium.pdf?ua=1).
          69
              Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
  of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
  (online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
  10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).
          70
              Consumer Reports, Consumer Reports Letter To FDA On Reducing Heavy Elements Like Arsenic, Lead,
  and Cadmium in Fruit Juices (Jan. 30, 2019) (online at https://advocacy.consumerreports.org/research/consumer-
  reports-letter-to-fda-on-reducing-heavy-elements-like-arsenic-lead-and-cadmium-in-fruit-juices/); European Union,
  Setting Maximum Levels for Certain Contaminants in Foodstuffs (Dec. 19, 2006) (online at https://eur-
  lex.europa.eu/legal-content/EN/TXT/?uri=CELEX:02006R1881-20150521).
           71
              Beech-Nut, Raw Material Heavy Metal Testing (Dec. 6, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/4.xlsx).




                                                         29

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  upper limit on cadmium in baby food. At least 105 ingredients that Beech-Nut tested and used in
  baby foods registered at or over 20 ppb cadmium—the EU’s lax infant formula upper limit. 72

  Beech-Nut’s Raw Materials Heavy Metal Testing (Excerpted Entries) 73

   Date                     Commodity                    Cadmium              Spec.           Acceptance
                                                         Result (ppb)                         (Y/N)
   10/19/2016               Cinnamon                     344.50               ≤1000           Y
   4/11/2018                Org. Cinnamon                225.10               ≤1000           Y
   5/31/2017                Cinnamon                     194.30               ≤1000           Y
   6/8/2018                 Org. Garlic                  186.00               ≤1000           Y
   8/11/2017                Org.Cinnamon                 178.20               ≤1000           y
   10/11/2016               Oregano                      176.50               <1000           Y
   12/5/2017                Org. Cinnamon                163.40               ≤1000           Y
   11/29/2017               Dehydrated Potato            148.40               <90             Y - ER
   10/10/2018               Dehydrated Potato            146.00               <90             Y
   10/10/2018               Dehydrated Potato            143.50               <90             Y - ER
   7/10/2019                Spinach Puree                143.00               <180            Y
   7/2/2018                 Fresh Spinach                142.30               <180            Y
   7/8/2019                 Org. Cinnamon                140.00               ≤1000           Y
   7/12/2019                Org. Cinnamon                140.00               ≤1000           Y
   3/1/2019                 Org. Cinnamon                120.00               ≤1000           Y
   11/29/2017               Dehydrated Potato            119.60               <90             Y - ER
   9/13/2019                Org. Cinnamon                117.30               ≤1000           Y
   7/15/2019                Spinach                      117.00               <180            Y
   7/15/2019                Spinach                      101.00               <180            Y
   7/15/2019                Spinach                      101.00               <180            Y

          2.         Hain (Earth’s Best Organic) used ingredients in its baby food containing up
                     to 260 ppb cadmium; 102 Hain ingredients tested over 20 ppb cadmium.

          Hain used 14 ingredients that contained more than 100 ppb cadmium, including barley
  flour that registered at 260 ppb cadmium. 74 That is thirteen times the EU’s lax upper limit on
  cadmium in baby food. Hain tested and used 102 ingredients that registered at or above 20 ppb
  cadmium—the EU’s lax upper limit.




          72
               Id.
          73
               Id.
            74
               Hain, Raw Material Pre-Shipment Test Data History (Dec. 11, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/3_0.pdf).




                                                          30

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  Hain’s Raw Material Pre-Shipment Test Data History (Excerpted Entries) 75

   Lab Results           Products Description               Status            Cadmium               Cadmium
   Date                                                                       Spec. limit           Result (ppb)
                                                                              (ppb)
   Jan/19/2018           Org Barley Flour                   Accepted          100                   260
   Jan/22/2018           IQF Org Chopped Broccoli           Accepted          100                   250
   Jan/23/2018           Org Date Paste                     Accepted          100                   220
   Nov/3/2017            Org Cinnamon Powder                Accepted          100                   200
   Aug/21/2017           Org Brown Flax Milled              Accepted          100                   190
   Jan/22/2018           Org Date Paste                     Accepted          100                   190
   Jan/18/2018           Org Yellow Papaya Puree            Accepted          100                   170
   Jan/19/2018           Org Whole Wheat Fine               Accepted          100                   160
                         Flour
   Aug/17/2017           Org Red Lentils                    Accepted          100                   130
   Jan/15/2018           Org Oat Flakes                     Accepted          100                   130
   Jun/13/2018           Org Brown Flax Milled              Accepted          100                   121
   Jan/12/2018           Org Barley Flour                   Accepted          100                   110
   Jun/25/2018           Org Oat Flour                      Accepted          100                   102
   Feb/19/2019           Org Cinnamon Powder                Deviation         100                   102
                                                            Approved

          3.         Sixty-five percent of Nurture (HappyBABY) finished baby food products
                     contained more than 5 ppb cadmium, the EPA’s limit for drinking water.

           Nurture sold multi-grain cereal with 49 ppb cadmium. Nurture sold another 125 products
  that tested over 5 ppb, which is the EPA’s limit for drinking water. 76

  Nurture’s Heavy Metal Test Results for Baby Food Products (Excerpted Entries) 77




          75
               Id.
          76
              Nurture, Heavy Metal Test Results for Baby Food Products (Dec. 18, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).
          77
               Id.




                                                         31

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          4.         Gerber used carrots containing as much as 87 ppb cadmium; 75% of
                     Gerber’s carrots contain cadmium in excess of 5 ppb.

         Gerber does not test all its ingredients for cadmium. Of those it does test, it accepts
  ingredients with high levels of cadmium. Gerber used multiple batches of carrots containing as
  much as 87 ppb cadmium, and 75% of the carrots Gerber used had more than 5 ppb cadmium—
  the EPA’s drinking water standard. 78

  Gerber Products Company Test Results (Excerpted Entries) 79




          D.         Mercury

          Outside the context of baby food, some regulation has taken action against mercury.
  EPA, for example, has capped mercury in drinking water at 2 ppb. 80 Consumer advocates urge
  even stricter standards for baby food. For example, Health Babies Bright Futures has called for a
  goal of no measurable amount of mercury in baby food. 81

          1.         Nurture (HappyBABY) sold finished baby food products containing as much
                     as 10 ppb mercury.

          Nurture sold a finished baby food product that contained 10 ppb mercury, and two others
  that contained 9.8 and 7.3 ppb. A level of 10 ppb is five times more than the EPA’s 2 ppb
  standard for drinking water. In total, Nurture sold 56 products that contained over 2 ppb
  mercury. 82




          78
              Gerber, Gerber Products Company Test Results (Dec. 9, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/5_0.pdf).
          79
               Id.
          80
            Environmental Protection Agency, Ground Water and Drinking Water (online at www.epa.gov/ground-
  water-and-drinking-water/national-primary-drinking-water-regulations) (accessed Jan. 26, 2021).
           81
              Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
  of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
  (online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
  10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).
           82
              Nurture, Heavy Metal Test Results for Baby Food Products (Dec. 18, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).




                                                         32

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  Nurture’s Heavy Metal Test Results for Baby Food Products (Excerpted Entries) 83




          2.         Beech-Nut and Hain (Earth’s Best Organic) did not even test for mercury in
                     baby food; Gerber barely tests for it.

         From the documents produced to this Subcommittee, it appears that neither Beech-Nut
  nor Hain tests their ingredients or their finished products for mercury.

        Gerber only tests certain ingredients for mercury. Of the test results they presented to the
  Subcommittee, they only tested carrots, sweet potatoes, and lemon juice concentrate.

  III.    INDUSTRY SELF-REGULATION FAILS TO PROTECT CONSUMERS: NURTURE,
          BEECH-NUT, HAIN, AND GERBER SET THEIR OWN DANGEROUSLY HIGH
          INTERNAL STANDARDS FOR TOXIC HEAVY METAL LEVELS AND ROUTINELY
          IGNORED THEM TO SELL PRODUCTS WITH HIGHER HEAVY METAL LEVELS.

          Baby food manufacturers are free to set their own internal standards for toxic heavy metal
  content of their products. They have set those standards at dangerously high levels and have
  often sold foods that exceed even those levels.

          A.         Nurture (HappyBABY) sets high internal standards and regularly exceeds
                     them. Nurture admits that its toxic heavy metal testing is not for safety—it
                     sells all products tested, regardless of its toxic heavy metal content. FDA has
                     finalized only one standard—100 ppb inorganic arsenic in infant rice
                     cereal—Nurture has ignored it, setting its internal standard for that product
                     at 115 ppb.

          Nurture created internal standards but did not follow them. Nurture describes these
  standards as “goal thresholds” that “are not used to make product disposition decisions and are
  not a pre-condition to product release.” 84 Instead, its testing regime is limited to monitoring the
  supply chain. Nurture’s thresholds are not actually used to prevent products that contain high
  levels of toxic heavy metals from being sold. 85


          83
               Id.
          84
              Letter from Nurture, Inc. to Chairman Raja Krishnamoorthi, Subcommittee on Economic and Consumer
  Policy, Committee on Oversight and Reform (Dec. 18, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/10.pdf).
          85
               Id.




                                                       33

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          Nurture does not even claim to be testing for safety—it made clear in its letter response to
  this Subcommittee that all products will be sold regardless of testing result: “our heavy metal
  testing is performed as part of our monitoring program and not as a condition of product
  release, all of the products that were tested were sold into commerce.” 86

         Nurture sells the products it tests, regardless of their toxic heavy metal content. In total,
  Nurture tested 113 final products and sold every product tested, regardless of how much
  inorganic arsenic or lead the product contained, and regardless of whether those metals exceeded
  its own internal standards.

        As a result of this policy of not testing for safety, Nurture released products containing as
  much as 641 ppb lead and 180 ppb inorganic arsenic. 87

          Nurture sold 29 products that were above its internal arsenic limit of 100 ppb, including
  Apple & Broccoli Puffs that contained 180 ppb inorganic arsenic. Nurture’s standards “are not
  used to make product disposition decisions and are not a pre-condition to product release.”
  Instead, their testing regime is limited to monitoring the supply chain. 88

  Nurture’s Heavy Metal Test Results for Baby Food Products (Excerpted Entries) 89




          86
               Id.
          87
              Nurture, Heavy Metal Test Results for Baby Food Products (Dec. 18, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).
            88
               Letter from Nurture, Inc. to Chairman Raja Krishnamoorthi, Subcommittee on Economic and Consumer
  Policy, Committee on Oversight and Reform (Dec. 18, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/10.pdf).
           89
              Nurture, Heavy Metal Test Results for Baby Food Products (Dec. 18, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).




                                                         34

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          Further, Nurture appears to have misled the Subcommittee about its testing standards. As
  seen from Nurture’s goal thresholds pictured below, Nurture conveyed to the Subcommittee that
  after January of 2019, it had a goal threshold of 50 ppb for lead in all of its baby food products—
  infant formula, cereals, and wet foods. 90 However, in the test results that Nurture provided to
  this Subcommittee, it was still using 100 ppb as an internal guideline after January 2019.

          This image is from Nurture’s December 18, 2019, response to the Subcommittee, stating
  that after January of 2019, its lead threshold was 50 ppb in all baby food products: 91




          However, the chart below appears to show that after the date Nurture claims to have
  moved to a 50 ppb lead standard—January 2019—Nurture was still using a “Goal Threshold” of
  100 ppb for 53 baby food products. The fact that Nurture appears to have continued using a
  higher standard up to nine months after it claimed to the Subcommittee to have lowered the
  threshold casts serious doubt on Nurture’s candor in this matter.

  Nurture’s Heavy Metal Test Results for Baby Food Products (Excerpted Entries) 92



          90
              Letter from Nurture, Inc. to Chairman Raja Krishnamoorthi, Subcommittee on Economic and Consumer
  Policy, Committee on Oversight and Reform (Dec. 18, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/10.pdf).
          91
               Id.
           92
              Nurture, Heavy Metal Test Results for Baby Food Products (Dec. 18, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).




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  Product Name                          Parameter Goal        Result   Unit Date of
                                                  Threshold                 Test
                                                                            Report
  Blueberry Beet Rice Cakes             Lead        100       <4.0     ppb   10/14/19
  Stage 3 Root Vegetable and Turkey     Lead        100       <4.0     ppb   10/11/19
  Apple & Broccoli Puffs                Lead        100       5.8      ppb   10/10/19
  Apple Cinnamon Oat Jar                Lead        100       <4.0     ppb   10/09/19
  Apple Spinach Jar                     Lead        100       <4.0     ppb   10/09/19
  Kale & Spinach Puffs                  Lead        100       9.7      ppb   10/09/19
  Apple Mango Beet                      Lead        100       <4.0     ppb   08/22/19
  Pear Prune Jar                        Lead        100       <4.0     ppb   08/22/19
  Apple Spinach Pea & Kiwi              Lead        100       43       ppb   08/22/19
  Pea Spinach Teether                   Lead        100       18       ppb   08/16/19
  Strawberry Yogis                      Lead        100       <4.0     ppb   08/13/19
  Sweet Potato & Carrot Puffs           Lead        100       7.7      ppb   07/25/19
  Banana & Pumpkin Puffs                Lead        100       6.2      ppb   07/25/19
  Apples Blueberries & Oats             Lead        100       <4.0     ppb   07/24/19
  CC Oats & Quinoa Cereal               Lead        100       <4.0     ppb   07/24/19
  Green Beans Jar                       Lead        100       <4.0     ppb   07/24/19
  Pears Mangoes & Spinach               Lead        100       <4.0     ppb   07/24/19
  Carrots                               Lead        100       <4.0     ppb   07/20/19
  Pea Spinach Teether                   Lead        100       23       ppb   07/11/19
  Apple & Broccoli Puffs                Lead        100       11       ppb   07/11/19
  Kale & Spinach Puffs                  Lead        100       11       ppb   07/11/19
  Mangoes                               Lead        100       <4.0     ppb   07/03/19
  Sweet Potatoes Jar                    Lead        100       <4.0     ppb   07/03/19
  CC Oats & Quinoa Cereal               Lead        100       <4.0     ppb   07/02/19
  Harvest Vegetables & Chicken          Lead        100       <4.0     ppb   07/02/19
  Apple Rice Cakes                      Lead        100       7.2      ppb   07/02/19
  Blueberry Purple Carrot Greek Yogis   Lead        100       4.3      ppb   07/02/19
  Apple & Broccoli Puffs                Lead        100       9.9      ppb   05/30/19
  Strawberry & Beet Puffs               Lead        100       10       ppb   05/22/19
  Apples & Spinach                      Lead        100       <4.0     ppb   05/15/19
  Clearly Crafted Apple Guava Beet      Lead        100       <4.0     ppb   05/10/19
  Sweet Potato Jar                      Lead        100       <4.0     ppb   05/10/19
  Banana & Pumpkin Puffs                Lead        100       13       ppb   04/24/19
  Sweet Potato & Carrot Puffs           Lead        100       7.7      ppb   04/24/19
  Apple Pumpkin Carrots                 Lead        100       <4.0     ppb   04/12/19
  Pea Spinach Teether                   Lead        100       23       ppb   04/12/19
  Multi-Grain Cereal Canister           Lead        100       5.2      ppb   04/12/19
  Carrots                               Lead        100       <4.0     ppb   04/11/19
  Sweet Potato Jar                      Lead        100       <4.0     ppb   04/11/19
  Apple Spinach Pea & Kiwi              Lead        100       34       ppb   03/29/19
  Strawberry & Beet Puffs               Lead        100       7.8      ppb   03/21/19



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   Banana & Pumpkin Puffs                        Lead            100              5.5      ppb     03/21/19
   CC Oatmeal Cereal                             Lead            100              <4.0     ppb     03/18/19
   Carrots & Peas                                Lead            100              <4.0     ppb     03/13/19
   CC Prunes                                     Lead            100              <4.0     ppb     03/13/19
   Pears & Kale Jar                              Lead            100              <4.0     ppb     03/13/19
   Vegetable & Beef Medley                       Lead            100              <4.0     ppb     03/07/19
   Banana Sweet Potato Teether                   Lead            100              12       ppb     02/19/19
   Banana & Pumpkin Puffs                        Lead            100              11       ppb     02/19/19
   Blueberry Purple Carrot Teether               Lead            100              10       ppb     02/19/19
   Mangoes                                       Lead            100              <4.0     ppb     02/13/19
   Apple Mango Beet                              Lead            100              <4.0     ppb     02/12/19
   Strawberry Banana Greek Yogis                 Lead            100              <4.0     ppb     02/12/19

          Nurture has also ignored the only final standard that FDA has set. FDA set a 100 ppb
  inorganic arsenic limit for infant rice cereal. Rather than comply with that limit, Nurture set its
  internal standards 15% higher, at 115 ppb inorganic arsenic. 93

  Excerpt of December 18, 2019, Letter from Nurture, Inc. to Chairman Raja Krishnamoorthi 94




          B.         Beech-Nut set internal arsenic and cadmium standards at 3,000 ppb in
                     dangerous additives, such as vitamin mix, and 5,000 ppb lead for certain
                     ingredients like BAN 800. These standards are the highest of any responding
                     manufacturer.

         Beech-Nut has set an internal specification limit (listed in the chart below as “spec.”) of
  3,000 ppb inorganic arsenic for certain ingredients, including vitamin mix.95 As a result of

          93
              Letter from Nurture, Inc. to Chairman Raja Krishnamoorthi, Subcommittee on Economic and Consumer
  Policy, Committee on Oversight and Reform (Dec. 18, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/10.pdf).
          94
               Id.
           95
              Beech-Nut, Raw Material Heavy Metal Testing (Dec. 6, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/4.xlsx).




                                                         37

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  adopting this high internal standard, Beech-Nut has used ingredients containing 710.9, 465.2,
  and 401.4 ppb arsenic. 96 Beech-Nut also set internal guidelines of 3,000 ppb for cadmium and
  5,000 ppb for lead for certain ingredients. 97 These far surpass any existing regulatory standard in
  existence and toxic heavy metal levels for any other baby food manufacturer that responded to
  the Subcommittee’s inquiry.

  Beech-Nut’s Raw Materials Heavy Metal Testing (Excerpted Entries) 98




         Beech-Nut sold eleven products that surpassed its own internal cadmium limits. By
  doing so, Beech-Nut accepted dehydrated potato containing 119.6, 143.5, and 148.4 ppb
  cadmium, far surpassing its own internal limit of 90 ppb for that ingredient. 99




         96
              Id.
         97
              Id.
         98
              Id.
         99
              Id.




                                                  38

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  Beech-Nut’s Raw Materials Heavy Metal Testing (Excerpted Entries) 100




           Beech-Nut’s explanation of why it accepted products over its own internal limits was that
  it did so “rarely” and the ingredients were “generally restricted to a 20% variance of BNN’s
  allowable limits….” 101 However, as the cadmium examples show, Beech-Nut accepted certain
  ingredients in spite of their own testing results which showed that they contained over 20% more
  cadmium than their already-high internal limit. Beech-Nut’s internal limit for cadmium in
  dehydrated potato appears to be 90 ppb. A 20% variance would permit Beech-Nut to accept
  dehydrated potato containing up to 108 ppb cadmium. Nevertheless, Beech-Nut accepted three
  shipments of dehydrated potato containing cadmium in excess of its 20% variance allowance. 102
  Beech-Nut did not offer any explanation.

          C.          Hain (Earth’s Best Organic) set an internal standard of 200 ppb for arsenic,
                      lead, and cadmium in some of its ingredients. Hain justified deviations above
                      its ingredient testing standards based on “theoretical calculations,” even
                      after Hain admitted to FDA that its testing underestimated final product
                      toxic heavy metal levels.

          Hain set an internal standard of 200 ppb arsenic for 12 ingredients, most of which were
  different kinds of flours. By setting this high internal standard, Hain justified accepting wheat
  flour and rice that contained 200 and 150 ppb arsenic. 103



          100
                Id.
          101
              Letter from the President and Chief Executive Officer of Beech-Nut Nutrition Company to Chairman
  Raja Krishnamoorthi, Subcommittee on Economic and Consumer Policy, Committee on Oversight and Reform
  (Dec. 6, 2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/6_0.pdf).
          102
               Beech-Nut, Raw Material Heavy Metal Testing (Dec. 6, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/4.xlsx).
            103
                Hain, Raw Material Pre-Shipment Test Data History (Dec. 11, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/3_0.pdf).




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  Hain’s Raw Material Pre-Shipment Test Data History (Excerpted Entries) 104

   Lab Results         Product Description          Status         Arsenic Spec     Arsenic
   Date                                                            Limit (ppb)      Result (ppb)
   Aug/3/2017          Org Kamut Flour              Accepted       200              <100
   Aug/3/2017          Org Spelt Flour              Accepted       200              <100
   Jul/6/2017          Org Yellow Split Pea         Accepted       200              <100
                       Powder
   Jul/5/2017          Org Quinoa Flour             Accepted       200              <100
   May/26/2017         Org Soft White Wheat         Accepted       200              <100
                       Flour
   Aug/1/2017          Org Fiber Oat                Accepted       200              <100

   Sep/25/2017         Org Quinoa Flour             Accepted       200              <100
   Sep/12/2017         Org Spelt Flour              Accepted       200              <100

   Aug/4/2017          Org Spelt Flour              Accepted       200              <100

   Jul/19/2017         Org Green Lentil Flour       Accepted       200              <100

   Sep/29/2017         Org Soft White Wheat         Accepted       200              200
                       Flour
   Jul/13/2017         Medium Grain Whole           Accepted       200              150
                       Rice

          Similarly, Hain set an internal limit of 200 ppb for lead in five ingredients—forty times
  higher than FDA’s guidance for bottled water. By doing so, Hain justified accepting lentil flour
  with 110 ppb lead and quinoa flour with 120 ppb lead. These surpass every existing regulatory
  standard for lead. 105

  Hain’s Raw Material Pre-Shipment Test Data History (Excerpted Entries) 106




         104
               Id.
         105
               Id.
         106
               Id.




                                                 40

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          Hain used four products that surpassed its internal toxic heavy metal limits. For example,
  it accepted cinnamon that contained 102 ppb cadmium, vitamin pre-mix that had 223 ppb arsenic
  and 353 ppb lead, and two rice flours that had 134 and 309 ppb arsenic. 107

  Hain’s Raw Material Pre-Shipment Test Data History (Excerpted Entries) 108




         Hain justified these variations by claiming that the “theoretical” final goods will not
  surpass its internal limits. For example, Hain became aware that the vitamin pre-mix contained
  223 ppb arsenic and 352 ppb lead. 109

  Hain Deviation Report, Vitamin Premix (Nov. 26, 2019) 110




           Despite having dangerously high levels of toxic heavy metals, Hain approved the use of
  this vitamin pre-mix based on a “theoretical” calculation of toxic heavy metals in the final
  good. 111


          107
                Id.
          108
                Id.
          109
               Hain, Deviation Report, Vitamin Premix (Nov. 26, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/11_Redacted.pdf).
          110
                Id.
          111
                Id.




                                                          41

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  Hain Deviation Report, Vitamin Premix (Nov. 26, 2019) 112




          To calculate the estimated quantity of lead and arsenic in the finished good, Hain
  considered the percentage of rice flour and vitamin pre-mix in the finished goods, and their
  projected amounts of arsenic and lead. Ultimately, Hain predicted that the finished good would
  have roughly 85 ppb arsenic and 25 ppb lead. 113

  Hain Deviation Report, Vitamin Premix (Nov. 26, 2019) 114




         However, it is not clear that Hain ever tested the finished good. Hain appears to have
  used this vitamin pre-mix with dangerously high levels of toxic heavy metals without ever
  confirming the finished good was actually safe to consume.

         Hain made this decision four months after it had made a secret presentation to FDA
  admitting that heavily tainted vitamin premix caused dangerous levels of arsenic in its finished


         112
               Id.
         113
               Id.
         114
               Id.




                                                  42

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  products, which initially went undetected because Hain did not test its finished products. 115 Hain
  made no effort to correct the problem. Note: Full discussion of Hain’s secret presentation to
  FDA appears in Section V., Parts D. and E., below.

  IV.     WALMART, SPROUT ORGANIC FOODS, AND CAMPBELL REFUSED TO
          COOPERATE WITH THE SUBCOMMITTEE’S INVESTIGATION

          Nurture, Beech-Nut, Hain, and Gerber cooperated with the Subcommittee’s investigation,
  despite the fact that doing so exposed their reckless disregard for the health of babies. With that
  in mind, the Subcommittee questions why Walmart (Parent’s Choice), Sprout Organic Foods,
  and Campbell (Plum Organics) would refuse to comply with the investigation. None of them
  produced testing results or specific testing standards and Sprout never even responded to the
  Subcommittee’s repeated inquiries. The Subcommittee is greatly concerned that these
  companies might be obscuring the presence of even higher levels of toxic heavy metals in their
  baby food products than their competitors’ products.

          A.       Walmart (Parent’s Choice Brand)

          Walmart refused to produce any documents showing its internal testing policies, its
  testing results, or how Walmart treats ingredients and/or products that surpass any internal
  standards.

         Walmart’s evasion is concerning, as even limited independent testing has revealed the
  presence of toxic heavy metals in its baby food.

  Data from Healthy Babies Bright Futures Report: What’s in My Baby’s Food? 116




           115
               Hain, PowerPoint Presentation to Food and Drug Administration: FDA Testing Result Investigation
  (Aug. 1, 2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2.pdf).
          116
              Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
  of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
  (online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
  10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).




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  Walmart (Parent’s Choice) Baby Food that Tested High in Toxic Heavy Metals 117




          B.          Campbell (Plum Organics Brand)

         Campbell refused to produce its testing standards and specific testing results to the
  Subcommittee. Campbell has hidden its policies and the actual level of toxic heavy metals in its
  products.

          Instead of producing any substantive information, Campbell provided a spreadsheet self-
  declaring that every one of its products “meets criteria.” 118 Campbell declined to state what
  those criteria are.

  Campbell’s Product Heavy Metal Test Results (Excerpted Entries) 119




          117
            Walmart, Parent’s Choice Organic Strawberry Rice Rusks (online at www.walmart.com/ip/Parent-s-
  Choice-Organic-Baby-Rusks-Strawberry-Flavored/171533478) (accessed on Jan. 26, 2021).
          118
               Campbell, Product Heavy Metal Test Results (Dec. 11, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/12.pdf).
          119
                Id.




                                                         44

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         Campbell’s testing summary hides more than it reveals, since it does not show the levels
  of heavy metals that the testing found or the levels of heavy metals that would “meet criteria.”

          The Subcommittee was disturbed that, for mercury, which is a powerful neurotoxin,
  Campbell notes with asterisks that it has no criterion whatsoever, stating: “No specific threshold
  established because no high-risk ingredients are used.” 120 However, despite Campbell having no
  mercury threshold, Campbell still marked every food as “meets criteria” for mercury. 121 This
  misleading framing—of meeting criteria that do not exist—raises questions about what
  Campbell’s other thresholds actually are, and whether they exist.

         Campbell’s evasion is concerning, as even limited independent testing has revealed the
  presence of toxic heavy metals in its baby food.

  Data from Healthy Babies Bright Futures Report: What’s in My Baby’s Food? 122




          120
                Id.
          121
                Id.
          122
              Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
  of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
  (online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
  10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).




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  Plum Organics’ Foods That Tested High in Toxic Heavy Metals 123




          C.       Sprout Organic Foods

          Sprout Organic Foods did not respond to the Subcommittee at all. Despite numerous
  emails to executives and its general information email address, as well as numerous attempts to
  reach the Sprout central office by telephone, Sprout never responded or made contact with the
  Subcommittee.

          Sprout Organic Foods was acquired by North Castle Partners, a Greenwich, Connecticut
  private equity firm, in 2015. North Castle Partners also owns such well-known brands as Curves
  International/Jenny Craig, Palladio Beauty Group, Mineral Fusion, Red Door Spas, Performance
  Bicycles, Octane Fitness, Ibex Outdoor Clothing, and Doctor's Best. 124

          Whether due to evasion or negligence, Sprout’s failure to respond raises serious concerns
  about the presence of toxic heavy metals in its baby foods, as even limited independent testing
  has revealed the presence of toxic heavy metals in its products.



          123
             Plum Organics, Little Teethers, Banana with Pumpkin (online at
  www.plumorganics.com/products/banana-with-pumpkin-wafers/) (accessed Jan. 26, 2021); Plum Organics, Mighty
  Morning Bar, Blueberry Lemon (online at www.plumorganics.com/products/blueberry-lemon-bar/) (accessed Jan.
  26, 2021).
          124
              North Castle Partners, Press Release: North Castle Partners Invests in Sprout Organic Foods, Inc.
  (June 29, 2015) (online at www.northcastlepartners.com/wp-content/uploads/2016/01/North-Castle_Sprout-Press-
  Release.pdf).




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  Data from Healthy Babies Bright Futures Report: What’s in My Baby’s Food? 125




  Sprout Organic Food That Tested High in Toxic Heavy Metals 126




  V.      FDA HAS FAILED TO CONFRONT THE RISKS OF TOXIC HEAVY METALS IN
          BABY FOOD. THE TRUMP ADMINISTRATION IGNORED A SECRET INDUSTRY
          PRESENTATION ABOUT HIGHER AMOUNTS OF TOXIC HEAVY METALS IN
          FINISHED BABY FOODS.

          Despite the well-known risks of harm to babies from toxic heavy metals, FDA has not
  taken adequate steps to decrease their presence in baby foods. FDA has not issued thresholds for
  the vast majority of toxic heavy metals in baby foods and does not require warning labels on any
  baby food products. In the summer of 2019, FDA received a secret presentation from a baby

           125
               Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
  of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
  (online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
  10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).
          126
              Sprout Organic Foods, Quinoa Puffs, Apple Kale (online at www.sproutorganicfoods.com/babies/6-
  months-and-up/plant-power-puffs/apple-kale-plant-power-puffs) (accessed Jan. 26, 2021).




                                                        47

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  food manufacturer that revealed that the commercial process of preparing finished baby foods
  increases their levels of toxic heavy metals. For that manufacturer, Hain (HappyBABY), the
  process increased inorganic arsenic levels between 28% and 93%. Yet, FDA took no apparent
  action.

          In May 2017, FDA established the Toxic Elements Working Group with the goal of
  reducing exposure to toxic elements in food, cosmetics, and dietary supplements. FDA claims
  that the Toxic Elements Working Group is focusing on metals “because high levels of exposure
  to those metals are likely to have the most significant impact on public health,” and “can be
  especially harmful to children because of concerns about effects on their neurological
  development.” 127 But the working group has not resulted in new or stronger regulations to
  protect babies from toxic heavy metals in their food.

          A.          Mercury and Cadmium

          FDA has acknowledged the dangers of mercury. Mercury has “no established health
  benefit” and has been “shown to lead to illness, impairment, and in high doses, death.” 128 FDA
  has acknowledged the added risk to babies and children, noting that it is: “paying special
  attention to children because their smaller body sizes and metabolism may make them more
  susceptible to the harmful effects of these metals,” including mercury. 129

          Despite these statements, FDA has taken no action to limit mercury in baby food.
  Instead, FDA has only set mercury standards for wheat, and fish, shellfish, and crustaceans, and
  they are high—1,000 ppb. 130 There are no FDA protections for mercury in baby food.

          The lack of FDA action on mercury standards stands in contrast to other regulators. The
  EPA, for example, set a limit of 2 ppb mercury in drinking water, even after taking into account
  the cost of attainment for industry. 131




          127
              Food and Drug Administration, Metals and Your Food (online at www.fda.gov/food/chemicals-metals-
  pesticides-food/metals-and-your-food) (accessed Jan. 26, 2021); Food and Drug Administration, What FDA Is
  Doing to Protect Consumers from Toxic Metals in Foods (Apr. 20, 2018) (online at
  www.fda.gov/food/conversations-experts-food-topics/what-fda-doing-protect-consumers-toxic-metals-foods).
          128
              Food and Drug Administration, Metals and Your Food (online at www.fda.gov/food/chemicals-metals-
  pesticides-food/metals-and-your-food) (accessed Jan. 26, 2021).
          129
                Id.
          130
              Food and Drug Administration, Guidance for Industry: Action Levels for Poisonous or Deleterious
  Substances in Human Food and Animal Feed (Aug. 2000) (online at www.fda.gov/regulatory-information/search-
  fda-guidance-documents/guidance-industry-action-levels-poisonous-or-deleterious-substances-human-food-and-
  animal-feed).
          131
              Environmental Protection Agency, Ground Water and Drinking Water (online at www.epa.gov/ground-
  water-and-drinking-water/national-primary-drinking-water-regulations) (accessed Jan. 26, 2021).




                                                       48

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          Similarly, FDA has taken no action on cadmium in baby food. FDA has issued only one
  guideline for cadmium, and that is a limit of 5 ppb for bottled water. 132 The EU has instituted a
  limit of 10-15 ppb for infant formula. 133

          B.          Lead

         FDA acknowledges that there is “no identified safe blood lead level” and that lead is
  especially dangerous to children:

          Lead is especially harmful to vulnerable populations, including infants, young
          children, pregnant women and their fetuses, and others with chronic health
          conditions. High levels of lead exposure can seriously harm children’s health and
          development, specifically the brain and nervous system. Neurological effects
          from high levels of lead exposure during early childhood include learning
          disabilities, behavior difficulties, and lowered IQ. Because lead can accumulate
          in the body, even low-level chronic exposure can be hazardous over time. 134

          FDA has taken action on bottled water, limiting lead to 5 ppb. 135 FDA has also taken
  steps toward regulating lead content in products for older children. FDA has released guidance
  recommending a maximum lead level of 100 ppb in candy likely to be consumed by children,
  and 50 ppb in some juices. 136 It is not sound logic to say that water is unsafe to drink if it
  contains over 5 ppb lead, but candy and fruit juice can be ten and twenty times higher than that
  limit.

          Unfortunately, it appears that FDA designed these limits to be protective of industry. In
  its “Supporting Document for Recommended Maximum Level for Lead in Candy,” FDA
  repeatedly emphasizes achievability by industry, as opposed to safety for children:

          •           “FDA believes that sugar-based candy products can be made with lead levels
                      below” [100 ppb].”
          •           “We believe that if milk chocolate manufacturers source their raw materials
                      appropriately, lead levels in their finished products will not exceed [100 ppb]
                      lead.”
          •           “We believe that, if dark chocolate manufacturers source their raw materials
                      appropriately, lead levels in their finished products will not exceed [100 ppb].”



          132
            21 C.F.R. § 165 (2019) (online at
  www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/cfrsearch.cfm?fr=165.110).
           133
               European Union, Setting Maximum Levels for Certain Contaminants in Foodstuffs (Dec. 19, 2006)
  (online at https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=CELEX:02006R1881-20150521).
          134
            Food and Drug Administration, Lead in Food, Foodwares, and Dietary Supplements (online at
  www.fda.gov/food/metals-and-your-food/lead-food-foodwares-and-dietary-supplements) (accessed Jan. 26, 2021).
          135
                Id.
          136
                Id.




                                                        49

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          •        “[E]ven for high-chili-content candy and powdered snack mix products, we
                   believe that candy with appropriately sourced ingredients will not exceed [100
                   ppb] lead.”
          •        “We believe that if manufacturers source salt to minimize lead levels, finished,
                   high-salt- content powdered snack mix products will not exceed [100 ppb]
                   lead.” 137

          But FDA has failed to regulate lead levels in baby foods. Manufacturers are free to set
  their own limits. Hain, for example, used internal soft limits of 100 and 200 ppb lead for the
  majority of its ingredients.

          FDA has created what it calls an Interim Reference Level (IRL) for lead, but this
  standard does not apply to manufacturers and is unhelpful for parents purchasing baby food. An
  Interim Reference Level is what FDA calls a calculation of “the maximum daily intake for lead
  from food.” 138 Above this limit, a person or baby’s blood level would reach a “point of
  concern.” FDA’s current IRL is 3 µg per day for children. This standard, though perhaps
  helpful to FDA in researching and evaluating how lead affects our nation’s children, is
  unworkable for parents. For this standard to be useful to a parent, they would need to know:

          •        what a µg is (it stands for a microgram);
          •        how much lead is in each product they are serving their baby;
          •        how much lead their child is exposed to through tap water; and
          •        how much lead is in their local environment, such as through lead-based paints.

          Obtaining this information is currently impossible for parents because baby food
  manufacturers do not publicly provide information on the amount of lead in their products.
  Given the information gaps parents face, it would be most appropriate for FDA to promulgate
  clear rules for baby food manufacturers that limit the amount of lead in baby food.

          C.       Arsenic

          In the context of arsenic in baby food, there are only two FDA regulations for specific
  products—an unenforceable draft guidance issued in July 2013, but never finalized,
  recommending an action level of 10 ppb for inorganic arsenic in single-strength (ready to drink)
  apple juice, and an August 2020 final guidance, setting an action level for inorganic arsenic in
  infant rice cereals at 100 ppb. 139


          137
             Food and Drug Administration, Supporting Document for Recommended Maximum Level for Lead in
  Candy Likely to Be Consumed Frequently by Small Children (Nov. 2006) (online at www.fda.gov/food/metals-and-
  your-food/supporting-document-recommended-maximum-level-lead-candy-likely-be-consumed-frequently-small)
  (emphasis added).
          138
            Food and Drug Administration, Lead in Food, Foodwares, and Dietary Supplements (online at
  www.fda.gov/food/metals-and-your-food/lead-food-foodwares-and-dietary-supplements) (accessed Jan. 26, 2021).
          139
              Food and Drug Administration, Draft Guidance for Industry: Action Level for Arsenic in Apple Juice
  (July 2013) (online at www.fda.gov/regulatory-information/search-fda-guidance-documents/draft-guidance-
  industry-action-level-arsenic-apple-juice); Food and Drug Administration, Guidance for Industry: Action Level for



                                                         50

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         The first problem with these standards is that they cover only a small sliver of the foods
  babies eat.

          The second problem is that they are far too lax to be protective of babies. There is no
  established safe level of inorganic arsenic consumption for babies. Arsenic exposure has a
  “significant negative effect on neurodevelopment.” 140 FDA acknowledged that “Low-to-
  moderate levels of inorganic arsenic appear to be associated with adverse health effects during
  childhood.” 141 Children exposed to water with an arsenic concentration of just 5 ppb “showed
  significant reductions in Full Scale, Working Memory, Perceptual Reasoning and Verbal
  Comprehension scores.” 142 This suggests that 5 ppb may be an important threshold, or that the
  threshold of safety may fall far below that.

           Healthy Babies Bright Futures has called for a goal of no measurable amount of inorganic
  arsenic in baby food. 143 Consumer Reports suggests that the level of inorganic arsenic should be
  set as low as 3 ppb for water and fruit juices. 144

          FDA has already set inorganic arsenic levels at 10 ppb for bottled water. 145 EPA has
  similarly set a 10 ppb inorganic arsenic cap on water, as have the European Union and the World
  Health Organization. 146




  Inorganic Arsenic in Rice Cereals for Infants (Aug. 2020) (online at www.fda.gov/regulatory-information/search-
  fda-guidance-documents/guidance-industry-action-level-inorganic-arsenic-rice-cereals-infants).
          140
              Miguel Rodríguez-Barranco et al., Association of Arsenic, Cadmium and Manganese Exposure with
  Neurodevelopment and Behavioural Disorders in Children: A Systematic Review and Meta-Analysis (Apr. 9, 2013)
  (online at www.sciencedirect.com/science/article/abs/pii/S0048969713003409?via%3Dihub).
          141
              Food and Drug Administration, Arsenic in Rice and Rice Products Risk Assessment Report (Mar. 2016)
  (online at www.fda.gov/files/food/published/Arsenic-in-Rice-and-Rice-Products-Risk-Assessment-Report-
  PDF.pdf).
          142
              Gail A. Wasserman et al., A Cross-Sectional Study of Well Water Arsenic and Child IQ in Maine
  Schoolchildren (Apr. 1, 2014) (online at https://ehjournal.biomedcentral.com/articles/10.1186/1476-069X-13-23).
          143
              Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
  of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
  (online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
  10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).
          144
              Consumer Reports, Arsenic in Some Bottled Water Brands at Unsafe Levels, Consumer Reports Says
  (June 28, 2019) (online at www.consumerreports.org/water-quality/arsenic-in-some-bottled-water-brands-at-unsafe-
  levels/); Consumer Reports, Arsenic and Lead Are in Your Fruit Juice: What You Need to Know (Jan. 30, 2019)
  (online at www.consumerreports.org/food-safety/arsenic-and-lead-are-in-your-fruit-juice-what-you-need-to-know/).
          145
            Food and Drug Administration, Arsenic in Food and Dietary Supplements (online at
  www.fda.gov/food/metals-and-your-food/arsenic-food-and-dietary-supplements) (accessed Jan. 26, 2021).
          146
               Environmental Protection Agency, Drinking Water Requirements for States and Public Water Systems
  (online at www.epa.gov/dwreginfo/chemical-contaminant-rules) (accessed Jan. 26, 2021); The European Food
  Information Council, Arsenic (Q&A) (online at www.eufic.org/en/food-safety/article/arsenic-qa) (accessed Jan. 26,
  2021); World Health Organization, Arsenic (Feb. 15, 2018) (online at www.who.int/news-room/fact-
  sheets/detail/arsenic).




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          FDA is fully aware of the dangers that inorganic arsenic presents to young children,
  stating that:

          There is growing evidence … that exposure to inorganic arsenic
          during…infancy…may increase the risk of adverse health effects, including
          impaired development during…childhood and neurodevelopmental toxicity in
          infants and young children, and that these adverse effects may persist later in life
          …. [C]hildren may likewise be particularly susceptible to neurotoxic effects of
          inorganic arsenic, e.g., as manifested in intelligence test results in children ….
          Also, children three years and younger have the highest exposure to inorganic
          arsenic because they have 2-3-fold higher intakes of food on a per body mass
          basis as compared to adults. Therefore, a child’s daily exposure to contaminants
          in food, such as inorganic arsenic in rice, could potentially be much higher than
          that of adults. 147

          Yet, in the one category of baby food for which FDA has finalized a standard—infant
  rice cereal—it set the maximum inorganic arsenic content at the dangerous level of 100 ppb.

          Why did FDA set its level so high? Because in developing the limit, FDA was focused
  on the level of inorganic arsenic that would cause cancer. FDA disregarded the risk of
  neurological damage, which happens at a much lower level. In its 2016 Risk Assessment Report,
  FDA was able to quantify the risk of lung and bladder cancer that inorganic arsenic presents. It
  was not able to quantify the risks of neurological development for infants. 148 As a result, the 100
  ppb limit is too high to adequately protect infants and children from the effects of inorganic
  arsenic.

         The third problem is that FDA’s piecemeal approach of setting different inorganic arsenic
  standards for different products is logically unsound. There can be only one safe level for
  inorganic arsenic in the foods that babies consume. All finished baby food products should
  accord with this safe level.

         Aside from these guidance documents for infant rice cereal and apple juice, FDA does
  not regulate toxic heavy metals in other baby food products.

          One example of how this approach is failing is with FDA’s decision to release draft
  guidance for apple juice, but not any other fruits juices. Based on the testing results the
  Subcommittee reviewed, baby food companies routinely exceed this draft limit of 10 ppb in
  other types of commonly consumed juices. Gerber, for example, used grape juice concentrate
  registering at 39 ppb inorganic arsenic. But because it was grape juice, as opposed to apple


          147
              Food and Drug Administration, Supporting Document For Action Level For Inorganic Arsenic In Rice
  Cereals For Infants (Aug. 2020) (online at www.fda.gov/food/chemical-metals-natural-toxins-pesticides-guidance-
  documents-regulations/supporting-document-action-level-inorganic-arsenic-rice-cereals-infants#introduction).
          148
              Food and Drug Administration, Arsenic in Rice and Rice Products Risk Assessment Report (Mar. 2016)
  (online at www.fda.gov/files/food/published/Arsenic-in-Rice-and-Rice-Products-Risk-Assessment-Report-
  PDF.pdf).




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  juice—which, from a safety perspective, is a distinction without a difference—Gerber
  incorporated in its products juice concentrate with high arsenic levels.

          The fourth problem with FDA’s piecemeal approach is that it appears designed to be
  protective of baby food manufacturers. In developing the infant rice cereal limit of 100 ppb,
  FDA considered an “achievability assessment.” The achievability assessment considered
  “manufacturers’ ability to achieve hypothetical maximum limits for inorganic arsenic in infant
  rice cereals….” 149 FDA considered samples taken from three time periods: 2011-2013, 2014,
  and 2018. As shown below, over time, the number of samples that tested under 100 ppb
  inorganic arsenic increased from 36% to 76% of the total number of samples. FDA noted that
  this increase meant “alternate sources of rice are available to enable infant rice cereal
  manufacturers to supply the market and meet the” 100 ppb level. 150 In short, FDA’s standard
  reflects manufacturers’ ease of compliance, rather than babies’ safety.

          If it is not possible, or it is exceedingly costly, to source ingredients like rice that achieve
  a safe level, then baby food manufacturers should find substitutes for those ingredients. Our
  nation’s children should not bear lifelong health burdens because of a manufacturer’s preference
  for tainted ingredients.

          D.          The Trump Administration Ignored A Secret Industry Presentation About
                      Higher Risks Of Toxic Heavy Metals In Baby Foods.

          On August 1, 2019, the Trump administration received a secret industry presentation that
  disclosed higher risks of toxic heavy metals in finished baby food products. Hain (Earth’s Best
  Organic) revealed the finding in a presentation to FDA entitled “FDA Testing Result
  Investigation.” 151




          149
              Food and Drug Administration, Supporting Document for Action Level for Inorganic Arsenic in Rice
  Cereals for Infants (Aug. 2020) (online at www.fda.gov/food/chemical-metals-natural-toxins-pesticides-guidance-
  documents-regulations/supporting-document-action-level-inorganic-arsenic-rice-cereals-infants#introduction).
          150
                Id.
           151
               Hain, PowerPoint Presentation to Food and Drug Administration: FDA Testing Result Investigation
  (Aug. 1, 2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2.pdf).




                                                         53

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          Hain revealed that half (10 of 21) of the finished rice products that Hain tested contained
   100 ppb or more of inorganic arsenic—exceeding FDA’s standard for infant rice cereal. One
   product contained almost 30% more, registering at 129 ppb inorganic arsenic.




           Hain’s average level of inorganic arsenic in its finished rice foods was 97.62 ppb, which
   nearly matches FDA’s dangerously high 100 ppb level for inorganic arsenic for infant rice
   cereal.

            Hain claims that it “revised its internal policies and testing standards to conform to
   FDA’s non-binding recommendations.” 152 In 2016, FDA instituted draft guidance (which is now
   final) for inorganic arsenic in infant rice cereal at the dangerously high level of 100 ppb.
   However, Hain has not consistently abided by those limits.

           FDA also learned that Hain’s policy to test ingredients underrepresented the levels of
   toxic heavy metals in its finished baby foods. Hain’s finished products contained between 28%
   and 93% more inorganic arsenic than Hain estimated they would based on Hain’s ingredient

           152
               Letter from Kelly B. Kramer, Counsel for The Hain Celestial Group, Inc. to Chairman Raja
   Krishnamoorthi, Subcommittee on Economic and Consumer Policy, Committee on Oversight and Reform (Dec. 11,
   2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/9_Redacted.pdf).




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   testing method. 153 Hain found higher levels of arsenic in all finished foods tested for this FDA
   presentation than were reflected in tests of individual raw ingredients. This revelation means
   that every single finished good containing brown rice had more arsenic than the company’s
   estimates, which were based on testing the raw ingredients.

           After seeing these results, FDA was put on notice that finished baby foods pose an even
   higher risk to babies than reflected in company tests of the raw ingredients that go into those
   finished products.

   Final Product Data Compared to Raw Ingredient Data, From Hain’s Presentation to FDA 154




           Hain admitted to FDA in its presentation that “Brown Rice Flour testing results do not
   appear to be correlated to finished good results data.” 155 They are not correlated because the
   finished goods can contain as much as double the amount of arsenic as the raw ingredients.

           153
               Hain, PowerPoint Presentation to Food and Drug Administration: FDA Testing Result Investigation
   (Aug. 1, 2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2.pdf).
           154
                 Id.
           155
                 Id.




                                                        55

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           What can account for this increase in inorganic arsenic from the time the ingredients are
   tested to the time the products are finished? Hain conveyed to FDA that the cause of the increase
   was Hain’s use of a dangerous additive, stating: “Preliminary investigation indicates
   Vitamin/Mineral Pre-Mix may be a major contributing factor.” Although this additive may only
   make up roughly 2% of the final good, Hain suggested it was still responsible for the spike in the
   levels of inorganic arsenic in the finished baby food. 156

          Hain’s finding accords with the Subcommittee’s own. In the test results we reviewed,
   Hain used vitamin pre-mix that contained 223 ppb arsenic. 157 This ingredient also contained 352
   ppb lead, a matter not even addressed in the FDA presentation.

   Hain’s Raw Material Pre-Shipment Test Data History (Excerpted Entry) 158




          Therefore, naturally occurring toxic heavy metals may not be the only problem causing
   dangerous levels of toxic heavy metals in baby foods; rather, baby food producers like Hain are
   adding ingredients that have high levels of toxic heavy metals into their products, such as
   vitamin/mineral pre-mix.

            FDA did not appear to take any unplanned actions on behalf of babies’ safety after it
   received Hain’s presentation. FDA did finalize a previously planned guidance, setting a limit of
   100 ppb inorganic arsenic in infant rice cereal. But it did not initiate regulation of additives like
   Hain’s vitamin/mineral pre-mix. Moreover, it has not mandated that baby food manufacturers
   test finished goods.

           E.          Corporate Testing Policies Hide the Truth: In Addition to Hain, Beech-Nut
                       and Gerber Also Fail to Test Finished Product, Risking an Undercount of
                       Toxic Heavy Metals in Their Finished Baby Foods.

          Hain (Earth’s Best Organic) revealed to FDA that its policy to test only its ingredients,
   and not its final product, is underrepresenting the levels of toxic heavy metals in its baby foods.
   Unfortunately, Hain is not alone. The majority of baby food manufacturers, including Beech-
   Nut and Gerber, employ the same policy of testing only ingredients. 159 That policy recklessly

           156
                 Id.
           157
                Hain, Raw Material Pre-Shipment Test Data History (Dec. 11, 2019) (online at
   https://oversight.house.gov/sites/democrats.oversight.house.gov/files/3_0.pdf).
           158
                 Id.
            159
                Letter from the President and CEO of Beech-Nut Nutrition Company to Chairman Raja
   Krishnamoorthi, Subcommittee on Economic and Consumer Policy, Committee on Oversight and Reform (Dec. 6,
   2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/6_0.pdf) (“we do not test
   finished goods”); Letter from the Chief Executive Officer of Gerber Products Company to Chairman Raja
   Krishnamoorthi, Subcommittee on Economic and Consumer Policy, Committee on Oversight and Reform (Dec. 19,



                                                          56

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   endangers babies and children and prevents the companies from even knowing the full extent of
   the danger presented by their products.

           As the Hain presentation lays bare, ingredient testing does not work. Hain’s finished
   baby foods had more arsenic than their ingredients 100% of the time—28-93% more inorganic
   arsenic. 160 That means that only testing ingredients gives the false appearance of lower-than-
   actual toxic heavy metal levels.

   VI.      RECOMMENDATIONS AND CONSIDERATIONS FOR INDUSTRY, PARENTS, AND
            REGULATORS: DO HIGHLY TAINTED INGREDIENTS LIKE RICE BELONG IN
            BABY FOOD?

          Baby food manufacturers hold a special position of public trust. Consumers believe that
   they would not sell unsafe products. Consumers also believe that the federal government would
   not knowingly permit the sale of unsafe baby food. As this staff report reveals, baby food
   manufacturers and federal regulators have broken the faith.

           Step one to restoring that trust is for manufacturers to voluntarily and immediately reduce
   the levels of toxic heavy metals in their baby foods to as close to zero as possible. If that is
   impossible for foods containing certain ingredients, then those ingredients should not be included
   in baby foods.

         One example of an ingredient that might not be suitable for baby foods is rice.
   Throughout this report, rice appeared at or near the top of every list of dangerous baby foods.

            •           For Hain (Earth’s Best Organic), organic brown rice was the ingredient that tested
                        highest in inorganic arsenic—309 ppb. Indeed, the majority of Hain ingredients
                        that exceeded 100 ppb inorganic arsenic in testing (13 of 24) were organic brown
                        rice flour. 161
            •           For Beech-Nut, the majority of its ingredients that tested over 100 ppb inorganic
                        arsenic (27 of 45) were rice-based (either rice, rice flour, or organic rice). 162




   2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/7_Redacted.pdf) (Gerber’s
   policy is to “regularly test our ingredients, and periodically test… finished goods”); Hain, Testing And Release
   Procedure For Baby Food Ingredients (Dec. 11, 2019) (online at
   https://oversight.house.gov/sites/democrats.oversight.house.gov/files/8_Redacted.pdf) (Hain only tests raw
   ingredients; their testing policy applies only to ingredients and the vast majority of the testing information they
   provided to the Subcommittee was raw ingredient testing.).
            160
               Hain, PowerPoint Presentation to Food and Drug Administration: FDA Testing Result Investigation
   (Aug. 1, 2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2.pdf).
            161
                  Id.
            162
                Beech-Nut, Raw Material Heavy Metal Testing (Dec. 6, 2019) (online at
   http://oversight.house.gov/sites/democrats.oversight.house.gov/files/4.xlsx).




                                                            57

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           •        A significant number of the Nurture products that exceeded 100 ppb inorganic
                    arsenic were rice products. 163
           •        Gerber used 67 batches of rice flour with over 90 ppb inorganic arsenic. 164

           Further, rice and rice flour constitute a large proportion by volume of the baby foods that
   contain them. Therefore, increased toxic heavy metal levels in rice and rice flour could have a
   significant impact on the safety of the finished product.

          If certain ingredients, like rice, are highly tainted, the answer is not to simply lower toxic
   heavy metal levels as much as possible for those ingredients, the answer is to stop including
   them in baby foods. The Subcommittee urges manufacturers to make this change voluntarily.

           Similar considerations must be made for other ingredients that consistently contain higher
   levels of toxic heavy metals—ingredients like cinnamon, amylase, BAN 800, and vitamin
   premix. Manufacturers suggest that these additives, though high in toxic heavy metals, are not a
   concern because they make up a low percentage of the final food product. However, those
   manufacturers do not test their final food products, which is the only way to determine safety.
   Manufacturers should voluntarily commit to testing all of their finished baby food products, as
   opposed to just the ingredients. If they refuse, FDA should require them to do so.

           The Subcommittee recommends the following:

           •        Mandatory Testing: Only one of the companies reviewed by the Subcommittee
                    routinely tests its finished baby foods, even though the industry is aware that toxic
                    heavy metals levels are higher after food processing. Baby food manufacturers
                    should be required by FDA to test their finished products for toxic heavy metals,
                    not just their ingredients.
           •        Labeling: Manufacturers should by required by FDA to report levels of toxic
                    heavy metals on food labels.
           •        Voluntary Phase-Out of Toxic Ingredients: Manufacturers should voluntarily
                    find substitutes for ingredients that are high in toxic heavy metals, or phase out
                    products that have high amounts of ingredients that frequently test high in toxic
                    heavy metals, such as rice.
           •        FDA Standards: FDA should set maximum levels of inorganic arsenic, lead,
                    cadmium, and mercury permitted in baby foods. One level for each metal should
                    apply across all baby foods. The level should be set to protect babies against the
                    neurological effects of toxic heavy metals.
           •        Parental Vigilance: Parents should avoid baby food products that contain
                    ingredients testing high in heavy metals, such as rice products. The
                    implementation of recommendations one through four will give parents the
                    information they need to make informed decisions to protect their babies.

           163
                Nurture, Heavy Metal Test Results For Baby Food Products (Dec. 18, 2019) (online at
   http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).
             164
                 Gerber, Raw Material Heavy Metal Testing (Dec. 9, 2019) (online at
   https://oversight.house.gov/sites/democrats.oversight.house.gov/files/5_0.pdf).




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   VII.   CONCLUSION

           The Subcommittee’s investigation proves that commercial baby foods contain dangerous
   levels of arsenic, lead, mercury, and cadmium. These toxic heavy metals pose serious health
   risks to babies and toddlers. Manufacturers knowingly sell these products to unsuspecting
   parents, in spite of internal company standards and test results, and without any warning labeling
   whatsoever.

           Last year, the Trump administration ignored new information contained in a secret
   industry presentation to federal regulators about toxic heavy metals in baby foods. On August 1,
   2019, FDA received a secret slide presentation from Hain, the maker of Earth’s Best Organic
   baby food, which revealed that finished baby food products contain even higher levels of toxic
   heavy metals than estimates based on individual ingredient test results. One heavy metal in
   particular, inorganic arsenic, was repeatedly found to be present at 28-93% higher levels than
   estimated.

           The time is now for FDA to determine whether there is any safe exposure level for babies
   to inorganic arsenic, lead, cadmium, and mercury, to require manufacturers to meet those levels,
   and to inform consumers through labels.




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             EXHIBIT “B”




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                                                                     What’s in my
                                                                     baby’s food?

                                                                         A national investigation finds
                                                                       95 percent of baby foods tested
                                                                      contain toxic chemicals that lower
                                                                     babies’ IQ, including arsenic and lead
                                                                 Report includes safer choices for parents, manufacturers
                                                                      and retailers seeking healthy foods for infants




                   I N PA RT N E R S H I P W IT H




Healthy Babies Bright Futures | Jane Houlihan, Research Director and Charlotte Brody, National Director | October 2019


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Healthy Babies Bright Futures (HBBF) would like to thank        Parents can make five safer baby food choices for 80 percent less toxic metal residue..................................2
the following people and organizations for their support:
                                                                Fifteen foods account for more than half of the risk. Rice-based foods top the list. ........................................3
A network of groups and individuals around the
country made this study possible by purchasing                  Parents, baby food companies, farmers, and FDA all have a role
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What’s in my Baby’s Food?
Our findings show what parents, baby food companies and FDA should do
to get toxic heavy metals out of babies’ diets

EXECUTIVE SUMMARY

Parents shop for baby food                                      PROMISING SIGNS OF PROGRESS MUST
expecting the nutrition, convenience                            ACCELERATE TO PROTECT BABIES.
and baby-tested flavors of store-                                                                                                                    TEST RESULTS: 168 BABY FOODS
                                                                The government, parents and baby food companies are paying
bought brands. But nearly every                                 attention. In 2017 the U.S. Food and Drug Administration
jar, pouch and canister also offers                             charged a team of top agency scientists with “reducing                               95 percent of baby foods tested
something unexpected for a baby’s                               exposures… to the greatest extent possible” by prioritizing                          contained one or more
                                                                and modernizing FDA’s approaches (FDA 2018a,b). In early                             toxic heavy metals
mealtime—traces of heavy metals,                                2019 leading baby food companies supported by non-profit
                                                                                                                                                     1 in 4 baby foods contained all 4 toxic heavy
including arsenic and lead.                                     organizations, including HBBF, formed a new Baby Food
                                                                                                                                                     metals assessed by our testing lab,
                                                                Council that is “seeking to reduce heavy metals in the
                                                                                                                                                     including arsenic and lead.
The problem, uncovered nearly a decade ago, is far from         companies’ products to as low as reasonably achievable
solved. New tests of 168 baby foods commissioned by             using best-in-class management practices” (BFC 2019). And
Healthy Babies Bright Futures (HBBF) found toxic heavy          since 2011 public health advocates have regularly tested                             How many baby foods had multiple
metals in 95 percent of containers tested. One in four baby     baby foods and educated parents on issues ranging from                               heavy metals in a single container?
foods contained all four metals assessed by our testing         arsenic and lead in fruit juice (CR 2011,2019a) to arsenic in                        4 metals   26% of baby foods
lab—arsenic, lead, cadmium, and mercury. Even in the            infant rice cereal (HBBF 2017a, CR 2012) and heavy metals in
                                                                                                                                                     3 metals   40%
trace amounts found in food, these contaminants can alter       a range of baby foods (CR 2018, EDF 2017a, Gardener 2018).
the developing brain and erode a child’s IQ. The impacts                                                                                             2 metals   21%
add up with each meal or snack a baby eats.                     Children are better off for the efforts: Current arsenic
                                                                                                                                                     1 metal    8%
                                                                contamination levels in rice cereal and juice are 37 and 63
Fresh research continues to confirm widespread exposures        percent lower, respectively, than amounts measured a decade                          0 metals   5% (9 foods)
and troubling risks for babies, including cancer and lifelong   ago because of companies’ success in reducing metals levels
deficits in intelligence from exposures to these common         in their food ingredients to comply with draft FDA guidance.                         In how many baby foods was each
food contaminants. Despite the risks, with few exceptions       They have shifted growing and processing methods, switched                           heavy metal found?
there are no specific limits for toxic heavy metals in baby     plant varieties, and sourced from cleaner fields.
food.                                                                                                                                                Arsenic    73% of baby foods
                                                                Despite the gains, 19 of every 20 baby foods tested had                              Lead       94%
                                                                detectable levels of one or more heavy metals, according
                                                                to new tests detailed in this study. Only a dramatically                             Cadmium    75%
                                                                accelerated pace at FDA and the fruition of the new Baby                             Mercury    32%
                                                                Food Council’s pursuit of industry-wide change will be
                                                                enough to finally solve the problem.


                                                                W h a t 's i n m y B a b y 's Fo o d ? | h e a l t h y b a b y f o o d . o r g | 1
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                                                       PARENTS CAN MAKE FIVE SAFER                                                            at elevated levels
                                                       BABY FOOD CHOICES FOR 80 PERCENT LESS                                                  in fields polluted
WHAT’S NEW                                             TOXIC METAL RESIDUE.                                                                   by pesticides,
ABOUT THIS STUDY?                                                                                                                             contaminated
                                                       In the meantime, HBBF’s new tests help parents navigate                                fertilizer, airborne
                                                       the baby food aisle. We found that simple changes can                                  contaminants
Reports of heavy metals in baby food
                                                       significantly lower a baby’s exposures to heavy metal                                  and industrial
span nearly a decade. HBBF’s study                     contamination. Parents shopping for baby food can choose                               operations. Food
advances this work in 4 ways:                          five types of safer items, all readily available, over more                            crops uptake these
                                                       contaminated foods (see table below). The safer choices                                metals naturally.
Many brands tested: We report on tests of a            contain 80 percent less arsenic, lead and other toxic heavy                            Leafy greens and
wider variety of brands than past studies - 61         metals, on average, than the riskier picks.                                            root crops like
brands, from big names to niche brands.                                                                                                       carrots and sweet potatoes retain more than most other
                                                       Notably, parents can’t shop their way out of these                                     types of fruits and vegetables. How the food is processed
First-ever look at IQ loss for babies: We include      exposures by choosing organic foods or by switching from                               may also affect the levels. Organic standards do not
a new study HBBF commissioned from Abt                 store-bought brands to homemade purees. Heavy metals                                   address these contaminants, and foods beyond the baby
Associates to quantify for the first time the health   are naturally occurring in soil and water and are found                                food aisle are equally affected.
impacts posed by heavy metals in baby food. This
work gives first-ever estimates of the population-
wide decline in IQ from children’s exposures to        Our tests show that simple actions for 5 foods can help lower your babies’ exposures
lead and arsenic in food, from birth to 24 months      to arsenic, lead and other toxic heavy metals
of age. It also gives food-by-food rankings to
show the 15 foods commonly consumed by
                                                                                  Higher risk foods for heavy                                                                                   Toxic heavy
babies and young children that drive more
                                                                                  metal exposure                                       Safer alternative                                        metal level
than half of the risk (see Findings section of this
report).
                                                        Snacks                    Puff snacks (rice)                                   Rice-free snacks                                         93% less
Optimized actions for parents: We streamline
advice for parents to cover foods posing the            Teething                  Teething biscuits and rice rusks                     Other soothing foods for teething—                       91% less
greatest risk to babies, based on the newly             Foods                                                                          frozen banana or chilled cucumber
released IQ loss findings (Abt 2019b). This allows
parents to focus on five actions estimated to
                                                        Cereal                    Infant rice cereal                                   Other infant cereals like multi-grain                    84% less
provide the greatest benefit for babies’ brains.
                                                                                                                                       and oatmeal
New data on industrial pollutants and additive
risks: We also include new data for the industrial      Drinks                    Fruit juice                                          Tap water                                                68% less
chemical perchlorate in baby food. It adds to the
risk of IQ loss posed by heavy metals, increasing       Fruits &                  Carrots and sweet potatoes                           Variety: A variety of fruits and veggies                 Up to 73% less
the urgency for actions to lower the levels of          Veggies                                                                        that includes carrots, sweet potatoes,
neurotoxic contaminants in baby food.                                                                                                  and other choices

                                                       Source: HBBF analysis of tests of 168 baby foods by Brooks Applied Labs, Bothell Washington and FDA market basket data, 2014-2017. Exposures reductions consider
                                                       average total heavy metal levels in each food (inorganic arsenic, lead, cadmium, mercury) except for cereal, which considers inorganic arsenic only.



                                                        W h a t 's i n m y B a b y 's Fo o d ? | h e a l t h y b a b y f o o d . o r g | 2
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FIFTEEN FOODS ACCOUNT FOR MORE THAN HALF                        PARENTS, BABY FOOD COMPANIES, FARMERS, AND                                           88 percent of baby foods we tested have
OF THE RISK. RICE-BASED FOODS TOP THE LIST.                     FDA ALL HAVE A ROLE IN MEASURABLY REDUCING                                           no enforceable federal safety limit for arsenic, lead
                                                                BABIES’ EXPOSURES.                                                                   and other heavy metals
Our research substantiates the widespread presence of
toxic heavy metals in baby foods found in prior studies,        A number of baby food companies are setting their own
                                                                                                                                                                                                            160




                                                                                                                                                     Number of baby foods tested for heavy metals by HBBF
almost no enforceable limits or guidelines on what’s            standards in the absence of enforceable federal limits or
allowed, and the common occurrence of arsenic and lead          guidance. As these initiatives advance, packaged baby
                                                                                                                                                                                                                   148 baby foods
in excess of recommended levels to protect children’s           foods may be increasingly likely to have lower amounts of                                                                                          No federal
health (Table 1, page 12).                                      heavy metals than homemade varieties.                                                                                                              standard
                                                                                                                                                                                                            120
                                                                                                                                                                                                                   for heavy metals
Although many foods are contaminated, a few stand out: 15       Our findings raise concerns, but on the spectrum from                                                                                              exist for these
                                                                                                                                                                                                                   HBBF-tested
foods consumed by children under 2 years of age account for     worry to action, parents can choose to act. While no                                                                                               baby foods
55 percent of the risk to babies’ brains, according to a new    amount of heavy metals is considered safe, less is better,                                                                                   80
study commissioned by HBBF and detailed in this report          and parents can lower their babies’ exposures by serving a
(see Findings section and Appendix E). These include apple      variety of foods and by following the five safer choices for                                                                                                                    20 baby foods
                                                                                                                                                                                                                                                Tested baby foods
and grape juice, oat ring cereal, macaroni and cheese, puff     baby foods provided above.                                                                                                                                                      with federal standard
snacks and 10 other foods.                                                                                                                                                                                   40
                                                                                                                                                                                                                                                or guidance for
                                                                Many factors can influence a child’s IQ, from nutrition and                                                                                                                     heavy metals
But topping the list are rice-based foods—infant rice cereal,   genetics to environmental toxins like heavy metals (e.g.,
rice dishes and rice-based snacks. These popular baby           Makharia 2016). And many sources ratchet up children’s
                                                                                                                                                                                                              0
foods are not only high in inorganic arsenic, the most toxic    exposures to heavy metals, from drinking water and old                                                                                            Includes 10 different types   Includes apple juice and
form of arsenic, but also are nearly always contaminated        plastic toys to lead in dust from chipping paint and soil                                                                                         of baby food, including       other fruit juices, Infant
                                                                                                                                                                                                                  fruits & veggies, meats and   rice cereals
with all four toxic metals. The new study, completed by the     tracked into the house. But among these factors and                                                                                               meals, snacks, and others
nationally recognized toxicology and economic research          sources, heavy metals in food constitute both a significant
firm Abt Associates, estimates that lead and arsenic in         and a solvable problem. The government, companies
rice-based foods account for one-fifth of the more than         and parents can all act — and are, in many cases, already
11 million IQ points children lose from birth to 24 months      acting — to measurably lower levels in food and to lessen
of age from all dietary sources. This concentrated risk         exposures for babies.
underscores the need for swift action from FDA and baby
food companies to reduce arsenic levels in rice-based
foods.




                                                                W h a t 's i n m y B a b y 's Fo o d ? | h e a l t h y b a b y f o o d . o r g | 3
                                                                                    Exhibit A - Page 119
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RECOMMENDATIONS                                                  We found no evidence to suggest that any brand has
                                                                 reduced heavy metals levels in rice to amounts comparable
Baby food companies                                              to those found in other types of grains, despite at least 10
Our research shows that baby food companies need to              years of significant public attention to the issue that has
take additional steps to reduce heavy metals in their            included widespread consumer alerts and a proposed
products. This action is especially important for foods          federal action level (Consumer Reports 2012 and 2014,
posing the greatest risk to baby’s development, with             HBBF 2017, FDA 2016). Four of seven infant rice cereals
arsenic in rice topping the list, based on a new analysis        tested in this study contained inorganic arsenic in excess of
of children’s IQ loss from lead and arsenic in baby food         FDA’s action level.
detailed in this study.

To reduce arsenic levels, solutions suggested by FDA and
other experts include sourcing rice from fields with lower       FDA
arsenic levels in soil, growing it with natural soil additives   FDA should establish and finalize health-protective
that reduce arsenic uptake by the roots, growing rice            standards for heavy metals, prioritizing foods that offer
strains less prone to arsenic uptake, altering irrigation        the greatest opportunity to reduce exposure, considering
practices, preparing rice with excess water that is poured       additive effects of the multiple metals detected in foods,
off, and blending it with lower arsenic grains in multi-grain    and explicitly protecting against neurodevelopmental
products.                                                        impacts.

                                                                 FDA should implement a proactive testing program for
                                                                 heavy metals in foods consumed by babies and toddlers,
                                                                 similar to the Consumer Product Safety Commission’s
                                                                 program for children’s toys (CPSC 2019).                                             Parents
                                                                                                                                                      HBBF encourages parents to follow our simple actions
                                                                 Because inorganic arsenic in rice is a top source of                                 for five foods to lower children’s exposures to toxic heavy
                                                                 neurodevelopmental risk for children, FDA should act                                 metals, shown in the Executive Summary and in the report
                                                                 immediately to establish a health-based limit for this                               section entitled “What parents can do.” The safer choices
                                                                 chemical in infant rice cereal and other rice-based foods.                           we list contain 80 percent less arsenic, lead and other toxic
                                                                 In setting its 2016 proposed action level, the agency did                            heavy metals, on average, than the riskier foods.
                                                                 not consider IQ loss or other forms of neurological impact,
                                                                 allowed cancer risks far outside of protective limits, and
                                                                 failed to account for children who have unusually high
                                                                 exposures to arsenic in rice (HBBF 2016). Rapid action by
                                                                 FDA to set a protective level will protect children from high
                                                                 levels of arsenic in rice.




                                                                 W h a t 's i n m y B a b y 's Fo o d ? | h e a l t h y b a b y f o o d . o r g | 4
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                         BABY FOOD PURCHASED FOR THE STUDY: STORES, BRANDS, AND FOOD TYPES
                   We shipped to the testing lab 168 baby food containers, including 61
                                                          brands
                                                             Brooks Appliedand       13 diﬀerent                food       types.
              We selected 168 individual containers of 13 different food types under 61 baby food brand names. Testing for 4 toxic heavy metals—arsenic, lead, cadmium, and mercury—
                                          was performed at                  Labs in Bothell, Washington. Only 9 of 168 samples had no detected toxic metals.




     4                                                                                                                13
 toxic heavy                                                                                               types of baby food                     Puﬀs and other snacks                         Teething biscuits,                   Infant rice cereal   Infant cereal: multi-
metals tested                                                                                                                                                                                  including rice rusks                                       and non-rice grains




 168
 containers                                                                                                              Fruit                             Vegetables                      Mixed fruits & veggies                       Meat (jars)         Meals (veggies,
                                                                                                                                                                                                                                                          grains, pasta, meat
                                                                                                                                                                                                                                                               combos)

   61
 baby food
  brands                                                                          14 metropolitan areas and 15 retail chains where food were purchased:
                                    and 50 other brands
                                                                                  Supermarkets, dollarInfant formula
                                                                                                       stores,                   Apple juice
                                                                                                                baby stores, superstores             100% fruit juice                                                                Other drinks for
                                                                                                                                                                                                                                     toddlers/babies



                                                                          Gambell AK
                                                                          Shopper: Alaska Community
                                                                          Action on Toxics




  13
                                                                                     ANICA
                                                                                     Native Store           Minneapolis               Detroit                        Cincinnati                     Portland ME
                                                                                                            Shopper: Healthy Babies   Shopper:                       Shopper: Healthy Babies        Shopper: Learning Disabilities
                                                                                                            Bright Futures            Ecology Center                 Bright Futures                 Association of America



 types of                                   Portland
                                                                                                                                                                                                    Albany
                                                                                                                                                                                                    Shopper: Clean and
                                                                                                                                                                                                    Healthy New York
baby14food
                                            Shopper: Healthy Babies
       metropolitan areas                   Bright Futures
       and 17 retailers from whom
       the foods were purchased:
                                            San Diego                                                                                                                                               Washington DC
       • supermarkets                                                                                                                                                                               Shopper: Healthy Babies
                                            Shopper: Campaign for
                                                                                                                                                                                                    Bright Futures
       • dollar stores                      Healthier Solutions and
                                            Organizacion en California
       • baby stores                        de Lideres Campesinas, Inc.

       • superstores
                                                                                                                                                                                          Charlottesville VA
                                                                                          Boulder                                                                                         Shopper: Healthy Babies
                                                              Shopper: Healthy Babies Bright Futures                                                                                      Bright Futures



                                                   Online retailers                                                                                Houston
                                                                                                             Dallas
                                                                                                                                                Shopper: T.E.J.A.S
                                                                                               Shopper: Texas Environmental Justice                                               Columbia SC
                                                                                                   Advocacy Services (T.E.J.A.S.)                                                 Shopper: Learning Disabilities
                                                                                                                                                                                  Association of America:




                                                                              W h a t 's i n m y B a b y 's Fo o d ? | h e a l t h y b a b y f o o d . o r g | 5
                                                   DRAFT | Healthy Babies   Bright
                                                                    Exhibit A - PageFutures
                                                                                     121    | Houlihan 2019
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SUMMARY: EIGHT FINDINGS FROM NEW BABY FOOD TESTS

HBBF and a national, volunteer network of seven other non-     2. BABIES ARE EXPOSED DAILY, WITH IMPACTS
profit organizations purchased baby food from stores in 14     TO HEALTH.
metropolitan areas across the country. We purchased foods
from 15 retail chains - supermarkets, dollar stores, baby      The four heavy metals we found in baby food have a
stores, superstores - and two online-only retailers.           unique significance: All are developmental neurotoxins
                                                               (e.g., Grandjean and Landrigan 2006, Sanders 2015). They
We commissioned a nationally recognized laboratory with        can harm a baby’s developing brain and nervous system,
expertise in heavy metal analysis, Brooks Applied Labs         both in utero and after birth, for impacts that include the
(BAL) near Seattle Washington, to test for four toxic heavy    permanent loss of intellectual capacity and behavioral
metals—arsenic, lead, cadmium and mercury—in the               problems like attention-deficit hyperactivity disorder
168 baby food containers included in this study. We also       (ADHD). All four metals are linked to IQ loss from exposures
commissioned this lab to test 25 of those foods, those with    early in life. The scientific evidence spans decades and
the highest arsenic levels, for the specific form of arsenic   continues to build: at least 23 studies published in the past
most toxic to people, inorganic arsenic.                       seven years confirm these four heavy metals’ impacts to a
                                                               child’s healthy development (Appendix B). These metals                               Baby food:
We commissioned a second laboratory, Southwest Research        are so prevalent in foods eaten by babies and toddlers that                          Cases of excessive heavy
Institute, to test 25 of those foods for an additional         every child could be exposed daily to all three of the most
neurotoxic contaminant called perchlorate, to further          common heavy metals detected in food - lead, arsenic,                                metal contamination,
illustrate the need for standards that consider the wide       and cadmium - based on an analysis of federal surveys of                             but few safety standards
range of neurotoxins in food. Test results, analytical         children’s dietary patterns and heavy metals levels in food
methods and quality control procedures are in Appendices       (Abt 2019b).
                                                                                                                                                    Four of seven rice cereals tested:
A, C and D. HBBF’s analysis of test results shows:
                                                                                                                                                    Contain inorganic arsenic in excess of FDA’s
                                                                                                                                                    proposed limit of 100 ppb.
                                                               3. FEW SAFETY STANDARDS EXIST.
1. TOXIC HEAVY METALS WERE FOUND IN NEARLY                                                                                                          88 percent of foods tested:
EVERY BABY FOOD TESTED.                                        For 88 percent of baby foods tested by HBBF—148 of 168
                                                                                                                                                    Lack any federal standards or guidance on
                                                               baby foods—FDA has failed to set enforceable limits or issue
                                                                                                                                                    maximum safe levels of toxic heavy metals like
Ninety-five percent of baby foods tested were contaminated     guidance on maximum safe amounts. In 2016 FDA proposed
                                                                                                                                                    arsenic and lead.
with one or more of four toxic heavy metals—arsenic, lead,     limiting inorganic arsenic in infant rice cereal to 100 ppb
cadmium and mercury. All but nine of 168 baby foods            (FDA 2016). Inorganic arsenic exceeded this amount in four
contained at least one metal; most contained more than         of the seven infant rice cereals tested by HBBF (Appendix A).
one. One in four foods had detectable levels of all four       FDA has also proposed limiting inorganic arsenic in apple
metals, in the same baby food container. We tested a wider     juice and has issued guidance for limiting lead in fruit juice,
range of foods than FDA includes in their annual market        but has failed to set specific limits for metals in any other
basket studies, but our results are consistent with the        type of baby food (FDA 2013,2014).
agencies’ findings. In 2017 FDA detected one or more of
these four metals in 33 of 39 types of baby food tested (FDA
2019c).



                                                               W h a t 's i n m y B a b y 's Fo o d ? | h e a l t h y b a b y f o o d . o r g | 6
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4. RECOMMENDED LIMITS ARE OFTEN EXCEEDED.                       Results of IQ analysis: 15 foods account for 55% of total IQ loss from children’s dietary exposures
                                                                to arsenic and lead in baby food
Arsenic exceeded FDA’s guidance level in four of seven
infant rice cereals tested. In the absence of protective                                                                                     Percent of total harm (fraction of
                                                                                                                                             total IQ points lost for children under           Primary toxic metal
federal standards for other baby foods, public health
                                                                  Food consumed by child age 0 - 24 months                                   2, from lead and arsenic in food)                 of concern
organizations have recommended limits and urged their
adoption by companies and FDA. Eighty-three percent              Rice dishes, including with beans & veggies                                 10.0%                                             Arsenic
of baby foods tested had more lead than the 1-ppb limit          Milk, whole*                                                                8.4%                                              Arsenic
endorsed by public health advocates (EDF 2017). Recent
                                                                 Rice, white and brown                                                       7.0%                                              Arsenic
FDA tests also found heavy metals in baby food above
safe limits, including maximum allowable amounts for             Apple juice                                                                 6.1%                                              Arsenic
children established by the European Food Safety Authority       Infant formula*                                                             5.3%                                              Lead
and the U.S. Agency for Toxic Substances and Disease             Fruit juice blend (100% juice)                                              4.1%                                              Arsenic
Registry (Spungen 2019). Table 1 (page 12) shows other
exceedances.                                                     Infant rice cereal                                                          2.7%                                              Arsenic
                                                                 Grape juice                                                                 2.0%                                              Lead and arsenic
                                                                 Cheerios and other oat ring cereals                                         1.6%                                              Arsenic
5. POPULAR BABY FOODS ESTIMATED TO POSE
                                                                 Sweet potato (baby food)                                                    1.6%                                              Lead and arsenic
THE GREATEST RISK ARE AMONG THE MANY FOODS
THAT LACK SPECIFIC LIMITS FOR HEAVY METALS.                      Soft cereal bars and oatmeal cookies                                        1.4%                                              Arsenic
                                                                 Macaroni and cheese                                                         1.4%                                              Lead and arsenic
HBBF commissioned a new analysis from Abt Associates,
                                                                 Puffs and teething biscuits                                                 1.3%                                              Lead and arsenic
a nationally recognized toxicology and economic research
group, to accompany our laboratory tests. The work               Bottled drinking water                                                      1.2%                                              Arsenic
included an assessment of IQ loss attributed to lead and         Fruit yogurt                                                                1.2%                                              Lead
arsenic in baby food and provided food-by-food rankings
                                                                *Note: Milk and infant formula appear on the list not because of high metals levels — arsenic and lead concentrations are relatively low in both compared to some other
to show which foods are driving the bulk of the risk. Abt’s     types of baby food, according to HBBF and FDA tests — but because American children drink so much of them. These are nutritious foods, and there is no action needed
analysis estimates that children age 0 to 24 months lose        by parents to change what they serve their children.
more than 11 million IQ points from exposure to arsenic         Source: HBBF-commissioned analysis of federal data in national surveys of food contamination and consumption (see Appendix E and Abt 2019b for details).
and lead in food. Just 15 foods consumed by these children
account for 55 percent of the total estimated IQ loss. Heavy
metals in 10 of these foods are unregulated, lacking any FDA    by parents to change what they serve their children. But                               Two results stand out from the IQ analysis. First, during
guidance or regulation to limit the levels. Abt’s analysis is   FDA action to set limits in milk and formula for arsenic and                           the first two years of life, American children lose four times
described in Appendix E. The analysis considers all foods       lead—and cadmium as well, which is often detected—would                                more IQ points from arsenic contamination in food than
consumed by children under 2, from store-bought and             create benefits extending to millions of children.                                     from lead contamination. Second, rice-based foods—
homemade foods for babies to the wider range of packaged                                                                                               including infant rice cereal, rice dishes and rice-based
and homemade foods that toddlers eat.                           Similarly, bottled water appears on the list not because high                          snacks—contribute nearly one-fifth of the total estimated
                                                                metals levels are common, but because so many children                                 IQ loss. These results show a crucial need for swift action
Milk and infant formula appear on the list of 15 foods          drink it. Bottled water is no safer than filtered tap water and                        from FDA and baby food companies to dramatically reduce
not because of high metals levels—arsenic and lead              generates plastic waste that is easily avoided by choosing                             arsenic levels in rice-based foods.
concentrations are relatively low in both compared to some      tap water.
other types of baby food, according to HBBF and FDA tests—
but because American children drink so much of them.
These are nutritious foods, and there is no action needed


                                                                W h a t 's i n m y B a b y 's Fo o d ? | h e a l t h y b a b y f o o d . o r g | 7
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6. ADDITIONAL BABY FOOD TESTS BY                                                                                                                      yet available to assess the IQ drop expected with each
HBBF DETECTED ANOTHER NEUROTOXIC                                                                                                                      successive exposure for a child. Those data are urgently
CONTAMINANT—PERCHLORATE.
                                                                      New tests by HBBF find                                                          needed. And other neurotoxic pollutants in food would add
                                                                      perchlorate contamination                                                       to the cumulative impacts, each time a child eats.
HBBF’s tests uncovered one additional neurotoxin in food. We          in 19 of 25 baby foods
sent new containers of 25 of the foods tested for heavy metals                                                                                        For parents, the answer is not switching to homemade
to a separate laboratory, to be analyzed for a neurotoxic             Number of baby foods with perchlorate, of total                                 purees instead of store-bought baby foods. Federal data
pollutant called perchlorate. The lab detected it in 19 of 25         tested (and maximum level found):                                               shows that baby food sometimes has higher levels and
foods tested (Appendix D and SWRI 2019). All 19 foods with                                                                                            sometimes lower levels of heavy metals, compared to
detectable perchlorate also contained heavy metals, and 12            Infant rice cereal:             2 of 5 - 7.1 ppb                                comparable fresh or processed foods purchased outside
contained all four heavy metals included in our tests.                Other infant cereals:           9 of 9 - 7.8 ppb                                the baby food aisle. For example, peaches and green
                                                                                                                                                      beans from the baby food aisle are less likely to contain
                                                                      Infant formula:                 2 of 3 - 11.4 ppb
Perchlorate disrupts thyroid functions crucial to brain                                                                                               detectable levels of lead than canned versions of these
development and has been linked to IQ loss among                      Fruits & vegetables:            4 of 4 - 19.8 ppb                               foods, while carrot and sweet potato baby foods have
children born to mothers with thyroid dysfunction, who                Snacks:                         2 of 4 - 4.6 ppb                                higher lead detection rates than their peeled, fresh
are more vulnerable to perchlorate toxicity (Taylor 2014).                                                                                            counterparts (EDF 2019b).
It is a rocket fuel component used since the Cold War. In             See Appendix D for details. “ppb” = parts per billion, or micrograms
2005 FDA approved its use as an antistatic in plastic food            per kilogram.                                                                   In most cases it’s not the amount of a particular
packaging, and in 2016 expanded the approval to cover dry                                                                                             contaminant in baby food that causes concern. Our tests
food handling equipment. Perchlorate is also a degradation                                                                                            show that most metals are at low levels and by themselves
product of hypochlorite used to disinfect food processing                                                                                             in any given food raise little concern. It’s babies’ daily
equipment. Levels in children’s food increased dramatically      a wide range of breakfast cereals, grains and beans are                              exposures to the many neurotoxins in baby foods that
from 2005 to 2012 (Abt 2016, EDF 2017b).                         contaminated with the pesticide glyphosate (Roundup).                                drive the urgency for action. When FDA and baby food
                                                                 All of these pollutants and pesticides are neurotoxic                                companies address one contaminant in one type of food,
Our tests did not find the high spikes seen previously (EDF      or linked to babies being born small (from mothers’                                  children benefit. But truly protecting children necessitates
2017b), but our results suggest a prevalence that could pose     exposures), with resulting risks for lower IQ and other                              addressing the many contaminants that collectively harm a
risks during pregnancy and infancy. The results support          neurological or behavioral impacts (e.g., Flensborg-                                 child’s healthy development. HBBF supports the FDA’s and
the need for FDA to ban all food uses, especially given that     Madsen 2017, Parvez 2018, Gillam 2017, FOE 2019, EWG                                 baby food companies’ efforts to continually lower the levels
perchlorate adds to neurodevelopmental risks already             2019 and 2020, CSFPP 2017).                                                          of heavy metals and other neurotoxic contaminants in all
imposed by the heavy metal contamination in baby food.                                                                                                baby foods. Specific recommendations include:



                                                                 8. ACTIONS NEEDED BY FDA AND BABY FOOD                                               FDA:
7. EXPOSURES AND IMPACTS ADD UP,                                 COMPANIES GO BEYOND HEAVY METALS.                                                    HBBF agrees with the mission of FDA’s Toxic Elements
INCREASING URGENCY FOR ACTION.                                                                                                                        Working Group to reduce exposures to the greatest extent
                                                                 Exposures and impacts add up. The new analysis of                                    possible. We urge the agency to:
Heavy metals and perchlorate are not the only food               children’s IQ loss (Abt 2019b) provides a starting point
contaminants raising the specter of IQ loss and other            for understanding these combined impacts. It considers                               •   Set health-protective standards for heavy metals,
neurodevelopmental deficits for babies. Among recent             one health impact—IQ loss—associated with 2 metals in                                    prioritizing foods that offer FDA the greatest opportunity
examples, apples and spinach are often tainted with              food, arsenic and lead. Mercury in baby food would also                                  to reduce exposure, considering additive effects of
organophosphate pesticides, cheeses including mac                contribute to IQ loss, and preliminary data suggests that                                the multiple metals detected in foods, and explicitly
‘n’ cheese powder contain phthalate plasticizers, and            cadmium would as well; for these metals, data were not                                   protecting against neurodevelopmental impacts.




                                                                 W h a t 's i n m y B a b y 's Fo o d ? | h e a l t h y b a b y f o o d . o r g | 8
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•   Strengthen and finalize standards for arsenic in apple      Baby food companies:                                                                 the Environmental Defense Fund. All companies that
    juice and infant rice cereal, and expand the range of       HBBF is a member of the Baby Food Council and supports its                           source ingredients, manage the upstream supply chain,
    foods covered. HBBF supports recommendations for            goal to reduce heavy metals in baby food to levels as low as                         and nationally market foods for children six to 24 months
    a 3-ppb inorganic arsenic standard and 1-ppb lead           reasonably achievable. Other companies can join this effort,                         of age in the United States are welcome to participate
    standard that apply to all fruit juice, and a health-       as described below from the organization’s charter:                                  in the Council. Since its creation, Healthy Babies Bright
    protective standard for arsenic in infant rice cereal and                                                                                        Futures has joined the Council as a member and the
    all other rice-based foods.                                 The Baby Food Council is a group of infant and toddler                               American Academy of Pediatrics and the Food and Drug
                                                                food companies, supported by key stakeholders, seeking                               Administration have agreed to serve as technical advisors
•   Implement a proactive testing program for heavy metals      to reduce heavy metals in the companies’ products to                                 to the effort. For more information, contact Randy Worobo
    in foods consumed by babies and toddlers, similar to        as low as reasonably achievable usage best-in-class                                  of Cornell University at rww8@cornell.edu.
    the Consumer Product Safety Commission’s program for        management practices. The Council was created in
    children’s toys (CPSC 2019).                                January 2019 in partnership with Cornell University and                                                         – The Baby Food Council, 2019

•   Ensure lead is not present in food contact materials
    where it could get into food.

•   Establish a goal of no measurable amounts of cadmium,
    lead, mercury, and inorganic arsenic in baby and                     HBBF urges all baby food companies to establish
    children’s food, in recognition of the absence of a known
    safe level of exposure, and work with manufacturers to               a goal of no measurable amounts of cadmium,
    achieve steady progress.
                                                                         lead, mercury, and inorganic arsenic in baby and
                                                                         children’s food, in recognition of the absence of a
                                                                         known safe level of exposure, and to achieve steady
                                                                         progress toward that goal.




                                                                W h a t 's i n m y B a b y 's Fo o d ? | h e a l t h y b a b y f o o d . o r g | 9
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                                                                                                                                                          0          20         40     60       80      100

WHAT PARENTS CAN DO                                                                                                                                       ➊ SNACKS

THE SAFER FOOD CHOICES OUTLINED HERE HAVE 80 PERCENT LOWER HEAVY METAL LEVELS,                                                                                Puﬀ snacks (rice)
ON AVERAGE, THAN THE HIGHER RISK FOODS.                                                                                                                       98 ppb Rice cereal
                                                                                                                                                              Infant
                                                                                                                                                              85 ppb
An abundance of online advice instructs parents on ways to reduce children’s exposures to heavy metals in foods. HBBF has
streamlined those tips down to simple actions that cover five foods posing high risks to babies’ neurological development,
based on Abt’s new analysis (Abt 2019b). This allows parents to focus on changes that are estimated to provide the greatest                                     Rice-free             93% less
benefit for babies’ brains.                                                                                                                                     baby  snacks
                                                                                                                                                                     Other Infant
                                                                                                                                                                7.1 ppb               toxicless
                                                                                                                                                                                      84%   heavy metals
                                                                                                                                                                     Cereals
Note: For each pair of foods shown, concentrations shown and the comparative term “less toxic metals” are based on the average                                       14 ppb           Arsenic (inorganic)
of the sum of four metals (inorganic arsenic, lead, cadmium and mercury) for the available samples of each food, unless noted
                                                                                                                                                          0          20         40     60       80      100
otherwise. Averages were computed using data from the current study combined with data from FDA’s market basket study (the
                                                                                                                                                          0          20         40     60       80      100
Total Diet Study, FDA 2014-2017). The abbreviation “ppb” refers to parts per billion.
                                                                                                                                                          ➋ TEETHING FOODS
➊      Puffs and other snacks made with rice flour
       contain arsenic, lead and cadmium at relatively high
levels compared to other baby foods. Parents can reduce
                                                                   ➋     Teething biscuits and rice rusks often contain
                                                                         arsenic, lead, and cadmium. They also lack
                                                                   nutrients and can cause tooth decay. Doctors and
                                                                                                                                                              Infant Rice
                                                                                                                                                              Teething    cereal
                                                                                                                                                                        biscuits
                                                                                                                                                              85rice
                                                                                                                                                              &   ppbrusks
children’s exposures by choosing rice-free packaged snacks         dentists recommend other solutions for baby teething                                        Puﬀ snacks (rice)
                                                                                                                                                              64
                                                                                                                                                               98 ppb
                                                                                                                                                                  ppb
instead, which have 93 percent less toxic metal residues,          pain (Colgate 2020, AAP 2020). Options include a frozen
on average. Multi-grain snacks that include rice would also        banana, a peeled and chilled cucumber, a clean, cold
have lower levels than snacks containing rice as the only          wet washcloth or spoon. Healthcare professionals advise
grain. Other alternatives come from Consumer Reports,              parents to stay with their baby to watch for any choking.                                    Other  soothing
                                                                                                                                                                    Other Infant
                                                                                                                                                                foods for             84% less
                                                                                                                                                                                      91%  less
which recommends snacks that are rich in nutrients and                                                                                                              Cereals
                                                                                                                                                                Rice-free
                                                                                                                                                                teething
                                                                                                                                                                    14snacks
                                                                                                                                                                       ppb            Arsenic
                                                                                                                                                                                      toxic less
                                                                                                                                                                                      93%      (inorganic)
                                                                                                                                                                                             heavy   metals
                                                                                                                                                                baby
low in metals, and that can be prepared and served to be
appropriate for young children (such as soft-cooked, diced
or mashed): apples, applesauce (unsweetened), bananas,
                                                                   ➌      Infant rice cereal is the top source of arsenic in
                                                                          infant’s diets. HBBF’s 2017 study of infant cereals
                                                                   found that non-rice and multi-grain varieties on grocery
                                                                                                                                                                6.0 ppb
                                                                                                                                                                7.1 ppb               toxic heavy metals
                                                                                                                                                          0          20         40     60       80      100
                                                                                                                                                          0          20         40     60       80      100
barley with diced vegetables, beans, cheese, grapes (cut           shelves nationwide—including oatmeal, corn, barley,
                                                                                                                                                          0          20         40     60       80      100
lengthwise), hard-boiled eggs, peaches, and yogurt (CR             quinoa, and others—contain 84 percent less inorganic
2018). A caveat for non-rice snacks—HBBF tests showed              arsenic than leading brands of infant rice cereal, on average.
lower metals levels in non-rice snacks, including crackers,        Federal data shows 64 percent less total heavy metals,
                                                                                                                                                          ➌ CEREAL                                                 Carr
                                                                                                                                                              Teething biscuits
                                                                                                                                                              Fruit                                                28 p
bars and yogurt snacks, but federal data shows relatively          on average, in infant non-rice cereals compared to rice                                    & riceJuice
                                                                                                                                                                     rusks
high arsenic in a popular snack we did not test: oat ring          varieties. The alternates include reliable and affordable                                  8.2 ppb
                                                                                                                                                              64 ppb
cereals like Cheerios (FDA 2019c). We recommend avoiding           choices for parents seeking to reduce infants’ exposures to                                Infant Rice cereal
                                                                                                                                                              85 ppb                                               Swe
this choice for snacks.                                            arsenic (HBBF 2017a).
                                                                                                                                                                                                                   19 p
                                                                                                                                                                 Other soothing
                                                                                                                                                              Tapfoods
                                                                                                                                                                   Water for          91% less
                                                                                                                                                                                      68%
   Rice is a leading source of arsenic exposure for young children. Parents can serve other grains like oats, wheat and                                       2.6teething
                                                                                                                                                                  ppb                                              Othe
                                                                                                                                                                                      toxic heavy metals
   barley instead of rice to help cut their family’s exposures. Cooking rice in extra water that is poured off before serving                                 (typical)Other Infant
                                                                                                                                                                 6.0 ppb                                           Vegg
                                                                                                                                                                                      84% less
   can cut the arsenic levels by up to 60 percent, according to FDA studies (FDA 2016). The lowest arsenic levels are found                                            Cereals                                     7.4 pp
                                                                                                                                                                       14 ppb         Arsenic (inorganic)
   in basmati rice grown in California, India, and Pakistan. White rice has less arsenic than brown rice. Rice from Arkansas,
                                                                                                                                                          0          20
                                                                                                                                                                     2          40
                                                                                                                                                                                4      60
                                                                                                                                                                                       6        80
                                                                                                                                                                                                8       100
                                                                                                                                                                                                        10     0
   Louisiana, Texas, or simply “U.S.” has the highest levels, according to testing by Consumer Reports (CR 2014).
                                                                                                                                                          0           20        40     60       80       100

                                                                                                                                                                                                                   Carr
                                                                   W h a t 's i n m y B a b y 's Fo o d ? | h e a l t h y b a b y f o o d . o r g | 1 0       Fruit Juice                                          28 p
                                                                                        Exhibit A - Page 126                                                  8.2 ppb
                 6.0 ppb
 )
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           0          20           40         60        80        100
     100
           ➍ DRINKS
                                                                              ➍       Apple, pear, grape and other fruit juices contain
                                                                                      traces of lead and arsenic. Levels aren’t as high as in
                                                                               some other
                                                                             Carrot   (Babyfoods,
                                                                                              Food)but toddlers drink juice often, so it’s a
               Fruit Juice                                                   28top
                                                                                 ppbexposure source. Tap water is a better drink for thirsty
               8.2 ppb                                                         toddlers. Another alternative is whole or pureed fruits
                                                                               (like applesauce), which offer more fiber and nutrients than
                                                                             Sweet
                                                                               juice. Potato    (BabyAcademy
                                                                                      The American    Food) of Pediatrics warns parents
                                                                             19ofppb
                                                                                  juice’s high caloric and sugar content. It advises no fruit
               Tap Water                                                       juice for children under 1 year of age, and half a cup or less
                                             68% less
               2.6 ppb                                                         daily for children under 3. AAP recommends that if fruit
                                             toxic heavy metals             Other Fruits &                   Up to 73% less
               (typical)                                                       juice is(Baby
                                                                            Veggies     given, Food)
                                                                                               it should be offered as part of a meal, not
                                                                                                             toxic heavy metals
etals                                                                       7.4diluted
                                                                                 ppb with water and sipped over time, because of tooth
                                                                               decay risks (AAP 2017b, Heyman 2017).
           0              2        4          6         8         10    0            5           10           15           20            25           30

     100

           ➎ FRUITS & VEGGIES                                                 ➎     Carrots and sweet potatoes are a great source of
                                                                                    Vitamin A and other nutrients your baby needs. But
                                                                              they also contain higher levels of lead and cadmium than
               Carrot (Baby Food)                                             other fruits and vegetables, on average. Yet they are an
               28 ppb
                                                                              important part of a child’s diet, and a common baby food
                                                                              ingredient. Variety is the solution: parents can serve these
                                                                              vegetables along with other fruits and vegetables during the
               Sweet Potato (Baby Food)
               19 ppb                                                         week, for benefits without the excess risk.



etals          Other Fruits &                Up to 73% less
               Veggies (Baby Food)           toxic heavy metals
               7.4 ppb

     10    0          5       10        15         20        25    30




                                                                              W h a t 's i n m y B a b y 's Fo o d ? | h e a l t h y b a b y f o o d . o r g | 1 1
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Table 1: Three take-aways:
Our research substantiated the widespread presence of four toxic heavy metals in baby foods, almost no enforceable federal standards to limit what’s
allowed, and the common occurrence of arsenic and lead in excess of recommended levels to protect children’s health.


What did                                                    1. Widespread detections of toxic heavy metals
                                                    95 percent of baby foods tested were contaminated with one or more toxic heavy metals,
                                                                                                                                                                                            2. Few enforceable limits for baby food
                                                                                                                                                                                            For 10 of 13 baby food types tested, there is no FDA guidance
                                                                                                                                                                                                                                                                                                                          3. Gaps in protecting babies’ health
                                                                                                                                                                                                                                                                                                 83% of baby foods tested had more lead than the 1-ppb limit endorsed by public health advocates.
our tests of 168                                              including arsenic and lead. No food type was free of contamination.                                                                        on safe limits for toxic heavy metals.                                                               Arsenic exceeded FDA’s guidance level in 4 of 7 infant rice cereals tested.
                                                                          Our tests found four toxic heavy metals in baby food                                                    Has FDA issued a safe limit for toxic heavy metals in the baby foods we tested?                                                  Did our test results exceed recommended safe limits for baby food?
baby foods find?                                                                             ( = detected)                                                                                  Limits endorsed by health organizations are also shown.                                                                               ( = safe level exceeded in HBBF tests)
                                                        Arsenic                        Lead                      Cadmium                        Mercury                 Arsenic (inorganic)                    Lead                        Cadmium                     Mercury                         Arsenic                           Lead                         Cadmium                  Mercury
               Puffs and other snacks                                                                                                                                             No                             No                            No                         No
                                                    19 of 21 foods                21 of 21 foods               19 of 21 foods                14 of 21 foods                                                1 ppb (EDF)                                                                             No limit exists             All 21 foods exceed 1               No limit exists
                                                                                                                                                                                                                                                                                                                                      ppb limit.
                     Teething biscuits,                                                                                                                                           No                             No                            No                         No
                   including rice rusks             10 of 10 foods                10 of 10 foods               10 of 10 foods                10 of 10 foods                                                1 ppb (EDF)                                                                             No limit exists             All 10 foods exceed 1               No limit exists
                                                                                                                                                                                                                                                                                                                                     ppb limit.
                          Infant formula                                                                                                                                          No                             No                            No                         No
                                                  8 of 13 containers           13 of 13 containers           8 of 13 containers            1 of 13 containers                                              1 ppb (EDF)                                                                             No limit exists              12 of 13 containers                No limit exists
                                                                                                                                                                                                                                                                                                                                exceed 1 ppb limit.
                       Infant rice cereal                                                                                                                                   Yes - limits:                        No                            No                         No
                                                     7 of 7 cereals               7 of 7 cereals                7 of 7 cereals               7 of 7 cereals               100 ppb (FDA)                    1 ppb (EDF)                                                                          7 cereals tested. 4            All 7 cereals exceed 1              No limit exists
                                                                                                                                                                          25 ppb (HBBF)                                                                                                         exceed FDA limit. 7                   ppb limit.
                                                                                                                                                                                                                                                                                                exceed HBBF limit.
                 Infant cereal - multi &                                                                                                                                          No                             No                            No                         No
                 single non-rice grains            11 of 11 cereals              10 of 11 cereals             11 of 11 cereals              2 of 11 cereals                                                1 ppb (EDF)                                                                             No limit exists            9 of 11 cereals exceed 1             No limit exists
                                                                                                                                                                                                                                                                                                                                     ppb limit.
               Meals (veggies, grains,                                                                                                                                            No                             No                            No                         No
                pasta, meat combos)                  7 of 10 foods                10 of 10 foods               10 of 10 foods                2 of 10 foods                                                 1 ppb (EDF)                                                                             No limit exists             All 10 meals exceed 1               No limit exists
                                                                                                                                                                                                                                                                                                                                      ppb limit.                                          No limit has been set
                                  Veggies                                                                                                                                         No                             No                            No                         No                                                                                                              for mercury in baby
                                                                                                                                                                                                                                                                                                                                                                                           food, but levels are
                                                 25 of 38 containers           38 of 38 containers          34 of 38 containers            9 of 38 containers                                              1 ppb (EDF)                                                                             No limit exists              33 of 38 containers                No limit exists          low compared to
                                                                                                                                                                                                                                                                                                                                exceed 1 ppb limit.                                        amounts in canned
                                     Fruits                                                                                                                                       No                             No                            No                         No                                                                                                                 tuna and other
                                                                                                                                                                                                                                                                                                                                                                                                seafood.
                                                  8 of 16 containers           10 of 16 containers           5 of 16 containers            3 of 16 containers                                              1 ppb (EDF)                                                                             No limit exists               8 of 16 containers                No limit exists
                                                                                                                                                                                                                                                                                                                                exceed 1 ppb limit.
             Mixed fruits and veggies                                                                                                                                             No                             No                            No                         No
                                                 10 of 14 containers           14 of 14 containers          12 of 14 containers            3 of 14 containers                                              1 ppb (EDF)                                                                             No limit exists              11 of 14 containers                No limit exists
                                                                                                                                                                                                                                                                                                                                exceed 1 ppb limit.
                              Meat (jars)                                                                                                                                         No                             No                            No                         No
                                                       1 of 6 jars                  5 of 6 jars                   1 of 6 jars                  1 of 6 jars                                                 1 ppb (EDF)                                                                             No limit exists            2 of 6 jars exceed 1 ppb             No limit exists
                                                                                                                                                                                                                                                                                                                                        limit.
                              Apple juice                                                                       None found                    None found                    Yes - limits:                  Yes - limits:                       No                         No                                                                                              «
                                                      3 of 4 juices                4 of 4 juices                0 of 4 juices                 0 of 4 juices                10 ppb (FDA)                   50 ppb (FDA)                     1 ppb (CR)                                        4 juices tested. 0 exceed       4 juices tested. 0 exceed        4 juices tested. 0 exceed
                                                                                                                                                                            3 ppb (CR)                    1 ppb (AAP)                                                                          FDA’s 10 ppb limit. 2           FDA’s 50 ppb limit. 1                 1 ppb limit.
                                                                                                                                                                                                                                                                                               exceed a 3 ppb limit.            exceeds 1 ppb limit.
       Juice - 100% fruit, non-apple                                                                                                          None found                          No                       Yes - limits:                       No                         No                                                                                              «
                                                      4 of 5 juices                4 of 5 juices                2 of 5 juices                 0 of 5 juices                  3 ppb (CR)                   50 ppb (FDA)                     1 ppb (CR)                                        5 juices tested. 2 exceed       5 juices tested. 0 exceed        5 juices tested. 0 exceed
                                                                                                                                                                                                          1 ppb (AAP)                                                                               3 ppb limit.               FDA’s 50 ppb limit. 3                 1 ppb limit.
                                                                                                                                                                                                                                                                                                                                 exceed AAP limit.
                      Other drinks for                                                                                                        None found                           No                           No                  No                                    No
                   babies and toddlers               3 of 5 drinks                 4 of 5 drinks                2 of 5 drinks                 0 of 5 drinks           W h a t 's i n m y B a b y 's Fo o d ?1 ppb
                                                                                                                                                                                                               | h(EDF)
                                                                                                                                                                                                                   ealthybabyfood.org | 12                                                         No limit exists             2 of 5 drinks exceed 1              No limit exists
                                                                                                                                                                                                                                                                                                                                      ppb limit.

Information on safety standards and recommended limits can be found in these references: FDA – 100 ppb arsenic in infant rice cereal (FDA 2016); HBBF (Healthy Babies Bright Futures) – 25 ppb arsenic in infant rice cereal (HBBF 2017a,b); FDA – 10 ppb arsenic in apple juice (FDA 2013); CR (Consumer Reports) – 3 ppb arsenic in apple and other fruit juice (CR 2019a,b);
FDA – 50 ppb limit for lead in fruit juice (FDA 2004); CR and EDF (Environmental Defense Fund) – endorsement of AAP (American Academy of Pediatrics) 1-ppb lead-in-water limit to apply to fruit juice (CR 2019a,b; AAP 2017a); EDF – goal of 1 ppb for lead in baby food (EDF 2017a).




                                                                                                                                                                      W h a t 's i n m y B a b y 's Fo o d ? | h e a l t h y b a b y f o o d . o r g | 1 2

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HEALTH RISKS: THE SCIENTIFIC EVIDENCE

Fresh research continues to confirm widespread exposures     ARSENIC                                                                                levels cause lower academic achievement, attention
and troubling risks for babies exposed to the four heavy                                                                                            deficits and behavior problems. No safe level of exposure
metals included in this study, including at least 23 peer-   Arsenic widely contaminates food and drinking water from                               has been identified.
reviewed studies published in the past seven years           its long-time use as a pesticide and an additive in animal
revealing IQ loss, attention deficits, and other learning    feed, from its release at mining and industrial operations,                            Evidence of lead’s toxicity spans decades. Among recent
and behavioral impacts among children who are exposed        and from natural sources. Arsenic causes bladder, lung                                 studies are two that included 80,000 Detroit and Chicago
through food and other sources (Appendix B). Three of the    and skin cancer and also harms the developing brain and                                school children, 3rd grade through middle school, whose
metals, arsenic, lead and cadmium, are also potent human     nervous system. In the peer-reviewed scientific literature, at                         standardized math and reading tests were correlated to
carcinogens.                                                 least 13 studies link arsenic to IQ loss for children exposed                          their blood lead levels measured at birth or early childhood.
                                                             in utero or during the first few years of life (Rodriguez-                             “Early childhood lead exposure is associated with poorer
Widespread exposure to toxic heavy metals shifts the         Barranco 2013).                                                                        achievement… even at very low blood lead levels,” concluded
population-wide IQ curve down. It nudges more children                                                                                              one of the research teams (Zhang 2013, Evens 2015).
into special education, and ratchets down the IQ of the      Among evidence supporting arsenic’s ability to harm the
most creative and intellectually gifted children. For an     brain is a 2014 assessment of nearly 300 third to fifth graders                        Lead widely contaminates food from its long-time use as
individual child, the harm appears to be permanent (e.g.,    in Maine, finding an average loss of 5-6 IQ points among                               a pesticide, its presence in food processing equipment (in
Grandjean and Landrigan 2014, Wasserman 2007 and 2016,       those who drank well water contaminated with arsenic at or                             older brass, bronze, plastic, and coated materials), and
Hamadani 2011).                                              above 5 parts per billion. This level is common in some parts                          its presence at elevated levels in soil, either natural or
                                                             of the U.S. and is lower than the legal limit in public water                          accumulated from industrial pollution. In October 2018
Instead of overt poisoning, the low, daily exposures         supplies (10 parts per billion) (Wasserman 2014). Studies                              FDA cut in half its maximum daily intake limit for lead in
children face from heavy metals in food and other sources    find lasting impacts when children are exposed to arsenic                              children’s food. An estimated 2.2 million children six years
create “subclinical decrements in brain function” with       early in life, including persistent IQ deficits in children two                        or younger exceed the new intake limit (EDF 2019a).
impacts on a global scale. Scientists write that the         years after their polluted drinking water was replaced,
exposures “diminish quality of life, reduce academic         cognitive deficits among school-age children exposed
achievement, and disturb behaviour, with profound            early in life, and neurological problems in adults who were
consequences for the welfare and productivity of entire      exposed to arsenic-poisoned milk as infants (Wasserman                                    Beyond Food:
societies” (Grandjean and Landrigan 2014).                   2007 and 2016, Hamadani 2011, Tanaka 2010). There is no
                                                             evidence that the harm caused by arsenic is reversible.
                                                                                                                                                       Other sources of lead exposure
                                                                                                                                                       For many children the biggest source of lead
                                                                                                                                                       exposure is not food, but lead paint in homes built
                                                             LEAD                                                                                      before 1978. Lead from chipping and peeling paint
                                                                                                                                                       builds up in house dust and sticks to children’s
                                                             Over the past 40 years lead has been restricted in children’s                             hands. It also flakes off of a home’s exterior to
                                                             toys and phased out of gasoline, pesticides, paint, and food                              contaminate soil in the yard.
                                                             contact surfaces, including lead solder from cans. But lead
                                                             that lingers in homes, soil, and water remains a festering                                To learn if you have lead paint, have your home
                                                             problem. The toxic metal continues to contaminate the                                     inspected by a licensed lead inspector. You can also
                                                             blood of nearly every child tested. Although exposures are                                use a simple test kit sold at many hardware stores.
                                                             lower now than in the past, lead-induced brain damage still                               Learn more: https://www.epa.gov/lead/protect-
                                                             accounts for an estimated 23 million IQ points lost among                                 your-family-exposures-lead
                                                             children under five (Bellinger 2012). Even very low exposure


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CADMIUM                                                            MERCURY

Cadmium is a heavy metal linked to neurotoxicity and               Mercury is a global pollutant released from coal-fired
cancer, and to kidney, bone and heart damage. It has many          power plants, mining operations and other sources. It
industrial uses and is a common contaminant in food and            contaminates the biosphere and the food chain. Seafood
the environment. It lacks the name recognition of arsenic          is the dominant source of mercury exposure for children
and lead, but may deserve an equal share of attention from         and adults. It contains a particularly toxic form of mercury
parents, companies, and regulators, since it also displays a       called methylmercury that increases risk for cardiovascular
troubling ability to cause harm at low levels of exposure.         disease for adults and poor performance on tests of vision,
                                                                   intelligence, and memory for children exposed in utero.
A 2015 review of recent scientific literature identified 16
studies on the neurotoxic impacts of cadmium on children.          Evidence that the developing brain is particularly sensitive
Among these is research by Harvard scientists reporting a          to mercury extends back decades, covering two mass
tripling of risk for learning disabilities and special education   poisonings and major longitudinal studies of lower
among children with higher cadmium exposures, at levels            exposures from seafood, among other research (NAS
common among U.S. children and previously thought to be            2000). Recently, scientists found a four-fold higher risk
safe (Ciesielski 2012).                                            for IQ scores under 80, the clinical cut-off for borderline
                                                                   intellectual disability, among school-age children exposed
A 2019 study by FDA found that cadmium in food exceeds             to high levels of mercury in utero (Jacobsen 2015).
amounts safe for children: In its 2014-2016 market basket
tests, FDA detected cadmium in 65 percent of nearly 3000           Although mercury was detected in 32 percent of the 168
food samples tested, and estimated that children’s average         baby foods tested in this study, levels were far lower than
exposures exceed safe limits established by both the               typical amounts in tuna and other seafood. FDA and EPA’s
European Food Safety Authority and the U.S. Agency for Toxic       joint advisory gives safer seafood choices for pregnant
Substances and Disease Registry (Spungen 2019).                    women and young children (EPA and FDA 2019). A number
                                                                   of NGOs have published more conservative advice to
                                                                   protect women who eat seafood frequently (EWG 2014,
                                                                   MBASW 2020). Mercury levels in canned tuna exceed
                                                                   the legal limit under California’s Proposition 65, but an
                                                                   attempt to require the law’s mandated warnings on canned
                                                                   tuna failed in 2006 when an appeals court found that the
                                                                   California law was preempted by the FDA/EPA seafood
                                                                   advisory (Kone 2006).




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SAFETY STANDARDS

The four toxic metals covered in this study—
                                                                 FDA also tests a variety of foods on store shelves in their                            FDA’S PROPOSED GUIDANCE FOR ARSENIC
arsenic, lead, cadmium and mercury—were                          Total Diet Study market basket program, focusing on foods                              IN INFANT RICE CEREAL REMAINS UNFINALIZED
regulated decades ago in sources as wide-                        that are commonly eaten or likely to have high levels of                               DESPITE PROMISES TO COMPLETE IN 2018.
ranging as drinking water, gasoline and                          metals (FDA 2019c). FDA’s compliance program conducts
                                                                 occasional testing programs that target select, high-risk                              FDA’s 2016 proposed limit for inorganic arsenic in infant rice
children’s toys.
                                                                 foods. These data have helped FDA prioritize its work to                               cereal—its 100 parts-per-billion “action level”—falls short of
                                                                 reduce heavy metals levels in baby food.                                               what is needed to protect children. In proposing the level,
Regulations have also eliminated lead from food contact                                                                                                 FDA did not consider IQ loss or other forms of neurological
surfaces, including lead solder from food cans (Bolger           In 2016 FDA proposed limiting inorganic arsenic in infant                              impact, allowed cancer risks far outside of protective limits,
1996). But they remain without an enforceable limit or           rice cereal to 100 ppb (FDA 2016). Inorganic arsenic                                   and failed to account for children who have unusually high
guideline in nearly every type of baby food, despite being       exceeded this amount in four of the seven infant rice cereals                          exposures to arsenic in rice (HBBF 2016, HBBF 2017a).
widely acknowledged as toxic during a child’s development        tested by HBBF.
and prevalent in popular baby and toddler foods.                                                                                                        And if the agency finalizes the action level, it will serve only as
                                                                 FDA has also proposed limiting inorganic arsenic in apple                              guidance to the infant cereal industry, not as a standard that
All four metals are neurotoxic. Three—arsenic, lead and          juice and has issued guidance for limiting lead in fruit juice                         FDA is required to enforce. Instead, FDA can choose whether
mercury—have been shown to permanently reduce                    (FDA 2004, 2013), but has failed to set limits for metals in                           or not to enforce an action level, at its own discretion.
children’s IQ. Three are also human carcinogens, arsenic,        any other type of baby food.
cadmium and lead.                                                                                                                                       HBBF has advocated that FDA finalize a more protective
                                                                 Despite FDA’s many areas of authority and its recent                                   standard that protects against neurological harm during
FDA can use its testing programs, recall authority, and          emphasis on reducing exposures to heavy metals, for 88                                 development and that applies to all rice-based foods eaten
guidance to industry, among other tools, to characterize         percent of baby foods tested by HBBF—148 of 168 baby                                   by babies and pregnant women. HBBF has also called on
and control heavy metal levels in food. The agency tests         foods—FDA has failed to set enforceable limits or issue                                cereal companies to reduce levels to 25 ppb, an amount
a fraction of imported food in their Import Program,             guidance on maximum safe amounts.                                                      typical of levels in multi-grain cereals (HBBF 2017a,b).
prioritizing food likely to pose risks to consumers, including
those with high heavy metals levels. Federal law gives           And none of the agency’s existing guidance considers the                               Altogether, six of 30 rice-based baby foods tested by HBBF
FDA the authority to require a recall of food it deems to        additive neurological impacts of multiple metals in baby                               contained inorganic arsenic above the 100-ppb limit
be adulterated, that “bears or contains any poisonous or         food.                                                                                  proposed for infant rice cereal—four infant rice cereals and
deleterious substance which may render it injurious to                                                                                                  two puff snacks (Appendix A).
health,” including heavy metals. In the past three years
FDA has issued recalls for eight foods with excessive lead
or arsenic, none of which were baby foods (FDA 2019d). In
September 2019 the agency issued an import alert for lead
and arsenic in grape and pear juice concentrates, advising
their inspectors to target these products for testing (FDA
2019e).




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FDA’S PROPOSED GUIDANCE FOR ARSENIC                              PROMISING PROGRESS AT FDA
IN APPLE JUICE REMAINS UNFINALIZED DESPITE
PROMISES TO COMPLETE IN 2018.                                    In April 2017 FDA’s Center for Food Safety and Applied
                                                                 Nutrition (CFSAN) announced it had established a Toxic
In 2013 FDA proposed limiting inorganic arsenic in apple         Elements Working Group to modernize safety standards
juice to 10 ppb, the federal government’s standard for           for the toxic metal mixtures Americans are exposed to,
arsenic in drinking water (FDA 2013). This limit still has not   including in food. The working group is charged with
been finalized. Consumer Reports, a long-time advocate           charged with “achiev[ing] the public health goal of reducing
for reducing toxic metals in food, has argued for a more         exposure… to the greatest extent possible” (FDA 2017,
protective limit of 3 ppb, and for inclusion of other high-      2018a,b).
arsenic juices, like grape and pear juice (CR 2019a,b).
                                                                 Although FDA has not yet introduced new standards as a
Arsenic in juice exceeded CR’s recommended limit of 3 ppb        result of the initiative, it has made progress. It has lowered
in two of nine juices tested by HBBF, a white grape juice and    the maximum allowed daily lead intake for children from
an apple juice.                                                  6 to 3 micrograms per day (ug/day) and set a cap of 12.5
                                                                 ug/day for women who are pregnant or nursing. These
FDA has also issued guidance to limit lead in fruit juice        new “Interim Reference Levels” are a critical first step for
(FDA 2004). This level, 50 ppb, is 3.3 times higher than the     lowering allowable lead levels in food (FDA 2019b). FDA
federal drinking-water action level, 10 times more than the      has also launched new research to understand children’s
FDA’s bottled-water standard, and 50 times higher than the       exposures to combinations of metals, and the impacts of
American Academy of Pediatrics’ recommended lead-in-             these mixtures on the developing brain and nervous system
water limit for school drinking fountains.                       (e.g., Spungen 2019). The agency missed its commitment
                                                                 to finalize the arsenic guidelines for infant rice cereal and
Experts at Consumer Reports and the Environmental                apple juice by the end of 2018.
Defense Fund back a far lower limit, arguing for a 1-ppb
cap to match the American Academy of Pediatrics’                 Heavy metal mixtures like those found in baby food
recommended maximum for lead in school drinking                  pose risks to the developing brain. Setting protective,
fountains (CR 2019a,b; AAP 2017).                                health-based limits for these contaminants presents an
                                                                 opportunity to make a significant difference in children’s
While none of the fruit juices tested by HBBF topped FDA’s       health.
50-ppb limit, four of nine juices contained more lead than
the recommended 1 ppb cap, with a maximum of over 11
ppb in a white grape juice marketed for toddlers. At these
levels, the many children who regularly drink juice are
getting too much lead. Eighty percent of American families
with toddlers and babies serve juice to children. Three-
quarters of those families serve it daily; their children face
the highest risks (CR 2019b).




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APPENDIX A: LABORATORY TEST RESULTS FOR HEAVY METALS

Results for analysis of heavy metals in a variety of baby foods are listed below. Foods were tested for total recoverable arsenic; speciated arsenic (total inorganic arsenic is shown below); and
total recoverable lead, cadmium, and mercury. Testing was commissioned by HBBF and performed by Brooks Applied Labs in Bothell, Washington in 2019. Appendix C provides a summary of
analytical methods.

The qualifier “<” indicates that the concentration was below the method detection limit, while The symbol “*” indicates test results that are estimated, that fall between the limit of detection
and the limit of quantification. The qualifier “--” indicates that the analysis was not performed.

About estimated values: The table below shows results for all target analytes detected by the lab’s instruments. Estimated values shown with the qualifier “*” have greater uncertainty than
other results. The starred (*) values are the lab’s best estimates of concentration, but the actual amounts may be higher or lower than these best estimates. These estimated test results are near
the test’s detection limit. They are higher than the detection limit but lower than the test’s quantitation limit. In contrast, test results above the quantification limit don’t carry the J qualifier -
they have lower uncertainty and are not considered to be estimates. The laboratory’s detailed reports that accompany this study give detection and quantification limits for each individual test
result shown below.

                                                                                                                             Arsenic                                       Mercury
                                                                                                          Arsenic            (inorganic,                         Cadmium   (total,   Metro area where
 Brand                  Food                                                   Food type                  (total, ppb)       ppb)              Lead (ppb)        (ppb)     ppb)      purchased             Retailer
 Infant cereal: rice
 Beech-Nut              Rice Single Grain Baby Cereal - Stage 1, from about    Cereal - rice              117                86                3.5               5.4       0.582     Charlottesville, VA   Wegmans
                        4 months
 BioKinetics            BioKinetics Brown Rice Organic Sprouted Whole          Cereal - rice              353                144               3.1 *             31.7      2.32      Washington, DC        amazon.com
                        Grain Baby Cereal
 Earth’s Best           Whole Grain Rice Cereal                                Cereal - rice              138                113               22.5              14.7      2.41      San Diego, CA         99 Cents Only Stores
 Earth’s Best           Whole Grain Rice Cereal                                Cereal - rice              126                107               17.8              13.4      2.19      Portland, ME          Hannaford
 Gerber                 Rice Single Grain Cereal                               Cereal - rice              106                74                3.9               11.1      1.79      Gambell, AK           ANICA Native Store
 Healthy Times          Organic Brown Rice Cereal - 4+ months                  Cereal - rice              153                133               67.4              12.1      1.53      Washington, DC        amazon.com
 Kitchdee Organic       Baby Cereal Rice and Lentil - 6+ months                Cereal - rice              79.3               78                10.9              13.1      4.06      Washington, DC        amazon.com
 Infant cereal: multi- and single non-rice grain
 Gerber                 MultiGrain Cereal - Sitter 2nd Foods                   Cereal - mixed and         37                 31                5.3               26.2      0.367 *   Detroit, MI           Meijer
                                                                               multi-grain
 HappyBABY              Oats & Quinoa Baby Cereal Organic Whole Grains         Cereal - mixed and         10.2               --                0.9 *             12.4      < 0.14    Minneapolis, MN       Target
                        with Iron - Sitting baby                               multi-grain
 Beech-Nut              Oatmeal Whole Grain Baby Cereal - Stage 1, from        Cereal - oatmeal           23.8               --                2.2               13        < 0.139   Portland, OR          Fred Meyer
                        about 4 months
 Earth’s Best           Whole Grain Oatmeal Cereal                             Cereal - oatmeal           29.5               27                2*                20.1      < 0.277   Portland, ME          Hannaford
 Gerber                 Oatmeal Single Grain Cereal                            Cereal - oatmeal           26.9               --                3*                13        < 0.281   Washington, DC        Safeway
 HappyBABY              Oatmeal Baby Cereal, Clearly Crafted - Organic         Cereal - oatmeal           6.3 *              --                < 0.5             10        < 0.14    Albany, NY            buybuyBABY
                        Whole Grains - for sitting baby
 Harvest Hill           Instant Oatmeal, Maple & Brown Sugar                   Cereal - oatmeal           13.5               --                8.1               5.8       < 0.14    Houston, TX           Dollar Tree
 Cream of Wheat         Cream of Wheat Instant Original Flavor                 Cereal - other             19.5               --                21.8              36.7      < 0.14    San Diego, CA         99 Cents Only Stores
                                                                               single-grain



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APPENDIX A: Laboratory Test Results for Heavy Metals (continued)

                                                                                                                              Arsenic                                       Mercury
                                                                                                           Arsenic            (inorganic,                         Cadmium   (total,   Metro area where
 Brand                  Food                                                    Food type                  (total, ppb)       ppb)              Lead (ppb)        (ppb)     ppb)      purchased             Retailer
 Gerber                 Barley Single Grain Cereal- Supported Sitter 1st        Cereal - other             10.6 *             --                3*                13.7      < 0.279   Detroit, MI           Meijer
                        Foods                                                   single-grain
 Gerber                 Whole Wheat Whole Grain Cereal - Sitter 2nd Foods       Cereal - other             40.6               39                5.5               50.8      < 0.14    Cincinnati, OH        Kroger
                                                                                single-grain
 NurturMe               Organic Quinoa Cereals - Quinoa + Sweet Potato +        Cereal - other             35.9               26                39.8              20.3      0.389 *   San Diego, CA         99 Cents Only Stores
                        Raisin                                                  single-grain
 Infant formula
 365 organic (Whole     Organic Milk Based Powder Infant Formula with           Formula                    4.1 *              --                2.7               0.7 *     < 0.139   Boulder, CO           Whole Foods Market
 Foods)                 Iron
 Baby’s Only Organic    Organic Non-GMO Dairy Toddler Formula                   Formula                    3.8 *              --                1.6 *             < 0.5     < 0.139   Boulder, CO           Whole Foods Market
 Earth’s Best           Organic Sensitivity - DHR/ARA Infant Formula with       Formula                    < 4.4              --                1.6 *             1.4 *     < 0.278   Portland, ME          Hannaford
                        Iron Organic Milk-Based Powder
 Enfamil                ProSobee Soy Infant Formula, Milk-Free Lactose-         Formula                    6.2 *              --                7.8               6.9       < 0.14    Columbia, SC          Publix
                        Free Powder with Iron
 Enfamil                Infant - Infant Formula Milk-Based with Iron - 0-12     Formula                    < 2.2              --                2                 0.7 *     < 0.138   Charlottesville, VA   Wegmans
                        months
 Gerber                 Good Start Gentle HM-O and Probiotics Infant            Formula                    5.2 *              --                0.9 *             < 0.5     < 0.14    Cincinnati, OH        Kroger
                        Formula with iron; Milk Based Powder - Stage 1,
                        birth to 12 months
 HappyBABY              Organic Infant Formula with Iron, Milk Based            Formula                    < 4.5              --                3.7               < 1.1     < 0.286   Washington, DC        amazon.com
                        Powder - 0-12 months
 Meijer                 Meijer Baby, Infant Formula - Milk-Based Powder         Formula                    < 4.4              --                2.3 *             3.1 *     0.417 *   Detroit, MI           Meijer
                        with Iron - Birth - 12 months
 Parent’s Choice        Organic Infant With Iron Milk-Based Powder - Stage      Formula                    3.2 *              --                3.9               0.7 *     < 0.134   Charlottesville, VA   Walmart
 (Walmart)              1 through 12 months
 Plum Organics          Gentle Organic Infant Formula with Iron, Milk-          Formula                    4.6 *              --                4.7               < 1.1     < 0.278   Washington, DC        amazon.com
                        Based Powder - 0-12 months †
 Similac                Similac Advance OptiGRO Powder - Milk-Based             Formula                    4.6 *              --                2                 < 0.5     < 0.139   Gambell, AK           ANICA Native Store
 Simple Truth Organic   Infant Formula with Iron, Organic Milk-Based            Formula                    3.6 *              --                2.7               0.6 *     < 0.135   Portland, OR          Fred Meyer
 (Kroger)               Powder
 up & up (Target)       Infant - Infant Formula with Iron, Milk-Based           Formula                    < 2.2              --                1.5 *             3.1       < 0.138   Minneapolis, MN       Target
                        Powder, DHA and Dual Prebiotics
 Vegetable - single, carrot
 Beech-Nut              Classics Sweet Carrots - 2                              Veggie - single -          < 2.1              --                27.2              6.8       0.15 *    Washington, DC        Safeway
                                                                                carrot
 Beech-Nut              Classics Sweet Carrots - Stage 2                        Veggie - single -          < 2.2              --                23.5              8         0.212 *   Portland, ME          Hannaford
                                                                                carrot
 Beech-Nut              Organics Just Carrots - Stage 1                         Veggie - single -          2.8 *              --                1.3 *             1.4 *     0.142 *   Minneapolis, MN       Target
                                                                                carrot



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APPENDIX A: Laboratory Test Results for Heavy Metals (continued)

                                                                                                                             Arsenic                                       Mercury
                                                                                                          Arsenic            (inorganic,                         Cadmium   (total,   Metro area where
 Brand                  Food                                                   Food type                  (total, ppb)       ppb)              Lead (ppb)        (ppb)     ppb)      purchased             Retailer
 Earth’s Best           Carrots Organic Baby Food - 2, 6 months +              Veggie - single -          4.1 *              --                1.1 *             < 0.5     0.224 *   Boulder, CO           Whole Foods Market
                                                                               carrot
 Earth’s Best           Carrots Organic Baby Food 2 - 6 months+                Veggie - single -          3.5 *              --                1.6 *             5.2       0.24 *    Columbia, SC          Publix
                                                                               carrot
 Earth’s Best           First Carrots Organic Baby Food - 1, 4 months+         Veggie - single -          5.2 *              --                1.6 *             4.4       0.222 *   Charlottesville, VA   Wegmans
                                                                               carrot
 Gerber                 Diced Carrots Veggie Pick-Ups™                         Veggie - single -          < 2.2              --                11.8              27.7      0.223 *   Washington, DC        Safeway
                                                                               carrot
 Gerber                 Carrot - Sitter 2nd food                               Veggie - single -          < 2.2              --                9.4               31.4      0.214 *   Minneapolis, MN       Target
                                                                               carrot
 Gerber                 Carrot - Supported Sitter 1st Foods                    Veggie - single -          < 2.2              --                11                42.2      0.248 *   Columbia, SC          Publix
                                                                               carrot
 Meijer                 True Goodness Organic Carrots Baby Food                Veggie - single -          < 2.2              --                1.4 v             7.7       < 0.141   Detroit, MI           Meijer
                                                                               carrot
 O Organics             Organic Carrots Baby Food - 2                          Veggie - single -          3.3 *              --                1.9               5.2       < 0.14    Washington, DC        Safeway
 (Albertson/Safeway)                                                           carrot
 Parent’s Choice        Carrot - Stage 2, 6+ months                            Veggie - single -          <2                 --                2.3               11.2      < 0.128   Charlottesville, VA   Walmart
 (Walmart)                                                                     carrot
 Vegetable - single, sweet potato
 Beech-Nut              Naturals Just Sweet Potatoes - Stage 1, from about     Veggie - single -          2.4 *              --                14.1              4         < 0.136   Albany, NY            buybuyBABY
                        4 months                                               sweet potato
 Beech-Nut              Organics Just Sweet Potatoes - Stage 1, from about     Veggie - single -          3.8 *              --                7.3               2.7       < 0.142   Cincinnati, OH        Kroger
                        4 months                                               sweet potato
 Beech-Nut              Classics Sweet Potatoes - Stage 2, from about 6        Veggie - single -          2.8 *              --                24.1              3.4       < 0.138   Portland, OR          Fred Meyer
                        months                                                 sweet potato
 Earth’s Best           Sweet Potatoes Organic Baby Food - 1, 4 months +       Veggie - single -          3.3 *              --                14.7              4.6       < 0.136   Boulder, CO           Whole Foods Market
                                                                               sweet potato
 Earth’s Best           Sweet Potatoes Organic Baby Food 2 - from about        Veggie - single -          3.1 *              --                12.9              3         < 0.136   Portland, OR          Fred Meyer
                        6 months                                               sweet potato
 Earth’s Best           Sweet Potatoes Organic Baby Food 2 - 6 months+         Veggie - single -          4.3 *              --                6.9               1.6 *     < 0.138   Columbia, SC          Publix
                                                                               sweet potato
 Gerber                 Sweet Potato Supported Sitter 1st Foods Tub            Veggie - single -          2.4 *              --                20.3              4.7       < 0.139   Washington, DC        Safeway
                                                                               sweet potato
 Gerber                 Sweet Potato - Sitter 2nd Food                         Veggie - single -          3.9 *              --                29.3              5.8       < 0.138   Minneapolis, MN       Target
                                                                               sweet potato
 Gerber                 Sweet Potato - Supported Sitter 1st Foods              Veggie - single -          6.9                --                14.6              3.5       < 0.138   Cincinnati, OH        Kroger
                                                                               sweet potato
 HappyBABY              Organics Sweet Potatoes - Stage 1                      Veggie - single -          5.8 *              --                1.5 *             1*        < 0.142   Portland, ME          Hannaford
                                                                               sweet potato




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                                                                                                                             Arsenic                                       Mercury
                                                                                                          Arsenic            (inorganic,                         Cadmium   (total,   Metro area where
 Brand                  Food                                                   Food type                  (total, ppb)       ppb)              Lead (ppb)        (ppb)     ppb)      purchased             Retailer
 HappyBABY              Organics Sweet Potatoes - Stage 1                      Veggie - single -          6*                 --                2.2               0.8 *     < 0.14    Detroit, MI           Meijer
                                                                               sweet potato
 HappyBABY              Sweet Potatoes - Stage 1                               Veggie - single -          27.5               29**              2                 1.6 *     < 0.141   Columbia, SC          Publix
                                                                               sweet potato
 Meijer                 Meijer Baby Sweet Potatoes - 2nd Stage                 Veggie - single -          11.9               --                1.3 *             0.8 *     < 0.14    Portland, ME          Hannaford
                                                                               sweet potato
 Meijer                 True Goodness Organic Sweet Potatoes Baby Food         Veggie - single -          2.6 *              --                0.8 *             0.6 *     < 0.14    Detroit, MI           Meijer
                        - Stage 2                                              sweet potato
 Parent’s Choice        Sweet Potato - Stage 1, 4-6 months                     Veggie - single -          4.3 *              --                4.3               1.4 *     < 0.141   Charlottesville, VA   Walmart
 (Walmart)                                                                     sweet potato
 Plum Organics          Just Sweet Potato Organic Baby Food - 1, 4 months      Veggie - single -          3.1 *              --                5.6               2.3       < 0.142   Boulder, CO           Whole Foods Market
                        & up                                                   sweet potato
 Plum Organics          Just Sweet Potato Organic Baby Food - 1, 4 months      Veggie - single -          2.3 *              --                14                2.7       < 0.14    Washington, DC        Safeway
                        & up                                                   sweet potato
 Vegetable - single (other than carrot, sweet potato)
 Beech-Nut              Classics Sweat Peas - Stage 2                          Veggie - single -          6.3 *              --                1.1 *             1.6 *     < 0.138   Portland, ME          Hannaford
                                                                               other
 Beech-Nut              Beechnut Naturals Just Butternut Squash - Stage 1      Veggie - single -          < 2.2              --                1.3 *             1.2 *     < 0.139   Detroit, MI           Meijer
                                                                               other
 Beech-Nut              Organic Just Pumpkin - Stage 1, from about 4           Veggie - single -          2.6 *              --                4                 1.1 *     < 0.139   Portland, OR          Fred Meyer
                        months                                                 other
 Earth’s Best           Winter Squash Organic Baby Food - 2, 6 months +        Veggie - single -          < 2.2              --                0.8 *             < 0.5     < 0.137   Cincinnati, OH        Kroger
                                                                               other
 Earth’s Best           First Peas Organic Baby Food 1 - 4 months+             Veggie - single -          5.9 *              --                3.8               < 0.5     < 0.14    Columbia, SC          Publix
                                                                               other
 Gerber                 Pea - Sitter 2nd foods                                 Veggie - single -          < 2.2              --                0.7 *             < 0.5     < 0.14    Gambell, AK           ANICA Native Store
                                                                               other
 Gerber                 Green Bean - Sitter 2nd Food                           Veggie - single -          < 2.1              --                0.8 *             2.8       < 0.135   Minneapolis, MN       Target
                                                                               other
 Gerber                 Green Bean - Supported Sitter 1st Foods                Veggie - single -          < 2.2              --                0.7 *             0.6 *     < 0.142   Cincinnati, OH        Kroger
                                                                               other
 Parent’s Choice        Organic Butternut Squash Vegetable Puree - Stage       Veggie - single -          < 2.2              --                4.2               0.9 *     < 0.138   Charlottesville, VA   Walmart
 (Walmart)              2, 6+ months                                           other




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                                                                                                                               Arsenic                                       Mercury
                                                                                                            Arsenic            (inorganic,                         Cadmium   (total,   Metro area where
 Brand                   Food                                                    Food type                  (total, ppb)       ppb)              Lead (ppb)        (ppb)     ppb)      purchased             Retailer
 Fruit - single
 Applesnax               Applesauce with Cinnamon                                Fruit - single -           < 2.1              --                1.7               < 0.5     < 0.134   Dallas, TX            Dollar Tree
                                                                                 apple
 Beech-Nut               Organic Just Apples - Stage 1, from about 4 months      Fruit - single -           <2                 --                < 0.5             < 0.5     < 0.126   Charlottesville, VA   Wegmans
                                                                                 apple
 Earth’s Best            Apples Organic Baby Food 2 - from about 6 months        Fruit - single -           6.5                --                1.5 *             < 0.5     < 0.141   Portland, OR          Fred Meyer
                                                                                 apple
 Mott’s                  Mott’s Applesauce Apple                                 Fruit - single -           < 2.2              --                < 0.5             < 0.5     < 0.139   San Diego, CA         Family Dollar
                                                                                 apple
 Seneca                  Cinnamon Apple Sauce                                    Fruit - single -           5.6 *              --                3.7               0.7 *     < 0.138   San Diego, CA         99 Cents Only Stores
                                                                                 apple
 Beech-Nut               Naturals Bananas - Stage 1, from about 4 months         Fruit - single -           < 2.1              --                < 0.5             < 0.5     < 0.136   Albany, NY            buybuyBABY
                                                                                 banana
 Gerber                  Banana - Sitter 2nd Foods                               Fruit - single -           < 2.1              --                < 0.5             < 0.5     < 0.135   Gambell, AK           ANICA Native Store
                                                                                 banana
 Meijer                  Meijer Baby Bananas - 2nd Stage                         Fruit - single -           < 2.2              --                < 0.5             < 0.5     < 0.138   Detroit, MI           Meijer
                                                                                 banana
 Gerber                  Peach - Sitter 2nd Foods                                Fruit - single - other     7.3                --                2.4               2.1       0.142 *   Gambell, AK           ANICA Native Store
 Orchard Naturals        Mandarin Oranges in Light Syrup                         Fruit - single - other     < 2.2              --                < 0.5             < 0.5     < 0.139   Houston, TX           Dollar Tree
 Plum Organics           Just peaches - organic baby food - for 4+ months        Fruit - single - other     7.2                --                0.9 *             < 0.5     < 0.139   Albany, NY            buybuyBABY
                         (stage 1)
 Earth’s Best            First pears - 1, 4 months+                              Fruit - single - pear      4.3 *              --                1.2 *             1.5 *     < 0.135   Houston, TX           99 Cents Only Stores
 Gerber                  Pear - Sitter 2nd foods                                 Fruit - single - pear      4.2 *              --                1.1 *             2.5       0.169 *   Gambell, AK           ANICA Native Store
 HappyBABY               Organic Pears - Stage 1                                 Fruit - single - pear      7.4                --                1*                0.8 *     < 0.138   Boulder, CO           Whole Foods Market
 HappyBABY               Clearly Crafted Prunes Organic Baby Food, 1, 4+         Fruit - single -           < 2.1              --                2                 < 0.5     < 0.136   Charlottesville, VA   Wegmans
                         months                                                  prune
 Sprout                  Prunes Organic Baby Food - 1 starting solids            Fruit - single -           3.9 *              --                6.1               < 0.5     0.245 *   Albany, NY            buybuyBABY
                                                                                 prune
 Fruit & Veggie, Mixed
 Beech-Nut               Naturals Beets, Pear & Pomegranate - 2                  Fruit and veggie -         < 2.2              --                0.9 *             4.7       < 0.139   Washington, DC        Safeway
                                                                                 mixed
 Gerber                  Organic Mango Apple Carrot Kale - Sitter 2nd foods      Fruit and veggie -         3.3 *              --                1.1 *             11.4      0.212 *   Gambell, AK           ANICA Native Store
                                                                                 mixed
 Gerber                  Carrot Pear Blackberry - Sitter 2nd Foods               Fruit and veggie -         2.7 *              --                3.6               18.2      < 0.141   Washington, DC        gerber.com
                                                                                 mixed
 Gerber                  Organic Apple Blueberry Spinach - Sitter 2nd Food       Fruit and veggie -         5*                 --                1.5 *             1.8       < 0.141   Houston, TX           99 Cents Only Stores
                                                                                 mixed




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                                                                                                                            Arsenic                                       Mercury
                                                                                                         Arsenic            (inorganic,                         Cadmium   (total,   Metro area where
 Brand                  Food                                                  Food type                  (total, ppb)       ppb)              Lead (ppb)        (ppb)     ppb)      purchased             Retailer
 HappyBABY              Simple Combos Apples, Spinach & Kale - 2              Fruit and veggie -         3*                 --                4.3               4.9       0.182 *   Portland, ME          Hannaford
                                                                              mixed
 O Organics             Organic Apple, Sweet Potato & Carrot Baby Food        Fruit and veggie -         2.6 *              --                0.7 *             1.1 *     < 0.142   Washington, DC        Safeway
 (Albertson/Safeway)                                                          mixed
 Plum Organics          Just Prunes Organic Baby Food - 1, 4 months & up      Fruit and veggie -         7.6                --                2.5               < 0.5     0.194 *   Boulder, CO           Whole Foods Market
                                                                              mixed
 Sprout                 Carrot Apple Mango Organic Baby Food - 2, 6           Fruit and veggie -         6.1                --                2.1               15.1      < 0.131   Charlottesville, VA   Wegmans
                        months & up                                           mixed
 up & up (Target)       Apple and Carrot Baby Food, Fruit + Vegetable         Fruit and veggie -         < 2.3              --                0.7 *             < 0.6     < 0.146   Minneapolis, MN       Target
                        Blend, 6+ months                                      mixed
 Gerber                 Apple Sweet Potato with Cinnamon - Toddler 12+        Fruit and veggie -         < 2.2              --                3.1               0.7 *     < 0.139   Houston, TX           99 Cents Only Stores
                        months                                                mixed
 Plum Organics          Pumpkin Banana Papaya Cardomom - 6 months             Fruit and veggie -         2.4 *              --                1.4 *             2.4       < 0.139   San Diego, CA         99 Cents Only Stores
                        and up                                                mixed
 Beech-Nut              Classics Mixed Vegetables - Stage 2                   Veggie - mixed             < 2.2              --                17.9              8.6       < 0.139   Portland, ME          Hannaford
 Earth’s Best           Spinach and Potato Organic Baby Food - 2, 6+          Veggie - mixed             6.4                --                1.4 *             3         < 0.13    Charlottesville, VA   Wegmans
                        months
 Gerber                 Carrot Sweet Potato Pea - Sitter 2nd Foods            Veggie - mixed             2.4 *              --                6.7               2.1       < 0.137   Gambell, AK           ANICA Native Store
 Juice - 100% apple
 365 organic (Whole     100% Juice - Apple from Concentrate                   Juice - 100% fruit         2.5 *              --                0.7 *             < 0.5     < 0.13    Boulder, CO           Whole Foods Market
 Foods)
 Gerber                 Apple Juice from Concentrate - Toddler 12+ months     Juice - 100% fruit         3.1 *              --                2.1               < 0.5     < 0.137   Portland, ME          Hannaford
 Juicy Juice            Juicy Juice 100% Juice - Apple                        Juice - 100% fruit         3.6 *              --                1*                < 0.5     < 0.14    Dallas, TX            Dollar Tree
 Kidgets                Toddler Apple Juice from Concentrate                  Juice - 100% fruit         < 2.2              --                0.6 *             < 0.5     < 0.141   San Diego, CA         Family Dollar
 Juice - 100% fruit juice, non-apple or mixed
 Apple & Eve            Elmo’s Punch - 100% Juice Organics                    Juice - 100% fruit         < 2.1              --                < 0.5             < 0.5     < 0.137   Boulder, CO           Whole Foods Market
 Gerber                 Apple Prune Juice from Concentrate - Toddler 12+      Juice - 100% fruit         5.6 *              --                3.3               < 0.5     < 0.136   Cincinnati, OH        Kroger
                        months
 Gerber                 Variety Pack Juices from Concentrate - White Grape    Juice - 100% fruit         9.9                --                11.1              < 0.5     < 0.135   Portland, OR          Fred Meyer
 Gerber                 Pear Juice from Concentrate 100% Juice - Toddler      Juice - 100% fruit         4*                 --                1.1 *             0.9 *     < 0.136   Charlottesville, VA   Wegmans
                        12+ months
 Juicy Juice            100% Juice Fruit Punch                                Juice - 100% fruit         2.5 *              --                0.6 *             0.6 *     < 0.139   San Diego, CA         Family Dollar
 Drinks - not 100% fruit juice
 Good2Grow              Fortified Water - Orange Mango                        Drink - not 100%           < 2.1              --                1.8               < 0.5     < 0.136   Dallas, TX            99 Cents Only Stores
                                                                              fruit




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                                                                                                                               Arsenic                                       Mercury
                                                                                                            Arsenic            (inorganic,                         Cadmium   (total,   Metro area where
 Brand                  Food                                                     Food type                  (total, ppb)       ppb)              Lead (ppb)        (ppb)     ppb)      purchased             Retailer
 Orgain                 Kids Protein Organic Nutrituional Shake Vanilla          Drink - not 100%           3.9 *              --                0.6 *             < 0.5     < 0.14    Charlottesville, VA   Wegmans
                        Flavor - Ages 1 to 13                                    fruit
 Pediasure              Grow & Gain Chocolate Shake                              Drink - not 100%           3*                 --                1.3 *             2         < 0.136   Portland, ME          Hannaford
                                                                                 fruit
 Repone                 Suero/Electrolyte Solution with Zinc Fruit Flavor        Drink - not 100%           < 2.2              --                < 0.5             < 0.5     < 0.139   San Diego, CA         Family Dollar
                                                                                 fruit
 Yoo-hoo                Yoo-hoo Chocolate Drink                                  Drink - not 100%           2.6 *              --                0.8 *             1.1 *     < 0.134   Houston, TX           Dollar Tree
                                                                                 fruit
 Meals, including fruits & veggies with grains
 Deluxe Pasta           Macaroni & cheese, Original Flavor                       Meal                       6.7                --                7                 25        < 0.14    Houston, TX           Dollar Tree
 Earth’s Best           Chicken and Brown Rice Organic Baby Food - 2, 6+         Meal                       34.4               13                18.3              1.9       0.232 *   Washington, DC        amazon.com
                        months
 Earth’s Best           Organic Turkey Quinoa Apple Sweet Potato                 Meal                       < 2.2              --                1.9               1.9       < 0.139   Columbia, SC          Publix
                        Homestyle Meal Puree
 Earth’s Best           Organic Chicken Pot Pie Homestyle Meal Puree             Meal                       < 2.2              --                1.2 *             2.1       < 0.139   Columbia, SC          Publix
 Gerber                 Mashed Potatoes & Gravy with Roasted Chicken             Meal                       < 2.2              --                2.4               17.5      < 0.139   Portland, ME          Hannaford
                        and a Side of Carrots - Toddler
 Gerber                 Chicken Rice Dinner - Sitter 2nd Foods                   Meal                       19.1               --                2.3 *             8.9       < 0.236   Washington, DC        gerber.com
 Gerber                 Turkey Rice Dinner - Sitter 2nd Foods                    Meal                       6.2 *              --                5.2               3.4       < 0.139   Washington, DC        gerber.com
 Happy Tot              Love My Veggies Bowl - Cheese & Spinach Ravioli          Meal                       4.8 *              --                8.5               19.6      0.148 *   Columbia, SC          Publix
                        with Organic Marinara Sauce - for tots and tykes
 Kraft                  Macaroni & Cheese Dinner, Original Flavor                Meal                       8.1                --                2                 38.6      < 0.139   Houston, TX           Dollar Tree
 Sprout                 Garden Vegetables Brown Rice with Turkey - for 8         Meal                       7.2                --                1.6 *             2.5       < 0.138   Albany, NY            buybuyBABY
                        months & up, Stage 3
 Earth’s Best           Organic Sweet Potato Cinnamon Flax & Oat -               Fruit and veggie -         < 2.2              --                4.4               4.3       < 0.138   Albany, NY            buybuyBABY
                        Wholesome Breakfast Puree - 2, for 6+ months             with grain/meat/
                                                                                 dairy/legume
 HappyBABY              Apples, Sweet Potatoes & Granola Clearly Crafted         Fruit and veggie -         3.6 *              --                5.2               1.5 *     < 0.142   Washington, DC        Safeway
                        Organic Baby Food - 2                                    with grain/meat/
                                                                                 dairy/legume
 Parent’s Choice        Organic Strawberry Carrot and Quinoa Fruit & Veg         Fruit and veggie -         2.5 *              --                3.6               1.8       < 0.125   Charlottesville, VA   Walmart
 (Walmart)              Puree - Stage 2, 6+ months                               with grain/meat/
                                                                                 dairy/legume
 Plum Organics          Apple, Raisin & Quinoa Organic Baby Food - 2 †           Fruit and veggie -         5.6 *              --                2.2               1.9       0.145 *   Washington, DC        Safeway
                                                                                 with grain/meat/
                                                                                 dairy/legume
 Sprout                 Butternut Chickpea Quinoa & Dates Organic Baby           Fruit and veggie -         2.3 *              --                0.8 *             < 0.5     < 0.137   Columbia, SC          Publix
                        Food                                                     with grain/meat/
                                                                                 dairy/legume




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                                                                                                                              Arsenic                                       Mercury
                                                                                                           Arsenic            (inorganic,                         Cadmium   (total,   Metro area where
 Brand                  Food                                                    Food type                  (total, ppb)       ppb)              Lead (ppb)        (ppb)     ppb)      purchased             Retailer
 Meat
 Beech-Nut              Classics Chicken & Chicken Broth - 1                    Meat                       < 2.2              --                < 0.5             < 0.5     < 0.137   Washington, DC        Safeway
 Beech-Nut              Classics Turkey and Turkey Broth - Stage One            Meat                       <2                 --                1*                < 0.5     < 0.128   Charlottesville, VA   Wegmans
 Gerber                 Lil’ Sticks Chicken Sticks - Toddler                    Meat                       < 2.2              --                3.5               2.3       < 0.138   Washington, DC        Safeway
 Gerber                 Beef and Gravy 2nd foods                                Meat                       < 2.1              --                2.1               < 0.5     0.251 *   Columbia, SC          Publix
 Gerber                 Ham and Gravy 2nd foods                                 Meat                       < 2.2              --                1*                < 0.5     < 0.141   Columbia, SC          Publix
 O Organics             Strained Organic Turkey and Turkey Gravy Baby           Meat                       2.7 *              --                1*                < 0.5     < 0.137   Washington, DC        Safeway
 (Albertson/Safeway)    Food - 2
 Snacks - Puffs
 Comforts (Kroger)      Blueberry Little Puffs Cereal Snack                     Snack - rice puffs         83.3               61                8.5               36.9      0.835     Cincinnati, OH        Kroger
 Earth’s Best           Sesame Street Organic Peanut Butter Baked Corn          Snack - puffs,             < 4.4              --                1.3 *             26        < 0.278   Washington, DC        amazon.com
                        Puffs                                                   non-rice
 HappyBABY              Superfood Puffs - Apple & Broccoli Organic Grain        Snack - rice puffs         266                83                8.2               11        2.16      Albany, NY            buybuyBABY
                        Snack - for crawling baby
 HappyBABY              Superfood Puffs Organic Grain Snack - Sweet             Snack - rice puffs         295                91                3.7               12.2      1.94      Washington, DC        amazon.com
                        Potato & Carrot
 Gerber                 Puffs Banana Cereal Snack - Crawler 8+ months           Snack - rice puffs         44.5               --                9.2               16        0.376 *   Houston, TX           99 Cents Only Stores
 O Organics             Organic Puffs - Apple Strawberry                        Snack - rice puffs         309                133               7.5               15.2      3.29      Washington, DC        Safeway
 (Albertson/Safeway)
 Simple Truth Organic   Whole Grain Puffs Broccoli & Spinach                    Snack - rice puffs         307                126               9.8               13.5      3.68      Cincinnati, OH        Kroger
 (Kroger)
 Sprout                 Organic Quinoa Puffs Baby Cereal Snack - Apple          Snack - puffs,             107                47                39.3              41.5      1.31      Washington, DC        amazon.com
                        Kale                                                    contains rice
 Snacks - Teething biscuits & rice rusks/cakes
 Baby Mum-Mum           Banana Rice Rusks                                       Snack - teething           104                53                5.2               2.3       1.72      Cincinnati, OH        Kroger
                                                                                biscuits & rice
                                                                                rusks/cakes
 HappyBABY              Organic Rice Cakes Puffed Rice Snack - Apple            Snack - teething           455                47                1.7               5.4       3.18      Boulder, CO           Whole Foods Market
                                                                                biscuits & rice
                                                                                rusks/cakes
 Meijer                 Apple Rice Rusks Baked Rice Snack                       Snack - teething           50.2               --                3.2 *             3.9       1.99      Detroit, MI           Meijer
                                                                                biscuits & rice
                                                                                rusks/cakes
 Parent’s Choice        Organic Strawberry Rice Rusks - Stage 2, 6+ months      Snack - teething           108                66                26.9              2.4       2.05      Charlottesville, VA   Walmart
 (Walmart)                                                                      biscuits & rice
                                                                                rusks/cakes
 Simple Truth Organic   Mini Rice Cakes Apple - 7+ months                       Snack - teething           65.9               --                8.7               0.8 *     1.1       Cincinnati, OH        Kroger
 (Kroger)                                                                       biscuits & rice
                                                                                rusks/cakes



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APPENDIX A: Laboratory Test Results for Heavy Metals (continued)

                                                                                                                               Arsenic                                       Mercury
                                                                                                            Arsenic            (inorganic,                         Cadmium   (total,   Metro area where
 Brand                  Food                                                     Food type                  (total, ppb)       ppb)              Lead (ppb)        (ppb)     ppb)      purchased             Retailer
 Cuétara                Animalitos Galleta Crackers (Animal Crackers)***         Snack - teething           4.1 *              --                6.4               25.5      < 0.139   San Diego, CA         99 Cents Only Stores
                                                                                 biscuits & rice
                                                                                 rusks/cakes
 Gerber                 Teether Wheels - Apple Harvest - Crawlers                Snack - teething           51.5               --                2.1 *             3.8       0.588 *   Washington, DC        Safeway
                                                                                 biscuits & rice
                                                                                 rusks/cakes
 HappyBABY              Organic Teethers Blueberry & Purple Carrot -             Snack - teething           67                 --                6                 8.2       2.26      Charlottesville, VA   Wegmans
                        Sitting baby                                             biscuits & rice
                                                                                 rusks/cakes
 Lil’ Dutch Maid        Saltine Crackers***                                      Snack - teething           10.1               --                1.5 *             19.1      < 0.138   San Diego, CA         99 Cents Only Stores
                                                                                 biscuits & rice
                                                                                 rusks/cakes
 Meijer                 True Goodness Organic Teethers Baked Rice Snack          Snack - teething           65                 36                3.9               6.7       2.41      Detroit, MI           Meijer
                        - Vegetable                                              biscuits & rice
                                                                                 rusks/cakes
 Nosh!                  Baby Munchables Organic Teething Wafers -                Snack - teething           110                62                6.6               3.1 *     3.44      Detroit, MI           Meijer
                        Banana & Mango                                           biscuits & rice
                                                                                 rusks/cakes
 Plum Organics          Little Teethers Organic Multigrain Teething Wafers -     Snack - teething           49.9               --                1.4 *             6.3       0.726     Columbia, SC          Publix
                        Banana with Pumpkin - Baby Crawler                       biscuits & rice
                                                                                 rusks/cakes
 Snacks - Other (yogurt, biscuits, bars)
 Beech-Nut              Breakfast On-the-Go Yogurt, Banana & Mixed Berry         Snack - other              < 2.2              --                0.7 *             < 0.5     < 0.139   Charlottesville, VA   Wegmans
                        Blend - Stage 4 from about 12 months
 Earth’s Best           Sesame Street Organic Fruit Yogurt Smoothie -            Snack - other              4.4 *              --                2.5               < 0.5     < 0.135   Portland, OR          Fred Meyer
                        Apple Blueberry
 Earth’s Best           Sunny Days Snack Bars - Sweet Potato Carrot              Snack - other              13.9               --                3.8               10.5      0.161 *   Boulder, CO           Whole Foods Market
 Ella’s Kitchen         Organic Nibbly Fingers - Apples and Strawberries,        Snack - other              27                 --                3                 7.8       0.216 *   Boulder, CO           Whole Foods Market
                        1+
 Gerber                 Yogurt Blends Stawberry Snack - Crawler 8+               Snack - other              < 2.1              --                1*                < 0.5     < 0.135   Gambell, AK           ANICA Native Store
                        months
 Gerber                 Fruit & Veggie Melts - Truly Tropical Blend - Freeze-    Snack - other              22.6               --                12.2              26.8      0.455     Albany, NY            buybuyBABY
                        Dried Fruit & Vegetable Snack - Crawler, 8+ months
 Gerber                 Arrowroot Biscuits - Crawler 10+ months                  Snack - other              13.1               --                12.5              25.9      < 0.279   Washington, DC        walmart.com
 Little Duck Organics   100% Pressed Fruit Snacks + Probiotics -                 Snack - other              13.6               --                15                1*        < 0.138   Albany, NY            buybuyBABY
                        Pomegranate, Blueberry & Acai
 Nostalgia              Marias Cookies Galletas                                  Snack - other              3.8 *              --                6.6               22        0.14 *    San Diego, CA         99 Cents Only Stores
 Parent’s Choice        Little Hearts Strawberry Yogurt Cereal Snack -           Snack - other              56.1               --                5.2               26.1      0.941     Charlottesville, VA   Walmart
 (Walmart)              Stage 3, 9+ months
 Plum Organics          Mighty Morning Bar - Blueberry Lemon - Tots: 15          Snack - other              40 ‡               39                3.4               24.3      < 0.137   Cincinnati, OH        Kroger
                        months & up


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APPENDIX A: Laboratory Test Results for Heavy Metals (continued)

                                                                                                                                 Arsenic                                       Mercury
                                                                                                              Arsenic            (inorganic,                         Cadmium   (total,   Metro area where
 Brand                     Food                                                    Food type                  (total, ppb)       ppb)              Lead (ppb)        (ppb)     ppb)      purchased             Retailer
 SOBISK                    Breakfast Biscuits - Golden Oats                        Snack - other              9                  --                60.1              9.6       0.143 *   Dallas, TX            Dollar Tree
 Sprout                    Organic Crispy Chews Red Fruit Beet & Berry with        Snack - other              19.2               --                7.7               1.2 *     0.185 *   Charlottesville, VA   Wegmans
                           Crispy Brown Rice Toddler Fruit Snack
 Supplement
 Gerber                    Soothe Probiotic Colic Drops                            Supplement                 4.4 *              --                < 0.5             < 0.5     < 0.139   Washington, DC        walmart.com


 Notes
 The symbol “<” indicates no detection, with a test result less than the indicated limit of detection.
 The symbol “*” indicates test results that are estimated, between the limit of detection and the limit of quantitation.
 The symbol “--” indicates that no test was performed.
 ** Total arsenic value is higher than inorganic arsenic value but falls within the allowable and expected analytical error. For example, this ratio of inorganic to total arsenic of 105% falls within the FDA method for
 arsenic speciation in rice, which allows this ratio to range from 65 – 135%.
 *** This food was purchased from a dollar store and is not marketed specifically as a baby food. Because dollar stores carry so few standard baby foods, this food is purchased by parents as an alternative, according
 to information from HBBF’s local partner participating in this study.
 †
     Food is no longer manufactured.
 ‡
     This value is the average of 3 tests of total arsenic (44, 37, and 39 ppb). The original homogenized bar was tested twice, and homogenate of a second, separate bar from the same box was tested once..




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APPENDIX B: RECENT SCIENCE ON THE IMPACT OF HEAVY METALS TO CHILDREN’S BRAIN DEVELOPMENT

The table below details 23 recent studies on the impact of arsenic, cadmium, lead and mercury on the development of children’s brains. Evidence in the scientific literature spans decades; the
studies below are a sampling of publications over the past seven years.




 Study
 number     Study                  What did the study find?
 Metals combinations: Recent studies of children’s exposures to toxic-metal combinations and impacts to the developing brain
 1          Grandjean and          In this update to their 2006 systematic review, the authors added six chemicals to their earlier review of the science on the toxicity to the developing brain and nervous system of
            Landrigan 2014         lead, methylmercury, polychlorinated biphenyls, arsenic, and toluene. The authors provide an estimate of 24 million IQ points lost from combined exposures to lead and mercury.
 2          Freire 2018            In a study of the cognitive development of 302 Spanish 4 and 5 year old children, researchers found lower scores on pre-school neurodevelopmental tests among children who had
                                   been exposed to higher levels of arsenic and mercury during pregnancy, as measured in the placenta at birth. The study also found a synergistic effect between arsenic and lead
                                   indicated by lower general cognitive scores.
 3          Kim 2018               A study of 140 Korean 1- and 2-year-olds and their mothers compared the chemicals in pregnant women’s blood or urine, or in breast milk after delivery, with standard pre-school
                                   tests of neurodevelopmental performance. The mothers’ blood lead levels were inversely associated with psychomotor development in their children. Pregnant women with
                                   higher levels of a combination of heavy metals in their blood also had children with more behavior problems.
 4          Pan 2018               Researchers tested the blood and urine of 530 children ages 9-11 living near an industrialized area and 264 from another town in the same city in South China as a reference.
                                   A significant decrease in IQ scores was identified in children from the industrialized town, who had statistically higher geometric mean concentrations of lead, cadmium, and
                                   mercury. Blood lead had a significant negative association by itself, and the additive impact of all four metals raised concerns.
 5          Lucchini 2019          Scientists studied the effect of co-exposures to socio-economic stressors and arsenic, cadmium, lead, mercury and other metals in schoolchildren in Taranto, Italy. Biomonitoring
                                   and an analysis of the distance between the residence of 299 children ages 6 to 12 and point sources of industrial emissions were done along with tests of children’s cognitive
                                   functions. The researchers found that metal levels in the children’s blood and urine had a negative cognitive impact. Lead exposure was shown to have a neurocognitive effect even
                                   at very low levels of blood lead concentration for children of low socio-economic status.
 Arsenic: Recent studies of children’s exposures to arsenic and impacts to the developing brain
 6          Rodríguez-Barranco     This meta-analysis details 13 articles reporting “a significant negative effect on neurodevelopment and behavioural disorders” from arsenic exposure during pregnancy and early
            2013                   childhood.
 7          Wasserman 2014         Columbia University researchers report on their assessment of 272 third to fifth graders in Maine who lived in homes with well water. The study found an average loss of 5-6 IQ
                                   points among those who drank well water contaminated with arsenic at or above 5 parts per billion. This level is common in some parts of the U.S. and is lower than the legal limit
                                   in public water supplies (10 parts per billion).
 8          Tsuji 2015             This 2015 literature review identifies 24 studies linking low-level arsenic exposure to neurological harm in children.
 9          Signes-Pastor 2019     This study focused on the impact of arsenic exposure from food. The urine of 400 4- and 5-year-olds was tested for arsenic. The children took tests that measure neuropsychological
                                   development. Children with higher arsenic levels performed worse on tests of motor function. Boys showed diminished working memory with higher arsenic exposures.
 Cadmium: Recent studies of children’s exposures to cadmium and impacts to the developing brain
 10         Sanders 2015           This review of recent scientific literature found 16 studies on cadmium’s neurotoxic impacts to children. In these studies, lower IQ scores and more learning disorders and special
                                   education needs were correlated to higher cadmium levels in children.
 11         Gustin 2018            A study of 1500 mother and child pairs in Bangladesh associated prenatal and childhood cadmium exposure with lower intelligence in boys. In girls, there were indications of
                                   altered behavior for both prenatal and childhood exposure.
 12         Lee 2018               A study of 76 children with ADHD and 46 control children found cadmium levels negatively correlated with Full Scale Intelligence Quotient.
 13         Al Osman 2019          This scientific review references studies that link children’s cadmium exposure to IQ loss and other health endpoints, including kidney disease, osteoporosis, cardiovascular
                                   disease, stunted growth, and pediatric cancer.




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APPENDIX B: Recent Science on the Impact of Heavy Metals oo Children’s Brain Development (continued)

 Study
 number       Study                      What did the study find?
 Lead: Recent studies of children’s exposures to lead and impacts to the developing brain
 14           NTP 2012                   The National Institutes of Health’s National Toxicology Program evaluation of the toxicity of low-level lead exposure concludes that such exposures are responsible for intellectual
                                         deficits, diminished academic abilities, attention deficits, and problem behaviors, including impulsivity, aggression, and hyperactivity in children.
 15           Zhang 2013                 An analysis of the blood lead tests recorded before the age of 6 and the standardized test scores in grades 3, 5 and 8 of 21,281 students in the Detroit Public Schools found that
                                         early childhood lead exposure was negatively associated with academic achievement in elementary and junior high school.
 16           Evens 2015                 The study compared Chicago’s birth registry, the blood lead registry and the scores on 3rd grade iSAT tests for 58,650 children. After adjusting for poverty, race/ethnicity, gender,
                                         maternal education and very low birth weight or preterm birth, the study concluded “Early childhood lead exposure is associated with poorer achievement on standardized
                                         reading and math tests in the third grade, even at very low blood lead levels.”
 17           Liu 2014                   A study of 1341 children in the Jiangsu province of China compared blood lead at ages 3 to 5 with behavioral problems at age 6 and found a significant association. The authors
                                         report that the risk of clinical-level behavioral problems increased with blood lead concentration.
 18           Lewis 2018                 This study’s 278 study participants were drawn from a large longitudinal study in Cleveland, Ohio that is examining the developmental effects of prenatal cocaine exposure.
                                         The children’s blood was tested for lead at age 4, and their language skills were assessed at 4, 6, 10 and 12 years of age. The researchers found that lead exposure harmed both
                                         receptive and expressive language skills. Prenatal drug exposure was not related to the effects of lead on language skills.
 19           Donzelli 2019              A systematic review of studies on the relationship between lead exposure and the diagnosis of ADHD identified 17 studies reporting an association between lead and ADHD.
 Mercury: Recent studies of children’s exposures to mercury and impacts to the developing brain
 20           Karagas 2012               A review of the literature on the health effects of low-level exposure to methylmercury concentrated on studies that include measurement of this toxic chemical in blood and hair
                                         of pregnant women and their children. The consistent finding in the researchers’ review of the science on neurocognitive and behavior outcomes was the connection between
                                         prenatal mercury levels and psychomotor function, memory, verbal skills cognition in 7- to 14-year-old children.
 21           Jacobson 2015              A 2015 study in Environmental Health Perspectives compared the IQs of 282 school-age children with the levels of mercury in umbilical cord blood taken at birth. The researchers
                                         found that prenatal mercury levels were associated with lower scores on school-age IQ tests.
 22           Ryu 2017                   A study of 458 mother child pairs in Korea found that blood mercury levels during late pregnancy and early childhood were associated with more autistic behaviors in children at 5
                                         years of age, as assessed using the Social Responsiveness Scale.
 23           Bellinger 2019             To derive an estimate of the global burden of intellectual disability from prenatal exposure to mercury, scientists conducted a meta-analysis of the available science and
                                         determined a dose-effect relationship of IQ reductions to increases in maternal hair mercury levels.


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APPENDIX B: Recent Science on the Impact of Heavy Metals oo Children’s Brain Development (continued)


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APPENDIX C: LABORATORY ANALYSIS – SUMMARY OF METHODS FOR HEAVY METALS TESTING

BACKGROUND                                                      SAMPLE PREPARATION                                                                     quadrupole mass spectrometry (ICP-QQQ-MS). The
                                                                                                                                                       ICPQQQ-MS method uses advanced interference removal
HBBF commissioned a national laboratory recognized for          Baby food receipt and storage: BAL received 168 baby                                   techniques to ensure accuracy of the sample results. This
its expertise in heavy metals analysis, Brooks Applied Labs     food containers in April and May 2019. BAL logged in                                   technology allows for the removal of polyatomic and
(BAL) near Seattle Washington (http://brooksapplied.com/),      samples for the analysis of total recoverable arsenic [As],                            doubly-charged ions that can interfere with an isotope.
to test 168 containers of baby food for total recoverable       cadmium [Cd], lead [Pb], and mercury [Hg].                                             This is a critical step for arsenic analysis, since arsenic
arsenic, lead, cadmium, and mercury; and speciated arsenic                                                                                             is a monoisotopic element. For more information, visit
for a subset of samples.                                        BAL received and stored all samples according to                                       the Interference Reduction Technology section on BAL’s
                                                                BAL Standard Operating Procedures (SOPs) and                                           website, brooksapplied.com.
BAL is accredited through the National Environmental            EPA methodology. Samples were stored at ambient
Accreditation Program (NELAC), the Department of                temperature, maintaining the shipping temperature of
Defense (DOD), and the International Organization               the samples. Once containers were opened and aliquots                                  TOTAL MERCURY ANALYSIS BY EPA METHOD 1631
for Standardization (ISO). It has also earned state             obtained for testing, samples were frozen.
accreditations for a variety of metals analyses, including                                                                                             BAL prepared samples for Hg analysis using the AOAC
arsenic and mercury. It uses the most current microwave         Sample homogenization: Any foods which were                                            2015.01, modified method, as described above. BAL
digestion and ICP-MS technologies, and specializes in heavy     heterogeneous (e.g., snack bars) were thoroughly                                       analyzed sample preparations with stannous chloride
metals testing (including arsenic, lead, cadmium, and           homogenized prior to sample digestion. All equipment                                   (SnCl2) reduction, single gold amalgamation, and cold
mercury). BAL’s clients include local governments, industry,    used for the homogenization process was pre-cleaned                                    vapor atomic fluorescence spectroscopy (CVAFS) detection
the federal government, and engineering consulting firms.       beforehand and subject to routine testing to ensure the                                using a Brooks Rand Instruments MERX-T CVAFS Mercury
                                                                accuracy of sample data.                                                               Automated-Analyzer. The laboratory then blank corrected
BAL specializes in low-level metal analysis, including                                                                                                 the Hg results as described in the relevant BAL SOP and
analysis in food. It has tested a wide range of baby foods.     Sample digestion: BAL prepared samples by the addition                                 evaluated results using adjusted reporting limits to account
Its sensitive methods can detect heavy metals in a wide         of hydrogen peroxide (H2O2) and concentrated nitric acid                               for sample aliquot size.
range of baby food types, including grains, dairy, fruits and   (HNO3) to a microwave digestion vessel, via method AOAC
vegetables, and meat.                                           2015.01, modified. BAL digested samples at a precise
                                                                pressure and temperature in a controlled microwave                                     ARSENIC SPECIATION ANALYSIS
For the heavy metals analyses used in this study, BAL is        digestion program.
accredited according to the ISO 17025 standard. BAL’s                                                                                                  Sample digestion: BAL digested baby food samples
methods are comparable to FDA methods (FDA 2012,2015),                                                                                                 for arsenic speciation using a solution of trifluoroacetic
with two notable differences: 1) The extraction acid            TOTAL METALS ANALYSIS BY AOAC 2015.01, MOD.                                            acid (TFA). The TFA digestion method typically induces
used by BAL gives optimum results specifically for the                                                                                                 conversion of As(V) to As(III) in the samples and matrix
food type being analyzed, according to tests of a range         BAL developed method AOAC 2015.01, Mod (Heavy Metals                                   spikes and induces conversion of As(III) to As(V) in the
of acids and other solvents; and 2) BAL achieves a lower        in Food: Inductively Coupled Plasma-Mass Spectrometry)                                 blank spikes. (This is also a characteristic of FDA’s method.)
limit of quantification (LOQ) for the analysis of inorganic     for analysis of total recoverable metals. The method                                   Therefore, the accurate measurement resulting from this
arsenic than FDA. Other major analytical techniques             was accepted as a First Action Method by the consensus                                 method is total inorganic arsenic (the sum of As(V) and
are comparable: for example, both BAL and FDA rely on           standards developing organization AOAC, placing it in                                  As(III)), rather than results from individual valence states.
chromatography methods to separate arsenic species, and         AOAC’s process leading to formal method adoption.
ICP-MS methods to detect heavy metals.                                                                                                                 Analysis of arsenic speciation: Extracts from digestion
                                                                BAL analyzed total recoverable As, Cd, and Pb according                                were analyzed for total inorganic arsenic [InorgAs] (sum
                                                                to this method, using inductively coupled plasma triple                                of As(III) and As(V)), monomethylarsonic acid [MMAs], and


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dimethylarsinic acid [DMAs] using ion chromatography         REFERENCES
inductively coupled plasma collision reaction cell
                                                             FDA 2015 (U.S. Food and Drug Administration). Elemental Analysis Manual
mass spectrometry (IC-ICP-CRC-MS). This method uses          (EAM) for Food and Related Products, EAM 4.7. Inductively Coupled Plasma-
chromatography to separate the different arsenic species     Mass Spectrometric Determination of Arsenic, Cadmium, Chromium, Lead,
                                                             Mercury, and Other Elements in Food Using Microwave Assisted Digestion.
and ICP-CRC-MS to detect the arsenic. The CRC is an          https://www.fda.gov/food/laboratory-methods-food/elemental-analysis-
interference reduction technology to remove polyatomic       manual-eam-food-and-related-products.

ions that can interfere with arsenic.                        FDA 2012 (U.S. Food and Drug Administration). Elemental Analysis Manual
                                                             (EAM) for Food and Related Products, EAM 4.11. Arsenic Speciation in
                                                             Rice and Rice Products Using High Performance Liquid Chromatography-
                                                             Inductively Coupled Plasma-Mass Spectrometric Determination. https://
                                                             www.fda.gov/food/laboratory-methods-food/elemental-analysis-manual-
                                                             eam-food-and-related-products.
QA/QC AND CERTIFICATION

Quality Assurance and Quality Control: All analyses were
conducted in accordance with BAL’s Standard Operating
Procedures. Each preparation batch also included four
method blanks (BLKs), a laboratory fortified blank (BS), a
certified reference material (SRM), a laboratory duplicate
(DUP), and a matrix spike/matrix spike duplicate (MS/
MSD) set. Post-preparation spikes (PS) were also included
in the arsenic speciation batches. The sample results
were reviewed and evaluated in relation to the QA/QC
samples worked up at the same time. The BS recoveries,
SRM recoveries, PS recoveries, and method blanks were
evaluated against method criteria to ensure data quality.

BAL certification: BAL is ISO certified for elemental
analyses (including arsenic, lead, cadmium, and mercury)
and arsenic speciation analysis in food.




                                                             W h a t 's i n m y B a b y 's Fo o d ? | h e a l t h y b a b y f o o d . o r g | 3 3
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APPENDIX D: LABORATORY TEST RESULTS FOR PERCHLORATE

Results for analysis of perchlorate in a limited number of baby foods are listed below. Testing was commissioned by HBBF and performed by Southwest Research Institute, San Antonio, TX. The
detailed laboratory report (SWRI 2019) is provided under “Resources” in HBBF’s online version of this heavy metals study, at healthybabyfood.org.

Twenty-five foods were tested for perchlorate, with containers purchased from supermarkets near Washington DC and from online retailers. These 25 foods were also included in the heavy
metals testing described in this report, but perchlorate testing was performed using food samples extracted from a separate container. The table below also lists the number of heavy metals
detected in each of these foods, from Appendix A, to provide information on the full range of neurotoxic contaminants covered in this study and detected in the foods chosen for testing. This
limited perchlorate testing is intended to spur further testing and research on perchlorate in baby food. It is not necessarily representative of perchlorate levels across the baby food market, but
instead provides a snapshot of levels in containers of these 25 foods.

The qualifier “<” indicates that the perchlorate concentration was below the method detection limit, while “(*)” indicates that the arsenic concentration was near the method detection limit
and was estimated.

                                                                                                                                                                                           Number of heavy
                                                                                                                                                                                           metals detected in
 Brand                       Food                                                                                                     Food type                        Perchlorate (ppb)      this food**
 Healthy Times               Organic Brown Rice Cereal - 4+ months                                                                    Cereal - rice                           7.1                  4
 Gerber                      Rice Single Grain Cereal                                                                                 Cereal - rice                           4.6                  4
 BioKinetics                 BioKinetics Brown Rice Organic Sprouted Whole Grain Baby Cereal                                          Cereal - rice                          < 3.2                 4
 Beech-Nut                   Rice Single Grain Baby Cereal - Stage 1, from about 4 months                                             Cereal - rice                          < 3.2                 4
 Earth’s Best                Whole Grain Rice Cereal                                                                                  Cereal - rice                          < 3.2                 4
 Gerber                      Oatmeal Single Grain Cereal                                                                              Cereal - oatmeal                        7.7                  3
 Beech-Nut                   Oatmeal Whole Grain Baby Cereal - Stage 1, from about 4 months                                           Cereal - oatmeal                        4.2                  3
 Earth’s Best                Whole Grain Oatmeal Cereal                                                                               Cereal - oatmeal                       2.7 *                 3
 HappyBABY                   Oatmeal Baby Cereal, Clearly Crafted - Organic Whole Grains - for sitting baby                           Cereal - oatmeal                       1.6 *                 2
 Gerber                      MultiGrain Cereal - Sitter 2nd Foods                                                                     Cereal - mixed and multi-grain          8.7                  4
 HappyBABY                   Oats & Quinoa Baby Cereal Organic Whole Grains with Iron - Sitting baby                                  Cereal - mixed and multi-grain         2.4 *                 3
 Gerber                      Whole Wheat Whole Grain Cereal - Sitter 2nd Foods                                                        Cereal - other single-grain             4.2                  3
 NurturMe                    Organic Quinoa Cereals - Quinoa + Sweet Potato + Raisin                                                  Cereal - other single-grain             3.5                  4
 Gerber                      Barley Single Grain Cereal- Supported Sitter 1st Foods                                                   Cereal - other single-grain             3.3                  3
 Similac                     Similac Advance OptiGRO Powder - Milk-Based                                                              Formula                                11.4                  2
 Earth’s Best                Organic Sensitivity - DHR/ARA Infant Formula with Iron Organic Milk-Based Powder                         Formula                                1.5 *                 2
 Enfamil                     ProSobee Soy Infant Formula, Milk-Free Lactose-Free Powder with Iron                                     Formula                                < 3.2                 3
 Earth’s Best                Spinach and Potato Organic Baby Food - 2, 6+ months                                                      Veggie - mixed                         19.8                  3
 Beech-Nut                   Organics Just Carrots - Stage 1                                                                          Veggie - single - carrot                2.3                  4
 Parent’s Choice (Walmart)   Carrot - Stage 2, 6+ months                                                                              Veggie - single - carrot              0.64 *                 2
 HappyBABY                   Simple Combos Apples, Spinach & Kale - 2                                                                 Fruit and vegetable - mixed             3.7                  4




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APPENDIX D: Laboratory Test Results for Perchlorate (continued)
                                                                                                                                                                                                        Number of heavy
                                                                                                                                                                                                        metals detected in
 Brand                            Food                                                                                                          Food type                           Perchlorate (ppb)      this food**
 Plum Organics                    Mighty Morning Bar - Blueberry Lemon - Tots: 15 months & up                                                   Snack - bar                              1.8 (J)                3
 HappyBABY                        Superfood Puffs - Apple & Broccoli Organic Grain Snack - for crawling baby                                    Snack - puffs                             < 3.2                 4
 Baby Mum-Mum                     Banana Rice Rusks                                                                                             Snack - rice rusks and rice cakes          4.6                  4
 HappyBABY                        Organic Rice Cakes Puffed Rice Snack - Apple                                                                  Snack - rice rusks and rice cakes         < 3.2                 4


 Notes
 The symbol “<” indicates no detection, with a test result less than the indicated limit of detection.
 The symbol “*” indicates test results that are estimated, between the limit of detection and the limit of quantification.
 ** Heavy metal test data can be found in Appendix A. Perchlorate and metals tests used food from separate containers for each food, not a single container.




REFERENCES
SWRI 2019 (Southwest Research Institute). LC/MS/MS Analysis for Perchlorate. Available at www.healthybabyfood.org.




                                                                                  W h a t 's i n m y B a b y 's Fo o d ? | h e a l t h y b a b y f o o d . o r g | 3 5
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APPENDIX E: RESULTS OF IQ ANALYSIS: 15 FOODS ACCOUNT FOR OVER HALF OF TOTAL IQ LOSS
FROM CHILDREN’S EXPOSURES TO ARSENIC AND LEAD IN BABY FOOD

Healthy Babies Bright Futures (HBBF) commissioned a              analyzes the prepared foods for levels of the contaminants                             Estimating children’s intake of lead and arsenic: Abt
new study from Abt Associates (Abt) to quantify the health       of interest. This process yields nationally representative                             matched mean values for each TDS food with each food
impacts posed by multiple heavy metals in baby food. This        estimates of contaminant levels in approximately 280 kinds                             consumed in the WWEIA dataset according to the mapping
work gives first-ever estimates of the population-wide           of food and beverages. Abt used TDS arsenic and lead data                              file. The intake of arsenic and lead for each food consumed
decline in IQ from children’s exposures to lead and arsenic      to represent contaminant levels in the foods babies eat.                               was calculated as the product of the concentration of each
in food, from birth to 24 months of age. It also gives the 15                                                                                           metal and the mass of each food consumed during the
baby foods that collectively account for 55 percent of the                                                                                              survey’s period of record.
total IQ loss from these exposures.
                                                                 ESTIMATING CHILDREN’S INTAKE                                                           Criteria for inclusion of surveyed children: Abt included
                                                                 OF ARSENIC AND LEAD                                                                    in the analysis all children with two days of dietary data
                                                                                                                                                        from WWEIA, and used the mean lead/arsenic consumption
DATA USED IN IQ LOSS ANALYSIS                                    Steps and assumptions in estimating children’s arsenic and                             value between the two days to represent each child’s
                                                                 lead intake include:                                                                   average daily lead/arsenic intake.
The analysis relies on two data sources published by the
federal government:                                              Mapping the food intake and concentration datasets: A
                                                                 mapping file1 pairs TDS foods with similar foods included
Foods babies eat: What We Eat in America (WWEIA)                 in the WWEIA dataset. The mapping file covers 2014-2016                                ESTIMATING INORGANIC ARSENIC
data – 24-hour food recall data collected as part of The         TDS data cycles; Abt used all three of these years of data                             CONCENTRATIONS
National Health and Nutrition Examination Survey                 to represent the lead and arsenic levels in foods children
(NHANES) – contains dietary intake measurements for              eat. For WWEIA, FDA’s mapping file covers 2003-2014. Abt                               FDA tests TDS foods for total arsenic, as opposed to
the U.S. population, including babies. Dietary data are          used a subset of those years, WWEIA data cycles from 2009-                             inorganic arsenic. Inorganic arsenic is the form considered
collected for up to two days for each respondent, including      2014, to represent the foods children eat. The earlier years                           in studies of arsenic exposure and IQ loss, and for which
food type and quantity consumed. NHANES is run by the            of WWEIA data covered in FDA’s mapping file (2003-2008)                                concentration-response functions have been developed.
CDC’s National Center for Health Statistics (NCHS) and           were considered less representative of children’s current                              Studies indicate that inorganic arsenic is more toxic than
was designed to collect information on the health and            eating habits than the more recent data, and were therefore                            other forms (Abt 2017). Therefore, it was necessary to scale
nutritional status of the U.S. civilian, non-institutionalized   excluded from the analysis.                                                            the total arsenic consumed by children to represent the
population through in-home interviews and physical                                                                                                      portion that was inorganic. In the absence of more specific
examinations. Abt used this data to represent babies’ daily      Method used to account for arsenic and lead levels                                     information, Abt assumed that 70 percent of total arsenic
food intake in this analysis.                                    below detection limits: Abt performed the Xue et al. (2010)                            consumed in food was comprised of inorganic arsenic, as
                                                                 method for summarizing values of TDS data that fall below                              was done by the European Food Safety Authority in their
Arsenic and lead levels in baby food: FDA’s Total Diet           the limit of detection (LOD), assigning half the LOD to values                         2014 report entitled “Dietary exposure to inorganic arsenic
Study (TDS), an ongoing FDA program, collects information        below the LOD if there was at least one detection among                                in the European population” (EFSA 2014). In certain cases,
on levels of various contaminants, including arsenic             the many samples taken of each particular food; otherwise                              exceptions to the application of this rule were made using
and lead, that occur in food and beverages commonly              a value of 0 was assigned.                                                             information about the arsenic makeup of particular foods
consumed by the U.S. population. FDA buys these foods as                                                                                                as specified in Cubadda et al. (2017).
a consumer would, prepares them as directed, and then



                                                                 1 provided by FDA to Abt (via personal correspondence)



                                                                 W h a t 's i n m y B a b y 's Fo o d ? | h e a l t h y b a b y f o o d . o r g | 3 6
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Using this information, Abt assumed:                           ESTIMATING IQ LOSS FROM LEAD                                                           for the year of each child’s age in the WWEIA data, which
                                                                                                                                                      is represented by their personal blood lead level with the
•   95% of total arsenic is inorganic in beverages, and 100%
                                                               Abt used the following steps to estimate IQ loss from lead                             added contribution from food (as described above).
    of total arsenic is inorganic in bottled water.
                                                               intake:
•   80% of total arsenic is inorganic in fruit.                                                                                                       5. Used the Crump et al. (2013) concentration-response
•   60% of total arsenic is inorganic in rice.                 1. Calculated baseline concurrent childhood lead uptake                                function to estimate the lifetime IQ loss due to the
                                                               for each year of age from 0 to 7. Other sources of lead were                           difference in lifetime blood lead level based on the
•   95% of total arsenic is inorganic in wheat.
                                                               accounted for by using U.S. Environmental Protection                                   contribution of lead in food using the following equation:
•   5% of total arsenic is inorganic in fish and shellfish,    Agency’s (EPA’s) default levels for air, drinking water, and
    including New England clam chowder and tuna                soil/dust lead exposure, as outlined in the agency’s User’s
    casserole.                                                 Guide for the Integrated Exposure Uptake Biokinetic model
•   90% of total arsenic is inorganic in vegetables.           for Lead in Children (IEUBK), excluding the contribution
                                                               from food (EPA 2007). These estimates were input into
                                                               approximation equations from EPA’s IEUBK model that were                               where:
In addition, Abt assumed the following inorganic arsenic       derived by Zartarian et al. (2017) to convert this baseline                            Beta = -3.25
compositions based on independent testing from data            lead uptake to blood lead level (without food intake).
provided by HBBF, from laboratory results presented in                                                                                                PbB1 = Baseline lifetime blood lead level without food
HBBF (2017):                                                   2. Estimated the lead consumption from WWEIA’s                                         PbB2 = Baseline lifetime blood lead level including food
                                                               contribution to the child’s blood lead level by converting                             contribution
•   61% of total arsenic is inorganic in infant rice cereal.
                                                               lead consumption to lead uptake (assuming 50% lead
•   53% of total arsenic is inorganic in infant multi-grain    uptake from dietary ingestion), and the same estimation
    and non-rice cereals.                                      equations of EPA’s IEUBK model described in Step 1 to
                                                               convert the baseline lead uptake estimated above plus the                              ESTIMATING IQ LOSS FROM INORGANIC ARSENIC
Abt also assumed the following inorganic arsenic               additional lead uptake from food to blood lead level (with
compositions based on testing performed by FDA, from           food intake).                                                                          Abt used the following steps to estimate IQ loss as a result
analysis of data from FDA (2014) provided by EDF (2018):                                                                                              of inorganic arsenic intake:
                                                               3. Assumed each child’s daily lead intake from food was
•   73% of total arsenic is inorganic in grape juice.
                                                               equal to their survey-specific lead intake for the entire                              1. Assumed each child’s inorganic arsenic intake was equal
•   59% of total arsenic is inorganic in oat ring cereal.      year of their age in the WWEIA data, and equal to the                                  to their personal inorganic arsenic intake for the entire of
•   56% of total arsenic is inorganic in teething biscuits.    population-wide mean lead intake from food for every other                             their current age, and equal to the population-wide mean
                                                               year of life.. For example, the estimated mean lead intake                             inorganic arsenic intake for every other year of life specific
                                                               for a child when they were one year old (assuming they                                 to that year of life and the study population. For example,
All other foods not specifically mentioned were assumed        are not one year old in the WWEIA data) is represented by                              the mean inorganic arsenic intake for a child when they
to have 70% of total arsenic as inorganic arsenic, per EFSA    calculating the mean lead intake of all one-year-olds in the                           were one year old (assuming they are not one year old in
(2014).                                                        dataset.                                                                               the WWEIA data) is represented by calculating the mean
                                                                                                                                                      inorganic arsenic intake of all one-year-olds in the dataset.
                                                               4. Calculated lifetime blood lead without food by taking
                                                               the average of the baseline concurrent blood lead levels for                           2. Calculated lifetime inorganic arsenic consumption from
                                                               each year of life as estimated by the Zartarian et al. (2017)                          food by taking the average of the mean inorganic arsenic
                                                               IEUBK estimation equations (in Step 1). Calculated lifetime                            consumption figures from the dataset for each year of life,
                                                               blood lead with food by taking the average of the mean                                 except for the year of each child’s age in the WWEIA data,
                                                               value of blood leads with both other sources of lead and                               which is represented by their personal mean daily inorganic
                                                               food in the data (from step 2) for each year of life, except                           arsenic intake (as described above).



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3. Used a concentration-response function based on a study        ESTIMATING TOTAL LIFETIME IQ LOSS FROM LEAD                                            These two IQ losses for each food were then added together
by Wasserman et al. (2004), as described in Abt 2017, to          AND ARSENIC IN FOODS BABIES EAT                                                        to estimate the total IQ loss from each food due to both lead
estimate lifetime IQ loss based on arsenic drinking water                                                                                                and arsenic combined.
concentration:                                                    Total IQ loss from food was estimated as the sum of the
                                                                  lifetime IQ loss due to lead consumption from food with
                                                                  the lifetime IQ loss due to inorganic arsenic consumption
                                                                  from food.                                                                             ESTIMATING POPULATION-WIDE TOTAL LIFETIME
where:                                                                                                                                                   IQ LOSS DUE TO LEAD, ARSENIC, AND LEAD AND
                                                                                                                                                         ARSENIC COMBINED
Beta = 0.44
ΔAsDW = Change in arsenic drinking water concentration            DEFINING THE CONTRIBUTION OF EACH FOOD                                                 Total IQ loss due to lead, arsenic, and lead and arsenic
                                                                  TO IQ LOSS                                                                             combined were calculated by multiplying each child’s
                                                                                                                                                         estimated lifetime IQ loss from each of these sources by the
4. Converted lifetime inorganic arsenic consumption               Total IQ loss was estimated for each food from the TDS                                 corresponding survey weight, and summed together for all
from food (from Step 2) to an approximate drinking                based on lead consumption alone, arsenic consumption                                   children aged zero to less than two in the survey data.
water concentration by assuming that each child in the            alone, and lead consumption and arsenic consumption
Wasserman et al. (2004) consumes 1 Liter of water per day,        combined. It was necessary to calculate the lifetime IQ loss
as was done by CalEPA when deriving a chronic Reference           for each instance that a food was consumed individually,
Exposure Level for inorganic arsenic consumption in               since the method for calculating lead uptake is specific                               LIMITATIONS
2008 (CalEPA, 2008). This was necessary to match the              to age. Thus, an instance of food consumption of the
concentration-response function in Step 3.                        same food in the same amount could be responsible for                                  A baseline level of inorganic arsenic could not be estimated;
                                                                  two different magnitudes of IQ loss due to lead if the two                             it was necessary for us to use a linear concentration-
Because the Wasserman et al. (2004) concentration-response        children who consumed the food were of different ages.                                 response function relating inorganic arsenic to IQ loss.
function for IQ loss is linear, the approximate equivalent                                                                                               Thus, Abt was unable to provide a range of results related
drinking water concentration calculated in Step 4 represents      Lifetime IQ loss from lead was calculated for each instance                            to the many concentration response functions presented
the change in arsenic drinking water concentration used           of food consumption using the IQ Loss equation as above.                               in Abt’s previous arsenic analysis (Abt 2017). There is a
in the equation in Step 3. In other words, the IQ loss for a      However, PbB2 was assumed equal to baseline lifetime                                   great deal of uncertainty in the inorganic arsenic dose
population with any background level of arsenic exposure          blood lead level plus the additional blood lead from the                               conversions, and it should be noted that Abt is assuming
using the Wasserman et al. (2004) function will always            consumption of that one food for the current year of                                   that the linear extrapolation holds for different population
be equal to the change in arsenic concentration from the          their life. All other years of blood lead averaged into the                            and lower doses compared to the original studies.
calculation in Step 4 multiplied by the beta. This differs from   lifetime blood lead equation for PbB2 are assumed equal                                Estimates of IQ loss from lead in food are considered to be
the lead analysis, where the background exposure from             to the baseline. Each of these incremental IQ losses due to                            lower-bound estimates, from Abt’s experience applying
other sources matters due to the log transformation of lead       each instance of a particular food being consumed were                                 a range of accepted concentration-response functions
in the concentration-response function.                           multiplied by their respective survey weight, and summed                               from other studies. HBBF recommends that future work to
                                                                  to estimate the total IQ loss attributable to each food across                         estimate IQ loss from heavy metals in food include a full
                                                                  the population of children.                                                            range of accepted functions, for a more comprehensive view
                                                                                                                                                         of potential health impacts for children.
                                                                  Lifetime IQ loss from arsenic was calculated using the
                                                                  concentration response function above for each food
                                                                  consumption instance, but was then multiplied by the
                                                                  survey weight, and summed to estimate the total IQ loss
                                                                  attributable to each food across the population of children.




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INTERPRETATION OF RESULTS: LIFETIME                                      RESULTS OF THE ANALYSIS
CONSUMPTION AND IQ LOSS
                                                                         Results are detailed in Abt 2019b. Abt estimates more than
Results are presented in Abt (2019b) for children under the              11 million IQ points lost among children ages 0-24 months
age of two. The results reflect lifetime consumption / IQ                from exposure to arsenic and lead in food. The table below
loss, and are focused on the group of children in the WWEIA              shows the top 15 foods contributing to IQ loss for those
data who are ages 0 to 2 at the time of the survey.                      children, from an analysis of all WWEIA foods that are
                                                                         matched to TDS foods.




                                                                          Of these foods:
                               Percent of total                           Rank for potency
                               harm (fraction of                          (considering
                               total IQ points lost                       average IQ points             Food name from
                               for children under                         lost per child eating         FDA's Total Diet Study
 Food consumed by child        2, from lead and       Primary toxic       the food; 1=highest,          (TDS) - source of As/Pb          Food name(s) from What We Eat in America survey (WWEIA)*, source of data on food
 age 0 - 24 months             arsenic in food)       metal of concern    15=lowest)                    concentration data               types and amounts that children eat

 Rice dishes, including with   10.0%                  Arsenic             1                             Fried rice, meatless,            SPANISH RICE; RICE W/ BEANS; FLAVORED RICE&PASTA MIXTURE (INCL RICE-A-RONI);
 beans & veggies                                                                                        from Chinese carry-out           and other rice dishes

 Milk, whole                   8.4%                   Arsenic             7                             Milk, whole, fluid               MILK, COW'S, FLUID, WHOLE

 Rice, white and brown         7.0%                   Arsenic             6                             Rice, white, enriched,           Rice, white, cooked, fat not added in cooking; Rice, white, cooked, fat added in cooking,
                                                                                                        cooked                           made with oil; RICE, WHITE, COOKED, REGULAR, NO FAT ADD IN COOKING

 Apple juice                   6.1%                   Arsenic             10                            Apple juice, bottled; BF,        APPLE JUICE; APPLE JUICE, BABY
                                                                                                        juice, apple

 Infant formula                5.3%                   Lead                4                             BF, Infant formula, milk-        ENFAMIL LIPIL, W/ IRON, INFANT FORMULA, PREP FROM PDR; SIMILAC ADVANCE, W/
                                                                                                        based, iron fortified RTF        IRON, INFANT FORMULA, PREP FROM PDR; Similac Advance, infant formula, prepared
                                                                                                                                         from powder, made with baby water; and other infant formulas

 Fruit juice blend (100%       4.1%                   Arsenic             8                             Fruit juice blend (100%          FRUIT JUICE BLEND, 100% JUICE
 juice)                                                                                                 juice), canned/bottled

 Infant rice cereal            2.7%                   Arsenic             3                             BF, cereal, rice, dry,           RICE CEREAL, BABY, DRY, INSTANT
                                                                                                        prepared w/ water

 Grape juice                   2.0%                   Lead and arsenic    5                             Grape juice, frozen              GRAPE JUICE
                                                                                                        conc, reconstituted; BF,
                                                                                                        juice, grape

 Cheerios and other oat        1.6%                   Arsenic             12                            Oat ring cereal                  CHEERIOS; HONEY NUT CHEERIOS
 ring cereals

 Sweet potato (baby food)      1.6%                   Lead and arsenic    2                             BF, sweet potatoes               SWEETPOTATOES, BABY, STRAINED; SWEETPOTATOES, BABY, JUNIOR

 Soft cereal bars and          1.4%                   Arsenic             11                            Granola bar, w/ raisins          Kellogg's Nutri-Grain Cereal Bar; COOKIE, OATMEAL; COOKIE, OATMEAL, W/ RAISINS OR
 oatmeal cookies                                                                                                                         DATES




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                                                                                  Of these foods:
                                  Percent of total                                Rank for potency
                                  harm (fraction of                               (considering
                                  total IQ points lost                            average IQ points             Food name from
                                  for children under                              lost per child eating         FDA's Total Diet Study
 Food consumed by child           2, from lead and            Primary toxic       the food; 1=highest,          (TDS) - source of As/Pb          Food name(s) from What We Eat in America survey (WWEIA)*, source of data on food
 age 0 - 24 months                arsenic in food)            metal of concern    15=lowest)                    concentration data               types and amounts that children eat

 Macaroni and cheese              1.4%                        Lead and arsenic    13                            Macaroni and cheese,             Macaroni or noodles with cheese, made from packaged mix; MACARONI OR NOODLES W/
                                                                                                                prepared from box mix            CHEESE; MACARONI/NOODLES W/ CHEESE, MADE FROM DRY MIX

 Puffs and teething biscuits      1.3%                        Lead and arsenic    9                             BF, teething biscuits            GERBER FINGER FOODS, PUFFS, BABY FOOD; Cookie, teething, baby; Cookie, fruit, baby
                                                                                                                                                 food; Finger Foods, Puffs, baby food

 Bottled drinking water           1.2%                        Arsenic             15                            Bottled drinking water           WATER, BOTTLED, UNSWEETENED; Water, baby, bottled, unsweetened
                                                                                                                (mineral/spring), not
                                                                                                                carbonated or flavored

 Fruit yogurt                     1.2%                        Lead                14                            Yogurt, lowfat, fruit-           YOGURT, FRUIT VARIETY, WHOLE MILK; YOGURT, FRUIT VARIETY, LOWFAT MILK
                                                                                                                flavored



 Notes

 * What We Eat in America (WWEIA) dataset: Many foods are matched to a single TDS food in Abt’s calculation method (per FDA’s mapping file). Foods shown above are those most commonly consumed by children
 0-24 mo, from among the WWEIA foods matched to each listed TDS food.
 Results shown above for IQ loss and potency ranking correspond to children from 0-24 months old
 BF = baby food, in TDS food names




REFERENCES
Abt 2017 (Abt Associates). Effects of Inorganic Arsenic in Infant Rice Cereal    Crump KS, Van Landingham C, Bowers TS, Cahoy D, Chandalia JK. A                        FDA 2014 (U.S. Food and Drug Administration). Study of lead levels in infant
on Children’s Neurodevelopment. Prepared for Healthy Babies Bright               statistical reevaluation of the data used in the Lanphear et al. (2005)                and toddler food. Data received by Environmental Defense Fund (EDF) via
Futures. https://www.healthybabycereals.org/sites/healthybabycereals.org/        pooled-analysis that related low levels of blood lead to intellectual deficits in      a Freedom of Information Act request (see EDF 2018 for details and link to
files/2017-12/AbtAssociates_2017_EffectsOfInorganicArsenicInInfantRice           children. Crit Rev Toxicol. 2013 Oct;43(9):785-99.                                     data).
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ADDENDUM - REVISIONS TO FDA’S MAPPING FILE                     •    WWEIA matched food: CORN SOUP, CREAM OF,
                                                                    PREPARED W/ WATER
In calculations described above, Abt assumed the               •    Revised TDS food: Assume 50/50 mixture of these 2 TDS
following matches that differed from the FDA’s                      foods: TDS food #1: Corn, fresh/frozen, boiled); and TDS
original mapping file, to provide more representative               food #2: Milk, whole, fluid
concentration estimates where inexact FDA matches
yielded inappropriate estimates. In these cases, high
arsenic levels in clam chowder from the TDS dataset            •    WWEIA matched foods: MUSHROOM SOUP, CREAM
were inconsistent with arsenic levels typical for the               OF, PREP W/ MILK; MUSHROOM SOUP, CREAM OF,
matched foods from WWEIA listed below.                              PREPARED W/ WATER; MUSHROOM SOUP, NFS
                                                               •    Revised TDS food: Assume 50/50 mixture of these 2 TDS
TDS food from FDA mapping file: Clam chowder, New                   foods: TDS food #1: Mushrooms, raw; and TDS food #2:
England, canned, cond, prepared w/ whole milk                       Milk, whole, fluid

•   WWEIA matched foods: CHICKEN NOODLE SOUP,
    CREAM OF; CHICKEN SOUP, CREAM OF, PREPARED W/              •    WWEIA matched food: CHEDDAR CHEESE SOUP
    WATER; CHICKEN/TURKEY SOUP, CM OF, CAN, RED SOD,           •    Revised TDS food: Assume 50/50 mixture of these 2 TDS
    W/ MILK; CHICKEN SOUP, CREAM OF, NS AS TO MILK OR               foods: TDS food #1: Cheese, cheddar, natural (sharp/
    WATER                                                           mild); TDS food #2: Milk, whole, fluid
•   Revised TDS food: Assume 50/50 mixture of these 2
    TDS foods: TDS food #1: Soup, chicken noodle, canned,
    cond, prepared w/ water; and TDS food #2: Milk, whole,     •    WWEIA matched food: WHITE SAUCE, MILK SAUCE
    fluid                                                      •    Revised TDS food: Milk, whole, fluid


•   WWEIA matched foods: POTATO SOUP, CREAM OF, W/
    MILK; POTATO SOUP, NS AS TO MADE W/MILK OR WATER;
    POTATO & CHEESE SOUP
•   Revised TDS food: Assume 50/50 mixture of these 2 TDS
    foods: TDS food #1: Potato, boiled (w/out peel); and TDS
    food #2: Milk, whole, fluid




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APPENDIX F: DATA AND CALCULATIONS—AVERAGE HEAVY METALS LEVELS
FOR HIGHER-RISK FOODS AND SAFER ALTERNATIVES

The table below summarizes test results from HBBF and FDA for foods highlighted in this report’s charts on higher-risk baby foods and safer alternatives. The tables are the basis of the finding
in our study that the safer food choices we list contain 80 percent less arsenic, lead and other toxic heavy metals, on average, than the higher-risk foods. That number is calculated as the
average reduction for the 5 food categories shown on the Executive Summary chart entitled “What Parents Can Do.” The foods shown on that chart, and the average total heavy metals levels
that are the basis of that calculation, are indicated in the table below.




                                                                                                                                                                            Source of inorganic arsenic level,
                                                                                                                                                                            and average ratio of inorganic to
                                                                                                          Metal concentration, parts per billion (ppb)                                 total arsenic
                                                                                                                                                                                                                   This food's
                                                                                                                                                                                                 Calculated -     data is shown
                                                                                                                                                                            Measured - ratio   Assumed ratio        in safer-      Reference
                                                                                                                                                                             of inorganic to   of inorganic to    choices food     for ratio of
                                                                            Number of                                               Arsenic,        Arsenic,       Total    total arsenic is   total arsenic is   charts in this   inorganic to
 Study                                 Food                                 samples         Lead       Cadmium        Mercury        total         inorganic       metals     shown below       shown below           study        total arsenic
 Infant rice cereal (dry, white and brown rice)
 HBBF 2019 Baby Food Study (see        Infant rice cereal (dry, white and   7               18.44         14.50         2.13         153.19         105.00         140.07         0.77                                             HBBF 2019 Baby
 Appendix A of this document)          brown rice)                                                                                                                                                                                 Food study
 HBBF 2017 Arsenic in Infant Cereal    Infant rice cereal (dry, white and   42                                                                       85.00                        0.61                                  X          HBBF 2017
 Study (HBBF 2017)                     brown rice)
 FDA testing, 2013 and 2014 (FDA       Infant rice cereal (dry, white and   76                                                                      103.00
 2016, Abt 2017)                       brown rice)
 Other cereals (dry)
 HBBF 2019 Baby Food Study (see        Other cereals (non-rice)             11              8.35          20.18         0.14          23.07          12.23          40.91                           0.53                           HBBF 2017
 Appendix A of this document)
 HBBF 2017 Arsenic in Infant Cereal    Other cereals (non-rice)             63                                                                       14.00                        0.53                                  X          HBBF 2017
 Study (HBBF 2017)
 Infant rice cereal (dry, prepared)
 FDA's Total Diet Study 2014-2017      BF, cereal, rice, dry, prepared      14              0.50          3.10          0.17          26.60          16.83          20.60                           0.63                X          HBBF 2017 and
 (FDA 2019)                            with water                                                                                                                                                                                  this study (see
                                                                                                                                                                                                                                   Note 6)
 Other cereals (dry, prepared)
 FDA's Total Diet Study 2014-2017      BF, cereal, oatmeal, dry,            14              0.00          3.20          0.00          3.60            1.91           5.11                           0.53                           HBBF 2017
 (FDA 2019)                            prepared with water
 FDA's Total Diet Study 2014-2017      BF, cereal, mixed, dry, prepared     14              0.88          7.30          0.00          6.50            3.45          11.63                           0.53                           HBBF 2017
 (FDA 2019)                            with water
 FDA's Total Diet Study 2014-2017      BF, cereal, oatmeal with fruit,      14              0.00          3.30          0.00          4.00            2.12           5.42                           0.53                           HBBF 2017
 (FDA 2019)                            prepared with water
 FDA's Total Diet Study 2014-2017      Average of the 3 TDS Other           14              0.29          4.60          0.00          4.70            2.49           7.38                                               X
 (FDA 2019)                            Cereals above




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APPENDIX F: Data and Calculations—Average Heavy Metals Levels for Higher-Risk Foods and Safer Alternatives (continued)
                                                                                                                                                                            Source of inorganic arsenic level,
                                                                                                                                                                            and average ratio of inorganic to
                                                                                                          Metal concentration, parts per billion (ppb)                                 total arsenic
                                                                                                                                                                                                                   This food's
                                                                                                                                                                                                 Calculated -     data is shown
                                                                                                                                                                            Measured - ratio   Assumed ratio        in safer-      Reference
                                                                                                                                                                             of inorganic to   of inorganic to    choices food     for ratio of
                                                                            Number of                                               Arsenic,        Arsenic,       Total    total arsenic is   total arsenic is   charts in this   inorganic to
 Study                                    Food                              samples         Lead       Cadmium        Mercury        total         inorganic       metals     shown below       shown below           study        total arsenic
 Carrot, baby food
 HBBF 2019 Baby Food Study (see           Carrots, baby food                12              7.84          12.62         0.17          2.20            1.98          22.62                           0.90                           Cubadda 2016
 Appendix A of this document)
 FDA's Total Diet Study 2014-2017         BF, carrots                       14              8.70          19.00         0.00          1.50            1.35          29.05                           0.90                           Cubadda 2016
 (FDA 2019)
 HBBF and FDA studies listed above        Sample-weighted average           26              8.51          17.58         0.04          1.66            1.49          27.62                                               X
 Sweet potato, baby food
 HBBF 2019 Baby Food Study (see           Sweet potato, baby food           17              10.35         2.62          0.07          5.67            5.10          18.14                           0.90                           Cubadda 2016
 Appendix A of this document)
 FDA's Total Diet Study 2014-2017         BF, sweet                         14              13.70         3.60          0.00          1.90            1.71          19.01                           0.90                           Cubadda 2016
 (FDA 2019)
 HBBF and FDA studies listed above        Sample-weighted average           31              12.73         3.32          0.02          2.99            2.69          18.76                                               X
 Other fruits and vegetables, baby food
 HBBF 2019 Baby Food Study (see           Other fruits and vegetables,      39              2.27          2.41          0.09          3.13            2.66           7.42                           0.85                X          Cubadda 2016
 Appendix A of this document)             baby food (excludes carrots and                                                                                                                                                          (see Note 7)
                                          sweet potatoes)
 Fruit juice
 HBBF 2019 Baby Food Study (see                                             9               2.31          0.36          0.07          3.71            0.83           3.56                           0.95                           Cubadda 2016
 Appendix A of this document)
 FDA's Total Diet Study 2014-2017         BF, juice, apple                  14              0.25          0.00          0.00          3.30            3.14           3.39
 (FDA 2019)
 FDA's Total Diet Study 2014-2017         BF, juice, grape                  14              2.70          0.00          0.00          13.60          12.92          15.62
 (FDA 2019)
 FDA's Total Diet Study 2014-2017         BF, juice, pear                   14              1.30          0.75          0.00          4.70            4.47           6.52
 (FDA 2019)
 HBBF and FDA studies listed above        Sample-weighted average           51              1.48          0.26          0.00          6.97            6.44           8.18                                               X
 Alternative to fruit juice - Tap water
 HBBF's Lead in Water Testing             Tap water                         743             2.00          0.09           NT           0.50            0.50           2.59                           1.00                X          Cubadda 2016
 Program (HBBF 2019)                                                                                                                                                                                                               (see Note 8)
 Puffs (rice)
 HBBF 2019 Baby Food Study (see                                             7               12.31         20.90         1.94         201.69          81.00         116.16         0.44                                             EDF 2018 and
 Appendix A of this document)                                                                                                                                                                                                      HBBF 2019 Baby
                                                                                                                                                                                                                                   Food Study (see
                                                                                                                                                                                                                                   Note 9)
 FDA testing, 2013 and 2014 (EDF                                            31              19.10         19.30         0.00         119.00          54.90          93.30         0.58                                             EDF 2018 (see
 2018)                                                                                                                                                                                                                             Note 10)
 HBBF and FDA studies listed above        Sample-weighted average           38              17.85         19.59         0.36         134.23          59.71          97.51                                               X




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APPENDIX F: Data and Calculations—Average Heavy Metals Levels for Higher-Risk Foods and Safer Alternatives (continued)
                                                                                                                                                                              Source of inorganic arsenic level,
                                                                                                                                                                              and average ratio of inorganic to
                                                                                                            Metal concentration, parts per billion (ppb)                                 total arsenic
                                                                                                                                                                                                                     This food's
                                                                                                                                                                                                   Calculated -     data is shown
                                                                                                                                                                              Measured - ratio   Assumed ratio        in safer-      Reference
                                                                                                                                                                               of inorganic to   of inorganic to    choices food     for ratio of
                                                                              Number of                                               Arsenic,        Arsenic,       Total    total arsenic is   total arsenic is   charts in this   inorganic to
 Study                                     Food                               samples         Lead       Cadmium        Mercury        total         inorganic       metals     shown below       shown below           study        total arsenic
 Teething biscuits (rice) and rice rusks
 HBBF 2019 Baby Food Study (see            Teething biscuits and rice rusks   10              6.57          4.29          1.95          68.68          41.80          54.61         0.47                                             EDF 2018 and
 Appendix A of this document)                                                                                                                                                                                                        HBBF 2019 Baby
                                                                                                                                                                                                                                     Food Study (see
                                                                                                                                                                                                                                     Note 11)
 FDA testing, 2013 and 2014 (EDF           Teething biscuits and rice rusks   27              12.00         9.20          0.00          84.80          46.40          67.60         0.54                                             EDF 2018 (see
 2018)                                                                                                                                                                                                                               Note 12)
 HBBF and FDA studies listed above         Sample-weighted average                            10.53         7.87          0.53          80.44          45.16          64.09                                               X
 Alternatives to teething biscuits
 FDA's Total Diet Study 2014-2017          Banana, raw                        14              0.00          0.00          0.00          0.00            0.00           0.00
 (FDA 2019)
 FDA's Total Diet Study 2014-2017          Cucumber, peeled, raw              14              0.00          1.23          0.00          11.95          10.76          11.99                           0.90                           Cubadda 2016
 (FDA 2019)
 FDA studies listed above                  Sample-weighted average            28              0.00          0.62          0.00          5.98            5.38           5.99                                               X
 Non-rice snacks and teethers
 HBBF 2019 Baby Food Study (see        Non-rice snacks and teethers           10              8.90          14.20         0.20          15.30          10.71          34.01                           0.70                           EFSA 2014
 Appendix A of this document)          (biscuits, cookies, teethers)
 Other snacks recommended as alternatives to rice-based snacks
 FDA's Total Diet Study 2014-2017      Apple (red), raw (with peel)           14              0.53          0.00          0.00          2.10            1.68           2.21                           0.80                           Cubadda 2016
 (FDA 2019)
 FDA's Total Diet Study 2014-2017          Applesauce: Applesauce,            14              0.00          0.00          0.00          0.59            0.47           0.47                           0.80                           Cubadda 2016
 (FDA 2019)                                bottled
 FDA's Total Diet Study 2014-2017          Bananas                            14              0.00          0.00          0.00          0.00            0.00           0.00                           0.80                           Cubadda 2016
 (FDA 2019)
 FDA's Total Diet Study 2014-2017          Barley with diced veggies: No
 (FDA 2019)                                data available
 FDA's Total Diet Study 2014-2017          Beans: White beans, dry, boiled    14              0.00          2.60          0.00          0.97            0.68           3.28                           0.70                           EFSA 2014
 (FDA 2019)
 FDA's Total Diet Study 2014-2017          Cheese: Cheese, cheddar,           14              0.59          0.22          0.00          0.00            0.00           0.81                           0.70                           EFSA 2014
 (FDA 2019)                                natural (sharp/mild)
 FDA's Total Diet Study 2014-2017          Grapes: Grapes (red/green), raw    14              2.94          0.47          0.00          3.99            3.19           6.60                           0.80                           Cubadda 2016
 (FDA 2019)
 FDA's Total Diet Study 2014-2017      Hard-boiled egg                        14              0.00          0.00          0.00          0.72            0.50           0.50                           0.70                           EFSA 2014
 (FDA 2019)
 FDA's Total Diet Study 2014-2017      Peaches: Peach, raw/frozen             14              0.00          0.54          0.00          4.39            3.51           4.05                           0.80                           Cubadda 2016
 (FDA 2019)
 FDA's Total Diet Study 2014-2017      Yogurt: Yogurt, lowfat, fruit-         14              2.65          0.00          0.00          0.00            0.00           2.65                           0.70                           EFSA 2014
 (FDA 2019)                            flavored




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                                                                                                                                                                                 Source of inorganic arsenic level,
                                                                                                                                                                                 and average ratio of inorganic to
                                                                                                              Metal concentration, parts per billion (ppb)                                  total arsenic
                                                                                                                                                                                                                        This food's
                                                                                                                                                                                                      Calculated -     data is shown
                                                                                                                                                                                Measured - ratio    Assumed ratio        in safer-      Reference
                                                                                                                                                                                 of inorganic to    of inorganic to    choices food     for ratio of
                                                                              Number of                                                 Arsenic,        Arsenic,       Total    total arsenic is    total arsenic is   charts in this   inorganic to
 Study                                   Food                                 samples           Lead       Cadmium        Mercury        total         inorganic       metals     shown below        shown below           study        total arsenic
 FDA's Total Diet Study 2014-2017        Average for the snacks listed        126               0.75          0.43          0.00          1.42            0.00           1.17
 (FDA 2019)                              above
 FDA's Total Diet Study 2014-2017        Average for snacks listed above                        1.49          1.68          0.02          2.68            1.89           5.07                                                X
 (FDA 2019) and HBBF 2019 Baby           and the non-rice snacks from
 Food Study                              this study


 Notes
 * Sample-weighted averages account for the 3 idividual samples that comprise each TDS composite sample.
 1. NT = not tested
 2. "HBBF 2019 Baby Food Study" refers to this study; individual sample data are shown in Appendix A.
 3. Zero is shown for metals levels from FDA’s Total Diet Study for results that fall below the limit of quantitation. For mercury, a zero may also indicate that the test was not conducted.
 4. Average inorganic arsenic is calculated from average total arsenic value in cases where HBBF lacked access to data for individual samples.
 5. Calculations of average levels for FDA TDS data are calculated using the Xue (2010) method for treatment of results below the quantitation limit.
 6. Ratio of inorganic to total arsenic is the sample-weighted average of data from HBBF 2017 and this study.
 7. From Cubadda 2017: Inorganic arsenic is 90% total for vegetables, 80% total for fruit. 85% is used here.
 8. Metals levels shown are averages from HBBF tap water testing from over 700 homes in 43 states.
 9. Inorganic arsenic for one puffs sample was not measured, and was instead calculated from the change FDA 2013-14 study ratio (EDF 2018).
 10. Averages are derived from sample data available at EDF 2018.
 11. Inorganic arsenic for 4 samples were not measured, and were instead calculated from the FDA 2013-14 study ratio (EDF 2018).
 12. Averages are derived from sample data available at EDF 2018.



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                         Healthy Babies Bright Futures (HBBF) is an alliance of
                        scientists, nonprofit organizations and donors working
                       to create and support initiatives that measurably reduce
                        exposures to neurotoxic chemicals in the first thousand
                                         days of development.

                         Our efforts are inspired and supported by science and
                       data, and designed to help restore the chance for a full life
                        to children who would otherwise face brain-diminishing
                            exposures to toxic chemicals beginning in utero.

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